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         EXHIBIT 31-B
    Redacted Version of
Document Sought to be Sealed
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1                          UNITED STATES DISTRICT COURT
2                        NORTHERN DISTRICT OF CALIFORNIA
3
4     IN RE: FACEBOOK, INC. CONSUMER ) MDL No. 2843
5     PRIVACY USER PROFILE LITIGATION) Case No.
6     _______________________________) 18-md-02843-VC
7     This document relates to:                    )
8     ALL ACTIONS                                  )
9     _______________________________)
10
11
12
13     *** HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY ***
14
15
16       REMOTE VIDEOTAPED DEPOSITION BY VIRTUAL ZOOM OF
17                    FACEBOOK INC. REPRESENTATIVE,
18                     KONSTANTINOS PAPAMILTIADIS
19                     TUESDAY, FEBRUARY 23, 2021
20
21
22    Reported by:
23    Ashala Tylor, CSR #2436, CLR, CRR, RPR
24    JOB NO. 4473154
25    PAGES 1 - 280

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1                          UNITED STATES DISTRICT COURT
2                       NORTHERN DISTRICT OF CALIFORNIA
3
4     IN RE: FACEBOOK, INC. CONSUMER ) MDL No. 2843
5     PRIVACY USER PROFILE LITIGATION) Case No.
6     _______________________________) 18-md-02843-VC
7     This document relates to:                  )
8     ALL ACTIONS                                )
9     _______________________________)
10
11
12
13
14
15
16           Videotaped deposition of FACEBOOK, INC.
17    REPRESENTATIVE, KONSTANTINOS PAPAMILTIADIS taken via
18    virtual Zoom, commencing at 9:10 a.m. and ending at
19    3:58 p.m., on Tuesday, February 23, 2021, before Ashala
20    Tylor, CSR No. 2436, RPR, CRR, CLR.
21
22
23
24
25

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1     APPEARANCES OF COUNSEL:
2     FOR THE PLAINTIFF:
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4               BY:    LESLEY E. WEAVER, ESQ.
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1     A P P E A R A N C E S (continued)
2     FOR PLAINTIFFS:
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1     A P P E A R A N C E S (continued)
2     FOR THE DEFENDANT FACEBOOK, INC.:
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13               BY:     LAURA MUMM, ESQ.
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15               New York, New York                 10166
16               212.351.4000
17               lmumm@gibsondunn.com
18
19    Also Present:
20              Ian Chen, In-House Facebook Counsel
21              Kimberly Decker, Videographer
22
23
24
25

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1                                  I N D E X
2     WITNESS                EXAMINATION BY                                PAGE
3     KONSTANTINOS PAPAMILTIADIS
4                            Ms. Weaver                               9, 171
5
6                              E X H I B I T S
7     NO.                 DESCRIPTION                                      PAGE
8     Exhibit 1           Plaintiffs’ Amended Notice of                      10
9                         Deposition of Defendant Facebook,
10                        Inc. Pursuant to Federal Rule of
11                        Civil Procedure 30(b)(6)
12    Exhibit 2           Discovery Order No. 9                              10
13                        (Dkt. Nos. 515, 526, 537, 548)
14    Exhibit 3           Email from Simone LiTrenta to                      49
15                        Matt Scutari and others, 5-8-14,
16                        FB CA MDL 00213423 - 443
17    Exhibit 4           Email exchange, top one from                      240
18                        Simon Cross to Steven Elia,
19                        1-29-15, FB-CA-MDL-00227697 - 699
20    Exhibit 5           Excel spreadsheet,                                265
21                        FB-CA-MDL-01434884.csv
22    Exhibit 6           Excel spreadsheet,                                266
23                        FB-CA-MDL-01434885.csv
24                     Instruction Not to Answer
25                          Page 91, LIne 9

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1                     Tuesday, February 23, 2021

2                               9:10 a.m.

3                                --o0o--

4

5                  THE VIDEOGRAPHER:     Good morning.     We are         09:10

6     going on the record at 9:10 a.m. on February 23rd of                09:10

7     2021.     All participants are attending remotely.                  09:10

8                  Audio and video recording will continue to             09:10

9     take place unless all parties agree to go off the                   09:10

10    record.                                                             09:10

11                 This is Media Unit 1 of the recorded                   09:10

12    deposition of Facebook, Inc. representative,                        09:10

13    Konstantinos Papamiltiadis, taken by counsel for the                09:10

14    plaintiffs in the matter of Facebook, Inc. Consumer                 09:10

15    Privacy User Profile Litigation filed in the                        09:10

16    United States District Court, Northern District of                  09:10

17    California, Case Number 18-md-02843-VC.                             09:10

18                 My name is Kimberly Decker from Veritext               09:10

19    Legal Solutions and I'm the videographer.           The court       09:10

20    reporter is Ashala Tylor.        I'm not related to any             09:10

21    party in this action, nor am I financially                          09:11

22    interested in the outcome.                                          09:11

23                 Counsel and all present will now state                 09:11

24    their appearances and affiliations for the record.                  09:11

25    If there are any objections to proceeding, please                   09:11

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1     state them at the time of your appearance, beginning                09:11

2     with the noticing attorney.                                         09:11

3                MS. WEAVER:     Good morning, everybody.       I'm       09:11

4     Lesley Weaver, co-lead counsel for plaintiffs and                   09:11

5     from Bleichmar Fonti & Auld.                                        09:11

6                MS. DAVIS:     Good morning.      Anne Davis also        09:11

7     for plaintiffs, Bleichmar Fonti & Auld.                             09:11

8                MR. MONTGOMERY:     Matthew Montgomery for               09:11

9     plaintiffs, Bleichmar Fonti & Auld.                                 09:11

10               MR. MELAMED:     Matt Melamed for plaintiffs,            09:11

11    Bleichmar Fonti & Auld.                                             09:11

12               MS. LAUFENBERG:     Cari Laufenberg for                  09:11

13    plaintiffs from Keller --                                           09:11

14               THE REPORTER:     I'm sorry, one more time,              09:11

15    please.                                                             09:11

16               MS. LAUFENBERG:     Cari Laufenberg for                  09:11

17    plaintiffs from Keller Rohrback.                                    09:11

18               MR. KO:   David Ko of Keller Rohrback also               09:11

19    on behalf of the plaintiffs.       Good morning.                    09:12

20               MR. LOESER:     Good morning.       Derek Loeser         09:12

21    from Keller Rohrback for plaintiffs.                                09:12

22               MS. STEIN:     Are you ready for defendant?              09:12

23               Deborah Stein from Gibson, Dunn on behalf                09:12

24    of defendant Facebook.                                              09:12

25               MS. CLARK:     Martie Kutscher Clark from                09:12

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1      Gibson, Dunn also on behalf of Facebook.                         09:12

2                 MS. MUMM:     Laura Mumm from Gibson, Dunn on         09:12

3      behalf of Facebook.                                              09:12

4                 MR. CHEN:     And this is Ian Chen.       I am        09:12

5      in-house counsel for Facebook.                                   09:12

6                 THE VIDEOGRAPHER:      Would the court                09:12

7      reporter please swear in the witness.                            09:12

8                                                                       09:13

9                       KONSTANTINOS PAPAMILTIADIS,                     09:13

10        being first duly sworn or affirmed to testify                 09:13

11        to the truth, the whole truth, and nothing but                09:13

12        the truth, was examined and testified as follows:             09:13

13                THE REPORTER:     Proceed, Counsel.                   09:13

14                             EXAMINATION                              09:13

15     BY MS. WEAVER:                                                   09:13

16          Q.    Good morning.     And thank you very much for         09:13

17     being here this morning and as we adjust to this new             09:13

18     process.                                                         09:13

19                May I address you as K.P. throughout the              09:13

20     deposition or would you prefer Mr. Papamiltiadis?                09:13

21          A.    I don't need to ask counsel's permission              09:13

22     to answer that question.      I guess you can.                   09:13

23          Q.    All right.     You come prepared.                     09:13

24                I'm going to start by marking a couple of             09:13

25     exhibits, and I think that you've practiced with                 09:13

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1      your counsel about how to pull those down.            These           09:13

2      will be the deposition notice and Discovery Order                     09:13

3      Number 9.                                                             09:13

4                  So, first, we'll mark as Exhibit 1 the                    09:13

5      notice for deposition in this action.            And Ms. Davis        09:13

6      is going to be marking that right now and uploading                   09:13

7      it.                                                                   09:13

8                               (Exhibit 1 was marked for                    09:13

9                               identification and attached                  09:13

10                              hereto.)                                     09:13

11                 MS. WEAVER:     And then as Exhibit 2 she                 09:13

12     will mark Discovery Order Number 9.                                   09:13

13                              (Exhibit 2 was marked for                    09:13

14                              identification and attached                  09:13

15                              hereto.)                                     09:13

16     BY MS. WEAVER:                                                        09:13

17           Q.    And I'll direct you to the portions of                    09:13

18     those exhibits I'd like you to review.            Just let us         09:13

19     know when you have those.                                             09:14

20                 MS. DAVIS:     They are distributed now.                  09:14

21     BY MS. WEAVER:                                                        09:14

22           Q.    Are you seeing those, K.P., in your --                    09:14

23           A.    Not -- yes, I can see Exhibit 2 now.                      09:14

24           Q.    Okay.   Let's start with 1.                               09:14

25           A.    I don't need to refresh -- I don't need to                09:14

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1      refresh the browser, right?           It's automatic, so...        09:14

2                  MS. DAVIS:     On my end it shows that 1 and           09:14

3      2 are distributing.                                                09:14

4                  THE VIDEOGRAPHER:         And you do need to           09:14

5      refresh.                                                           09:14

6                  THE WITNESS:      Okay.                                09:15

7                  MS. WEAVER:      Yeah, I'm still just seeing           09:15

8      2.                                                                 09:15

9                  THE WITNESS:      Yeah, I can only see 2.              09:15

10                 MS. WEAVER:      Do you see it now?                    09:15

11                 THE WITNESS:      Let me refresh as well.              09:15

12                 Okay.   Great.     Do you want me to open              09:15

13     number 1?                                                          09:15

14     BY MS. WEAVER:                                                     09:15

15          Q.     Yes, please.      Thank you.                           09:15

16                 Do you recognize Exhibit 1?                            09:15

17          A.     Can I take a look?                                     09:15

18          Q.     Yes, please.                                           09:15

19                 MS. WEAVER:      And, for the record,                  09:15

20     Exhibit 1 is Plaintiffs' Amended Notice of                         09:15

21     Deposition of Defendant Facebook, Inc. Pursuant to                 09:15

22     Federal Rule of Civil Procedure 30(b)(6).                          09:15

23          Q.     K.P., I'll direct your attention just to               09:16

24     page 2 of the document where it says "Matters for                  09:16

25     Testimony."                                                        09:16

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1           A.    Page 2 you said?                                      09:16

2           Q.    Yes.    Have you seen Exhibit 1 before?               09:16

3           A.    I believe I have seen parts of that.                  09:16

4           Q.    Okay.    So do you recognize it as the                09:16

5      notice for the deposition today?                                 09:16

6           A.    Yes.                                                  09:16

7           Q.    And are you here today to testify on                  09:16

8      behalf of Facebook?                                              09:16

9           A.    Yes, I am.                                            09:16

10          Q.    Okay.    And are you here to testify                  09:16

11     regarding the format, nature, and location of                    09:16

12     discoverable user data as defined by Discovery Order             09:16

13     Number 9 as set forth on Topic 1?                                09:17

14          A.    I am not really sure I understand exactly             09:17

15     what that sentence means.                                        09:17

16          Q.    Okay.    Do you understand that you are               09:17

17     testifying in response to Topic 1?                               09:17

18                MS. STEIN:     Objection to form.                     09:17

19                THE WITNESS:     Topic 1 is -- sorry,                 09:17

20     scrolling through the document.                                  09:17

21                MS. STEIN:     I'll just state for the record         09:17

22     that we lodged objections to the description of the              09:17

23     categories in this notice, but, you know, the                    09:17

24     witness is free to describe his understanding as to              09:17

25     what he's going to be testifying about today.                    09:17

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1      BY MS. WEAVER:                                                      09:17

2           Q.    So I'll restate my question, K.P.          Have          09:17

3      you reviewed Topic 1 before today?                                  09:17

4           A.    I'm sorry, I'm having a hard time locating               09:17

5      where is the Topic 1.                                               09:17

6           Q.    Okay.     It's page 2 where it says "Matters             09:17

7      for Testimony" under Roman Numeral III.                             09:17

8                 MS. STEIN:     Lesley, I think it may be                 09:17

9      further down in the document.                                       09:18

10                MR. KO:     Yeah, there's a couple page 2s.              09:18

11     K.P., it's page 6 of the PDF.                                       09:18

12                THE WITNESS:     Okay.    Sorry.                         09:18

13     BY MS. WEAVER:                                                      09:18

14          Q.    My apologies.                                            09:18

15          A.    I was like -- I was like, what am I                      09:18

16     missing here?                                                       09:18

17          Q.    I apologize for that.                                    09:18

18                I see.     Yes, it's page 2 of the exhibit.              09:18

19          A.    Wait.     Now, I'm getting confused.       It's          09:18

20     page 2 -- so I have page 2 under Schedule A.           I            09:18

21     have --                                                             09:18

22          Q.    Right.     Go to Schedule A and page 2 of                09:18

23     Schedule A.                                                         09:18

24          A.    Okay.     Matters of testimony.       That's what        09:18

25     you're looking at?                                                  09:18

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1           Q.     Exactly.                                                09:18

2           A.     Okay.                                                   09:18

3           Q.     So do you see where it says "Topic 1:        The        09:18

4      format, nature, and location of 'discoverable user                  09:18

5      data' as defined by Discovery Order Number 9?"        Do            09:18

6      you see that?                                                       09:18

7           A.     Yes, I do see that.                                     09:18

8           Q.     Are you here today to testify regarding                 09:18

9      that topic?                                                         09:18

10                 MS. STEIN:     Objection to form.                       09:18

11                 THE WITNESS:     Like I said --                         09:18

12     BY MS. WEAVER:                                                      09:19

13          Q.     You may answer.                                         09:19

14          A.     I don't know what "format" means in that                09:19

15     context, or "location," but I'm here to tell you                    09:19

16     about how Facebook has access to user data and how                  09:19

17     this is made available to third parties if that's                   09:19

18     relevant.                                                           09:19

19          Q.     Okay.   Great.    And are you here to discuss           09:19

20     data collected from a user's on-platform activity as                09:19

21     well as off-platform activity?                                      09:19

22          A.     Yes.                                                    09:19

23          Q.     Okay.   Great.    As well as data inferred              09:19

24     from on- or off-platform activity?                                  09:19

25          A.     That's correct.                                         09:19

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1           Q.    Okay.    Great.                                         09:19

2                 What did you do to prepare for your                     09:19

3      deposition today?                                                  09:19

4           A.    Well, part of my job is to -- you know,                 09:19

5      and so my day-to-day job is to work on integrations                09:19

6      that have access to data, including user data.          I          09:19

7      have been a Facebook employee for the last eight and               09:19

8      a half years, so this is my day-to-day job to some                 09:19

9      extent.   At the same time I had a number of sessions              09:19

10     with my counsels in preparation of this deposition                 09:19

11     to make sure that I familiarize myself with certain                09:19

12     aspects related to this deposition.                                09:20

13          Q.    Great.    And looking back at Exhibit 1, if             09:20

14     you turn to the next page, it says "Schedule B"                    09:20

15     after the matters?                                                 09:20

16          A.    Yes.                                                    09:20

17          Q.    Do you see where it says Plaintiffs'                    09:20

18     request for production of certain documents?          There        09:20

19     are two categories of documents.                                   09:20

20          A.    Yeah.                                                   09:20

21          Q.    Did you review any documents or consult                 09:20

22     them to prepare for your deposition today?                         09:20

23          A.    I'm not sure they all documents.         This is        09:20

24     something I can, you know, like suggest that I have                09:20

25     knowledge of.                                                      09:20

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1                     I reviewed certain documents, yes, but I                      09:20

2      don't know if that was all of them.                                          09:20

3              Q.     Okay.    And what did you review?                             09:20

4              A.     I reviewed this document, for example.               I        09:20

5      reviewed some data policies from the past 10 or so                           09:20

6      years.       I reviewed the contents of the download                         09:20

7      information files.         I reviewed developer                              09:20

8      documentation.         Different things.                                     09:21

9              Q.     Okay.    So when you say you reviewed data                    09:21

10     policies, about how many did you review?                                     09:21

11             A.     I can't remember.     Five or six.                            09:21

12             Q.     Okay.    And you said you also reviewed                       09:21

13     developer documentation; is that right?                                      09:21

14             A.     Yes.                                                          09:21

15             Q.     And what do you mean by that?            What were            09:21

16     those documents?                                                             09:21

17             A.     And so any information with regards to our                    09:21

18     APIs is fully documented on our website,                                     09:21

19     developers.facebook.com.         And so while I spent a                      09:21

20     considerable amount of my time there, I wanted to                            09:21

21     familiarize myself with certain aspects of the API                           09:21

22     that's maybe, you know, the item of your questions                           09:21

23     here.                                                                        09:21

24             Q.     Okay.    And how many developer documents                     09:21

25     did you review?                                                              09:21

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1              A.     I mean the developer website is 5,000             09:21

2      pages.       I reviewed at least, you know, documentation        09:21

3      for the basic APIs.                                              09:21

4              Q.     And when you say "the basic APIs," which          09:21

5      APIs do you mean?                                                09:22

6              A.     The Graph API.                                    09:22

7              Q.     Which version?                                    09:22

8              A.     Well, there is only one version right now.        09:22

9              Q.     You reviewed the current version?                 09:22

10             A.     The current version, yes.                         09:22

11             Q.     Okay.   Did you understand that testimony         09:22

12     today was to be limited to the time period 2012 to               09:22

13     2017?                                                            09:22

14             A.     Yes, I do.                                        09:22

15             Q.     Okay.   So did you review the Graph API           09:22

16     documentation for that time period?                              09:22

17             A.     I don't need to.    I understand.                 09:22

18             Q.     Because --                                        09:22

19             A.     Because I understand Version 1 of the API         09:22

20     as well as I do the current version.                             09:22

21             Q.     And how many developer documents did you          09:22

22     say you reviewed?                                                09:22

23             A.     It's hard to quantify a number of pages.          09:22

24     They're web pages, right?         So I don't know how you        09:22

25     want me to -- I may have reviewed like three or four             09:22

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1      different, you know, like web pages.                                09:22

2           Q.    So you would identify those by hyperlinks;               09:22

3      is that right?                                                      09:22

4           A.    Yes.                                                     09:22

5           Q.    Great.    And then did you say that you                  09:22

6      reviewed a third category of documents as well?                     09:22

7           A.    Yes, the contents of the downloaded                      09:23

8      information file, the fields included, more                         09:23

9      specifically.                                                       09:23

10          Q.    And was that a web page as well?                         09:23

11          A.    That was produced in the form of PDF.                    09:23

12          Q.    And did you review anything else?                        09:23

13          A.    I don't think so.         That's -- that's pretty        09:23

14     much it.                                                            09:23

15                MS. WEAVER:       Okay.    So, Counsel, we               09:23

16     obviously already have requested production and                     09:23

17     identification of those documents.          If they've              09:23

18     already been produced -- we repeat the request.                     09:23

19          Q.    Do you have a current -- current CV?                     09:23

20          A.    You mean a resume?                                       09:23

21          Q.    Yes.                                                     09:23

22          A.    Yes, I do.                                               09:23

23          Q.    Okay.    Great.                                          09:23

24                MS. WEAVER:       We request that as well.               09:23

25          Q.    Okay.    You joined Facebook in 2012; that's             09:23

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1      right?                                                                      09:23

2              A.      Correct.                                                    09:23

3              Q.      And you're a current employee; is that                      09:23

4      right?                                                                      09:24

5              A.      Yes.                                                        09:24

6              Q.      So I hope you'll bear with us.           We're              09:24

7      laying the foundation, and this is our first                                09:24

8      deposition in this case, and so we need to establish                        09:24

9      a few definitions that I'm sure will seem obvious to                        09:24

10     you.                                                                        09:24

11                     What is a Facebook user?                                    09:24

12                     MS. STEIN:   I'm just going to -- I'm just                  09:24

13     going to, you know, object to form, and, you know,                          09:24

14     the witness can testify as to his -- the                                    09:24

15     understanding he'll use today.                                              09:24

16     BY MS. WEAVER:                                                              09:24

17             Q.      So that means you may answer.           Go ahead.           09:24

18                     So what is a Facebook user?                                 09:24

19             A.      So I'll give you the definition that I                      09:24

20     have.        I don't think it's anywhere documented.             But        09:24

21     when we talk about the Facebook user, we are talking                        09:24

22     about the -- the accounts that the human has created                        09:24

23     that represents their presence on the Facebook                              09:24

24     platform.                                                                   09:24

25             Q.      And what is a Facebook platform?                            09:24

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1             A.    Historically that platform has evolved                  09:25

2      from being just facebook.com to include Instagram,                   09:25

3      Messenger, Oculus, and --                                            09:25

4             Q.    And so is the platform the website upon                 09:25

5      which users engage?       Is that fair to say?                       09:25

6             A.    It's not just the website because you most              09:25

7      likely use -- I don't know if you have a Facebook                    09:25

8      account, but I assume that you may have used                         09:25

9      Facebook on your Apple device or your Android                        09:25

10     device.     So it's not just the website.          It used to        09:25

11     be just the website.                                                 09:25

12            Q.    So Facebook now offers products and                     09:25

13     services like Facebook Messenger, Facebook Watch,                    09:25

14     Facebook Portal, Facebook Business Tools and                         09:25

15     Facebook Payments, correct?         Is that correct?                 09:25

16            A.    That's --                                               09:25

17                  MS. STEIN:     Object to form.                          09:25

18                  THE WITNESS:     I think you just listed some           09:25

19     of our products, not every single product.                           09:25

20     BY MS. WEAVER:                                                       09:25

21            Q.    Okay.   For the products that I listed, do              09:25

22     they all collect data from users?                                    09:25

23            A.    I mean depends how you define "collect."                09:26

24            Q.    What does -- what does collect mean to                  09:26

25     you?                                                                 09:26

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1           A.     If we are talking about creating an                   09:26

2      account which requires the user to enter a username,              09:26

3      passwords, first name, last name, I don't think                   09:26

4      that's possible in every single one of those                      09:26

5      products.    I don't know that you can create an                  09:26

6      account on Portal, for example.                                   09:26

7           Q.     Okay.   But regardless of whether or not              09:26

8      you create an account, do all of those services                   09:26

9      collect data about Facebook users?                                09:26

10                 MS. STEIN:     Objection to form and object           09:26

11     to the extent that some of those products may not be              09:26

12     from the relevant time period.                                    09:26

13                 THE WITNESS:     Yeah.                                09:26

14     BY MS. WEAVER:                                                    09:26

15          Q.     You may answer.                                       09:26

16          A.     I mean that's -- that's probably a good               09:26

17     point.    The products that you're talking about have             09:26

18     not been available to users before 2017, but I'll                 09:26

19     answer the question by --                                         09:26

20          Q.     Thank you.                                            09:26

21          A.      -- saying it depends.        In most cases we        09:26

22     are talking about activity data and not --                        09:27

23          Q.     What is the primary objective of the                  09:27

24     platform when it was originally created?                          09:27

25          A.     By "platform" you mean Facebook or the                09:27

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1      Facebook developer platform?                                     09:27

2           Q.     Facebook -- well, let's start with                   09:27

3      Facebook and then talk about the Facebook developer              09:27

4      platform.                                                        09:27

5                  MS. STEIN:   Objection to form and beyond            09:27

6      the scope of what this witness is authorized to                  09:27

7      testify about on behalf of the company.                          09:27

8                  But you can testify as to your                       09:27

9      understanding just for foundation.                               09:27

10     BY MS. WEAVER:                                                   09:27

11          Q.     I'll ask the question again.                         09:27

12                 What was the primary purpose of the                  09:27

13     Facebook platform when it was created, the website?              09:27

14          A.     So Facebook, the -- the Facebook product,            09:27

15     which also is referred as platform, is -- or was                 09:27

16     always meant to allow people to connect with each                09:27

17     other and create a more open and connected world.                09:27

18          Q.     Thank you.                                           09:27

19          A.     Which would help the value of community              09:27

20     and we build a service to basically help people                  09:28

21     connect.                                                         09:28

22          Q.     So it was meant to allow people to connect           09:28

23     socially as well; is that fair?                                  09:28

24          A.     No, that's --                                        09:28

25                 MS. STEIN:   Object to form.                         09:28

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1                 THE WITNESS:     I mean I don't know of any           09:28

2      other connection.                                                09:28

3      BY MS. WEAVER:                                                   09:28

4           Q.    Okay.    And what was the purpose of the              09:28

5      Facebook developer platform, in your understanding?              09:28

6           A.    The Facebook develop --                               09:28

7                 MS. STEIN:     I'm going to object here.              09:28

8      This, you know, is both outside the scope of the                 09:28

9      deposition and what this witness is authorized to                09:28

10     testify about.     And dating -- dating back --                  09:28

11                MS. WEAVER:     I understand your objection.          09:28

12     You can either instruct him not to answer or allow               09:28

13     him to answer.                                                   09:28

14                MS. STEIN:     I will allow him to answer to          09:28

15     his understanding.                                               09:28

16     BY MS. WEAVER:                                                   09:28

17          Q.    So you referenced the Facebook developer              09:28

18     platform earlier.     What's your understanding of its           09:28

19     purpose when it was created?                                     09:28

20          A.    And so our mission to -- you know, to                 09:28

21     connect the world and bring the whole world closer               09:28

22     together is not something that we could do on our                09:28

23     own resources, you know.      So we built the platform,          09:29

24     like a lot of technology companies have done, to                 09:29

25     allow third parties to build on top of our platform              09:29

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1      and bring capabilities and experiences for people to             09:29

2      connect on their surfaces in many ways.                          09:29

3           Q.    And is it fair to say that Facebook has               09:29

4      three constituents then:      Its business partners,             09:29

5      developer partners, and users?                                   09:29

6                 MS. STEIN:     Objection to form.                     09:29

7                 THE WITNESS:     I'm not sure I understand            09:29

8      exactly the definition of developer -- sorry,                    09:29

9      business partner.     Because, you know, like developer          09:29

10     partners are also businesses.        So I could probably         09:29

11     put them in the same bucket.                                     09:29

12     BY MS. WEAVER:                                                   09:29

13          Q.    I just didn't quite understand your answer            09:29

14     there, and my --                                                 09:29

15          A.    So I -- so I cannot really, you know, like            09:29

16     give a distinction between business partners and                 09:29

17     developer partners.      Developer partners are also             09:29

18     businesses.                                                      09:30

19          Q.    Got it.    So who do you understand to be             09:30

20     encompassed in the business partners?                            09:30

21          A.    Probably --                                           09:30

22                MS. STEIN:     Objection to form.                     09:30

23                THE WITNESS:     Sorry.                               09:30

24     BY MS. WEAVER:                                                   09:30

25          Q.    You may answer.                                       09:30

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1           A.    A business partner is probably anybody                    09:30

2      that is not a developer partner, I would imagine, in                 09:30

3      that definition.                                                     09:30

4           Q.    Can you think of categories of business                   09:30

5      partners that would be included in that?             Would it        09:30

6      include data brokers, for example?                                   09:30

7                 MS. STEIN:     Objection to form.                         09:30

8                 THE WITNESS:     I'm not sure what you're                 09:30

9      referring to, data brokers.       But I can -- I can give            09:30

10     you a list of different partners in case that helps                  09:30

11     answer the question.                                                 09:30

12     BY MS. WEAVER:                                                       09:30

13          Q.    Yes, that would be helpful, please.                       09:30

14          A.    So historically Facebook has engaged with                 09:30

15     maybe four or five categories of so-called partners.                 09:30

16     One category of them is device manufacturers and                     09:30

17     mobile operators.     They help us build the -- within               09:30

18     that period of time that I think you're talking                      09:31

19     about, they help us build Facebook-like experiences                  09:31

20     in order to reach a wider audience.                                  09:31

21                A second category is what we call                         09:31

22     developer partners.     Those are third-party software               09:31

23     companies that have access to our APIs and they                      09:31

24     build experience for both consumers and other                        09:31

25     businesses.                                                          09:31

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1                    A third category is anybody that is a                  09:31

2      business that is publishing on our platform, from                    09:31

3      news companies to NZOs, the UNICEFs of this world.                   09:31

4      The WHO is using our platform to make sure that                      09:31

5      people have accurate information about COVID; we                     09:31

6      would consider them to be a partner of some sort.                    09:31

7                    And a fourth category would be what, I                 09:31

8      think, other comments may call suppliers.            We -- we        09:31

9      have partners in place with companies like                           09:31

10     Salesforce because we need to maintain a record of                   09:31

11     our, you know, partners.      We work very closely with              09:32

12     Workday because that's where our employee data is                    09:32

13     stored.      My salary and everything related to me                  09:32

14     somehow is stored to like this.         We would still call          09:32

15     them or refer to them as a business partner in that                  09:32

16     sense.                                                               09:32

17                   So those broadly are the four categories               09:32

18     of partners that I can -- I'm not sure if that                       09:32

19     answers your question.                                               09:32

20             Q.    That's very helpful.    No, thank you very             09:32

21     much.                                                                09:32

22                   And so, again, this is rudimentary, but                09:32

23     what do you understand "data" to mean?                               09:32

24                   And let me back up and say every time I                09:32

25     ask you in this deposition -- I refer to "you,"                      09:32

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1      because you're testifying on behalf of Facebook, I                 09:32

2      mean Facebook.       Is that fair?                                 09:32

3             A.   (Unreportable response.)                               09:32

4             Q.   Do you have -- what is your general                    09:32

5      understanding of what data is?                                     09:32

6             A.   I'm waiting for my counsel.          She is not        09:32

7      talking so I can answer, I guess.                                  09:32

8             Q.   Yes, exactly.                                          09:32

9             A.   There is a little bit of lag -- there is a             09:32

10     little bit of lag.       Sorry.   I just want to make sure         09:32

11     I don't talk over about you -- everybody.                          09:33

12                 Data is information.                                   09:33

13            Q.   Okay.     And content and code and materials           09:33

14     as well are all information.         Is that all data, in          09:33

15     your understanding?                                                09:33

16            A.   Code is not really information.                        09:33

17     Information in the code, if you are an engineer,                   09:33

18     yes.    But not in a -- for everybody else.                        09:33

19            Q.   Great.     Does Facebook collect information           09:33

20     about how users use Facebook's products?                           09:33

21            A.   It's kind of broad statement, but we do                09:33

22     have an understanding of when people use our                       09:33

23     services, yes.                                                     09:33

24            Q.   Okay.     So Facebook collects -- and so               09:33

25     going forward, when we say "information," we may                   09:33

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1      also mean data and we can ask for clarification.                 09:33

2      But, in general, that's the same concept for                     09:33

3      purposes of this deposition; is that fair?                       09:33

4             A.    Yeah.   I just want to make sure that, you          09:34

5      know, like we don't use those terms very loosely,                09:34

6      because sometime the information that we are talking             09:34

7      about is activity information and not necessarily                09:34

8      user data.                                                       09:34

9             Q.    I understand.     So we'll just clarify so          09:34

10     that we have our meanings correctly.                             09:34

11                  So does Facebook collect information about          09:34

12     when users are using and have last used products,                09:34

13     for example?                                                     09:34

14            A.    Any product, no.     The Facebook products,         09:34

15     yes.                                                             09:34

16            Q.    Okay.   And Facebook collects information           09:34

17     about posts and videos and contents that they                    09:34

18     review; is that right?                                           09:34

19                  MS. STEIN:    I'm just going -- sorry.     I        09:34

20     just want to -- so --                                            09:34

21                  MS. WEAVER:     Please don't coach the              09:34

22     witness.     Just state an objection.                            09:34

23                  MS. STEIN:    No, Lesley, this is to you            09:34

24     actually.     Just so you're framing your questions in           09:34

25     the present, but the time period is 2012 to 2017.                09:34

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1      Do you want to have some sort of agreement so that                    09:34

2      that's --                                                             09:34

3                   MS. WEAVER:    Sure.                                     09:34

4                   MS. STEIN:    You know what I'm saying?       I          09:34

5      just want to have something on the record.            I have a        09:35

6      feeling --                                                            09:35

7                   MS. WEAVER:    That is fair.                             09:35

8                   MS. STEIN:    -- it might go in and out.                 09:35

9      But I don't coach witnesses, so -- you know, for the                  09:35

10     record.                                                               09:35

11                  MS. WEAVER:    Great.                                    09:35

12          Q.      So for purposes of this deposition, K.P.,                09:35

13     we're going to be referring to the time period 2012                   09:35

14     to 2017.     You can assume that.      If you need to                 09:35

15     clarify a question, let's just clarify it.            Is              09:35

16     that -- is that fair?       Okay.                                     09:35

17          A.      That's fine by me.                                       09:35

18                  But can you repeat the question?                         09:35

19          Q.      Yeah, no problem.                                        09:35

20          A.      Thanks.                                                  09:35

21          Q.      So does Facebook also log when users are                 09:35

22     using and have last used Facebook's products?                         09:35

23          A.      Yes, we would know when you open them up                 09:35

24     and when you close it.                                                09:35

25          Q.      And also what posts, videos, and other                   09:35

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1      contents users view?                                              09:35

2           A.    Yes, we would.                                         09:35

3           Q.    Okay.   And do you collect information                 09:35

4      about how users' use features like the camera,                    09:36

5      Facebook camera?                                                  09:36

6           A.    I don't know.    I don't think so.       Unless        09:36

7      it's within the app itself.                                       09:36

8           Q.    Okay.   Does Facebook analyze content                  09:36

9      information about users?                                          09:36

10          A.    I'm not sure I understand the question.                09:36

11     What do you mean "content"?                                       09:36

12          Q.    Well, I'm just trying to introduce a                   09:36

13     couple of topics here, and I'm actually working off               09:36

14     the congressional testimony that Facebook submitted               09:36

15     in 2018.                                                          09:36

16                So it says "We also receive and analyze                09:36

17     content, communications and information that other                09:36

18     people provide when they use our products."                       09:36

19                So I'm just asking you, is it true that                09:36

20     Facebook receives and analyzes content,                           09:36

21     communications and information that other people                  09:36

22     provide?                                                          09:36

23          A.    By "other people," I guess we mean users?              09:36

24          Q.    Yes.                                                   09:36

25          A.    Okay.   I think there's definitely some                09:36

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1      truth to that statement.        I mean just to give you an        09:37

2      idea, if you come to Facebook and you post something              09:37

3      that is against our policies, if -- if it's an                    09:37

4      explicit, you know, something that promotes violence              09:37

5      or something like that, we have a responsibility to               09:37

6      take it down.        So in that sense we do analyze that          09:37

7      content for the purposes of keeping our community                 09:37

8      safe.                                                             09:37

9              Q.   Okay.     Is it true that Facebook collects          09:37

10     information about the computers, phones, connected                09:37

11     TVs and other web-connected devices that users use?               09:37

12             A.   Throughout the -- the activity we would              09:37

13     collect the IP address.        If it's connected -- or if         09:37

14     the user is connected through a mobile phone, we                  09:37

15     probably collect information about the carrier.        If         09:37

16     they are on a desktop, we collect information about               09:37

17     their Internet service provider, yes, the browser                 09:37

18     version, things like this.                                        09:37

19             Q.   Okay.     And does Facebook use the                  09:37

20     information collected about users' use of their                   09:37

21     products to better personalize the content,                       09:38

22     including ads or features they see?                               09:38

23             A.   Yes.                                                 09:38

24             Q.   Okay.     And -- and so also do -- does              09:38

25     Facebook track that information across devices that               09:38

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1      users use?                                                       09:38

2                   MS. STEIN:     Object to the form.                  09:38

3                   THE WITNESS:     I'm not sure I understand          09:38

4      what "tracking" means in that sense.                             09:38

5      BY MS. WEAVER:                                                   09:38

6           Q.      So I'm just again reading to you.                   09:38

7                   "We use information collected about users'          09:38

8      use of our products on their phone to better                     09:38

9      personalize the content they see when they use our               09:38

10     products on another device such as their laptop or               09:38

11     tablet, or to measure whether they took an action in             09:38

12     response to an ad we showed them on their phone on a             09:38

13     different device."                                               09:38

14                  Is that a true statement?                           09:38

15          A.      Yes, that's a true statement.                       09:38

16          Q.      Okay.   Does that include battery level?            09:38

17          A.      I don't think so.                                   09:38

18          Q.      Is it a true statement that Facebook                09:38

19     obtains information from these devices which                     09:38

20     includes information about the operating system,                 09:38

21     hardware and software versions, battery level,                   09:39

22     signal strength, available storage space, browser                09:39

23     type, app and file names and types, and plug-ins?                09:39

24     Is that a true statement?                                        09:39

25          A.      There are certain things there that I               09:39

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1      don't think we have any access to.            But there are          09:39

2      certain others like the browser version like I                       09:39

3      mentioned before that we do.                                         09:39

4              Q.   Again, this is from Congress's                          09:39

5      congressional written testimony.                                     09:39

6                   Does Facebook collect information about                 09:39

7      operations and behaviors performed on devices such                   09:39

8      as whether a window is foregrounded or backgrounded                  09:39

9      or mouse movements?                                                  09:39

10                  MS. STEIN:     Objection to form.                       09:39

11                  THE WITNESS:     I don't know.                          09:39

12     BY MS. WEAVER:                                                       09:39

13             Q.   Does Facebook collect that information?                 09:39

14             A.   I don't know.                                           09:39

15             Q.   You don't know?                                         09:39

16             A.   I don't know.                                           09:39

17             Q.   Okay.   Does Facebook collect identifiers               09:39

18     about users?                                                         09:39

19             A.   Can you explain what you mean by                        09:39

20     "identifiers"?                                                       09:39

21             Q.   Yeah.   What is an identifier?            Do you        09:39

22     know?                                                                09:40

23             A.   Well, I mean the users are locked in when               09:40

24     they are on Facebook, so we already have an                          09:40

25     understanding of who the users are.            Is that an            09:40

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1      identifier?                                                      09:40

2           Q.    Okay.   Is there something called a                   09:40

3      Facebook identifier?                                             09:40

4           A.    There's a Facebook identity.                          09:40

5           Q.    Do you know what a Facebook identifier is,            09:40

6      a user identifier?                                               09:40

7           A.    No.                                                   09:40

8           Q.    Okay.   So is this statement true:                    09:40

9      Facebook collects information about unique                       09:40

10     identifiers, device IDs and other identifiers, such              09:40

11     as from games, apps or accounts users use and family             09:40

12     device identifiers?    Does Facebook collect that                09:40

13     information?                                                     09:40

14          A.    I mean we have an understanding of people             09:40

15     that log in on third-party apps using the Facebook               09:40

16     identity, and we have an ID for that, yes.                       09:40

17          Q.    And, for example, Apple has its own                   09:40

18     identifier; isn't that true?                                     09:40

19          A.    Yes, we have an Apple ID, I guess.                    09:40

20          Q.    And there's an Android ID as well; is that            09:41

21     right?                                                           09:41

22          A.    Yes.                                                  09:41

23          Q.    And a Google ID?                                      09:41

24          A.    It's probably the same as Android, yes.               09:41

25          Q.    Okay.   And so does Facebook use those                09:41

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1      identifiers to collect information about people?                 09:41

2           A.     Those specific ones, no.                             09:41

3           Q.     Okay.   Do they use -- they don't use                09:41

4      those -- are you -- are you testifying today that                09:41

5      Facebook does not use the Apple identifier to                    09:41

6      collect information about people?                                09:41

7           A.     We don't.                                            09:41

8           Q.     Okay.                                                09:41

9           A.     How can we?                                          09:41

10          Q.     Okay.                                                09:41

11          A.     It's impossible.                                     09:41

12          Q.     Does Facebook collect information about              09:41

13     Bluetooth signals and information about nearby Wi-Fi             09:41

14     access points, beacons and cell towers?                          09:41

15          A.     I believe we do, yes.                                09:41

16          Q.     Does Facebook collect data from device               09:41

17     settings, information that users allow us -- let me              09:41

18     try that.    Do they collect data from device settings           09:41

19     when users turn them on, such as their GPS location,             09:41

20     camera or photos?                                                09:41

21          A.     Some of that would require consent, but I            09:42

22     think, broadly speaking, if there is consent, yes,               09:42

23     we do collect.                                                   09:42

24          Q.     For these other categories that we have              09:42

25     been discussing, does Facebook collect that data                 09:42

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1      without consent?                                                  09:42

2                   MS. STEIN:     Object to form.                       09:42

3                   THE WITNESS:     Sorry, I didn't hear the            09:42

4      objection.                                                        09:42

5      BY MS. WEAVER:                                                    09:42

6             Q.    You said that for these kinds of data you            09:42

7      sometimes had to obtain consent.           Are there -- is        09:42

8      there other kinds of data that Facebook collects                  09:42

9      without consent?                                                  09:42

10            A.    No, no, no.                                          09:42

11            Q.    All right.                                           09:42

12            A.    I should probably say that's from                    09:42

13     everything.     But it seems that there was an omission           09:42

14     from my part.        There's no way we can collect any of         09:42

15     that data without users' consent.                                 09:42

16            Q.    Okay.     Does Facebook collect information          09:42

17     about users' connection speed and other devices that              09:42

18     are nearby?                                                       09:42

19            A.    I don't know about the other devices, but            09:42

20     the connection speed is something that we would log,              09:42

21     yes.                                                              09:42

22            Q.    Okay.     Well, is it a true statement that          09:42

23     "Facebook collects information about other devices                09:42

24     that are nearby or on their network so we can do                  09:42

25     things like help users stream a video from their                  09:43

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1      phone to their TV"?       Is that a true statement?                09:43

2              A.   Yes, that's a true statement.                         09:43

3              Q.   Okay.   Does Facebook also collect cookie             09:43

4      data?                                                              09:43

5              A.   We have access to certain cookies, yes.               09:43

6              Q.   Okay.   So it's a true statement that                 09:43

7      Facebook collects data from cookies stored on a                    09:43

8      users' device, including cookie IDs and settings; is               09:43

9      that right?                                                        09:43

10             A.   Yes.                                                  09:43

11                  MS. STEIN:     Object to form.                        09:43

12     BY MS. WEAVER:                                                     09:43

13             Q.   Do you know what a Facebook pixel is?                 09:43

14             A.   Yes, I do.                                            09:43

15             Q.   What is a Facebook pixel?                             09:43

16             A.   How -- okay.     Let me try to make it plain          09:43

17     and simple.                                                        09:43

18                  On a third-party website there is one                 09:44

19     pixel which goes back to the old days of how, you                  09:44

20     know, like the computer screens used to work.          This        09:44

21     Facebook owns, and whenever someone visits that                    09:44

22     website, that pixel will fire an event that will                   09:44

23     effectively confirm to Facebook that a user has                    09:44

24     visited that website.                                              09:44

25             Q.   So do pixels uniquely identify users of               09:44

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1      the platform on and off the platform?                                 09:44

2              A.      No.                                                   09:44

3              Q.      What do they identify?                                09:44

4              A.      The pixels identify someone visiting the              09:44

5      website.        It doesn't identify the user.                         09:44

6              Q.      So is it accurate to say that where a                 09:44

7      website has embedded a Facebook pixel, Facebook                       09:44

8      collects data about user actions on that website,                     09:44

9      even if the user is not signed in to Facebook,                        09:44

10     right?                                                                09:44

11             A.      And so let's say you go to CNN.com -- I               09:44

12     don't know if that's your media provider of choice,                   09:44

13     but for the sake of the argument -- and there is a                    09:44

14     Facebook pixel embedded.           That will fire an event            09:45

15     that will basically say user X has visited CNN.com.                   09:45

16     And that information will come to Facebook, and                       09:45

17     Facebook will actually identify whether it was K.P.                   09:45

18     or Lesley.                                                            09:45

19             Q.      And does data collected from pixels                   09:45

20     include items placed in shopping carts or purchases                   09:45

21     or which pages are viewed?                                            09:45

22                     MS. STEIN:     Objection to form.                     09:45

23                     THE WITNESS:     Can we break it down?    It's        09:45

24     huge.        Maybe.   Depends on whether the third party              09:45

25     has implemented the pixel on different pages.                         09:45

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1                   Things added to the cart.         Not the things        09:45

2      that have been added to the cart but potentially the                 09:45

3      action taken.        It's not relevant for -- for the                09:45

4      third party to share that information but share the                  09:45

5      action.                                                              09:45

6                   What was the third one?                                 09:45

7      BY MS. WEAVER:                                                       09:45

8           Q.      I believe it was which pages are viewed.                09:45

9           A.      Yes.     So, like I said, if there is a pixel           09:46

10     embedded on different pages, we would have an                        09:46

11     understanding that it wasn't just the home page but                  09:46

12     it was, say, the landing page, or it was a product                   09:46

13     page, better say, or the cart page, or something                     09:46

14     like that.                                                           09:46

15          Q.      Okay.     What is the like button?                      09:46

16          A.      It's a plug-in.                                         09:46

17          Q.      And what does that mean?                                09:46

18          A.      It's something that allows the user to                  09:46

19     take action that will be shared on Facebook on a                     09:46

20     third-party website.                                                 09:46

21          Q.      And so in a sense is a like providing                   09:46

22     information about whether a user approves or likes                   09:46

23     an object that it is engaging with?                                  09:46

24          A.      Yeah, if you like -- if you click on the                09:46

25     like button when you are -- again, on a third-party                  09:46

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1      website, and that suggests that you're probably                  09:46

2      liking that story that you just read.                            09:47

3           Q.     Okay.   So there's some content provided by          09:47

4      the like button; is that right?                                  09:47

5           A.     Well, the content is provided by the third           09:47

6      party.    The like button captures your affinity with            09:47

7      that company.                                                    09:47

8           Q.     Understood.                                          09:47

9                  You mentioned APIs earlier.         Could you        09:47

10     just for the record define an API and explain how it             09:47

11     works.                                                           09:47

12          A.     An API is basically an industry-wide                 09:47

13     standard that allows two applications to communicate             09:47

14     with each other.     And what I mean by applications,            09:47

15     I'm talking about pieces of software.                            09:47

16          Q.     Okay.   And what is an SDK?                          09:47

17          A.     An SDK is a way to, you know, access the             09:47

18     APIs without necessarily writing code that would                 09:47

19     make it a little bit harder.                                     09:47

20                 So, in other words, I guess, what I'm                09:47

21     trying to say is that the -- the SDK is a piece of               09:47

22     software that would allow a third-party developer to             09:48

23     access the Facebook APIs through the SDK, whereas in             09:48

24     the old days if you want to really access the API                09:48

25     you have to double the amount of code or maybe even              09:48

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1      more to access the same AP.                                            09:48

2              Q.   Got it.     And what are Facebook business                09:48

3      tools?                                                                 09:48

4              A.   It's a very broad definition, but it                      09:48

5      refers to the different tools that businesses use to                   09:48

6      monitor their presence manage on the Facebook                          09:48

7      platform.                                                              09:48

8              Q.   Okay.     So is it a true statement that                  09:48

9      advertisers, app developers, and publishers can send                   09:48

10     Facebook information through Facebook business tools                   09:48

11     they use, including social plug-ins, like the like                     09:48

12     button, Facebook log-in, Facebook's APIs and SDKs or                   09:48

13     the Facebook pixel?        Is that a true statement?                   09:48

14             A.   That -- that's correct.                                   09:48

15             Q.   And you referred to partners earlier.           Do        09:49

16     you recall that discussion?                                            09:49

17             A.   Yes.                                                      09:49

18             Q.   Okay.     So going forward in the deposition              09:49

19     we'll use your definition of partners.             Is that             09:49

20     fair?                                                                  09:49

21             A.   That's okay by me.                                        09:49

22             Q.   So do partners provide information about                  09:49

23     users' activities off Facebook, including                              09:49

24     information about their device, websites they visit,                   09:49

25     purchases they make, the ads they see and how they                     09:49

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1      use their services whether or not they have a                           09:49

2      Facebook account or are logged in to Facebook?                Is        09:49

3      that a true statement?                                                  09:49

4                   MS. STEIN:     Objection to form.                          09:49

5                   THE WITNESS:     This is a very broad                      09:49

6      statement.     So if you want me to answer I think we                   09:49

7      need to break it down a little bit.                                     09:49

8      BY MS. WEAVER:                                                          09:49

9           Q.      Great, go ahead.      So is it true that                   09:49

10     partners provide information about users' activities                    09:49

11     off Facebook?                                                           09:49

12          A.      Again --                                                   09:49

13                  MS. STEIN:     Objection to form.                          09:49

14                  THE WITNESS:     Okay.    Based on my                      09:49

15     definition of what a partner is, we're only talking                     09:50

16     about a subset for those partners that use any of                       09:50

17     the products that you just listed before.              They             09:50

18     either use the pixel or the SDK or the -- to the API                    09:50

19     or they advertise on Facebook.                                          09:50

20                  Okay.   So for those four scenarios,                       09:50

21     anybody, any business out there that uses any of                        09:50

22     those products, they do send some information back                      09:50

23     to Facebook.                                                            09:50

24     BY MS. WEAVER:                                                          09:50

25          Q.      Okay.   And that can include information                   09:50

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1      about users' devices; is that right?                              09:50

2           A.      I'm not sure about the pixel or the API              09:50

3      or -- the SDK, most likely, yes, in certain                       09:50

4      scenarios.                                                        09:50

5           Q.      Okay.   Do partners -- those partners in             09:50

6      general provide information about websites users'                 09:50

7      visits and purchases they make?                                   09:50

8                   MS. STEIN:     Objection to form.                    09:50

9                   THE WITNESS:     Okay.    So that would mean         09:50

10     that they use the pixel and they would have to fire               09:50

11     an event when the user visits their website, and                  09:51

12     that means that they will do that after the user has              09:51

13     probably seen an ad and they will probably -- and                 09:51

14     it's up to them about how they're going to implement              09:51

15     it if the user decides to buy something.                          09:51

16                  But that's not necessarily how the whole             09:51

17     thing works.     This is just one specific                        09:51

18     implementation.                                                   09:51

19     BY MS. WEAVER:                                                    09:51

20          Q.      Yeah, I'm just asking at a very high                 09:51

21     level.    It's a pretty simple question.                          09:51

22          A.      Okay.   At a very high level, if you want            09:51

23     to, you know, like talk about how the systems work,               09:51

24     if you are an advertiser on Facebook, you want to                 09:51

25     make sure that your dollars are well spent.            And        09:51

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1      what you would do is implement the pixels because                   09:51

2      you want to track the performance of your ad                        09:51

3      campaigns.     And how do you track the performance of              09:51

4      your ad campaigns?        It's a function of what business          09:51

5      you're running.                                                     09:51

6                   If you're in the service provider, you                 09:51

7      would probably fire a pixel when somebody makes an                  09:51

8      appointment, or, you know, books a test drive.          If          09:51

9      you are a product company or a commerce side and you                09:51

10     are selling products, you'll fire a pixel when                      09:52

11     someone completes a purchase.          And like that you can        09:52

12     track the investment that you made on your ad                       09:52

13     campaign.                                                           09:52

14          Q.      Let's talk, for example, about a game                  09:52

15     developer.     If a game developer has a Facebook user              09:52

16     on it, do they use Facebook's API to tell Facebook                  09:52

17     what games a user plays, for example?                               09:52

18                  MS. STEIN:     Objection to form.                      09:52

19                  THE WITNESS:     Okay.    This is again a very         09:52

20     broad scenario.     But let me spell it out, right?                 09:52

21                  So let's say I want to play Word With                  09:52

22     Friends.     I have options.     I can log in with                  09:52

23     Facebook or I can create an account directly.                       09:52

24                  If I log in with Facebook, then, you know,             09:52

25     the developer will request my consent to access                     09:52

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1      certain pieces of my identity that will come from                09:52

2      Facebook, like my first name, like my last name,                 09:52

3      like my profile picture.      To the extent that I               09:52

4      provide consent to that developer, the developer                 09:53

5      will have access to that information.                            09:53

6                 From then on every time I log in to play              09:53

7      Words with Friends, Facebook will have to reconfirm              09:53

8      the identity of that user and make sure that the                 09:53

9      user remains logged in with Words with Friends.                  09:53

10     BY MS. WEAVER:                                                   09:53

11          Q.    Okay.    So, again, this is from the                  09:53

12     congressional testimony, and I just want to                      09:53

13     understand it.     It says "Facebook also receives               09:53

14     information about users' online and offline actions              09:53

15     and purchaser -- purchases from third-party data                 09:53

16     providers who have the rights to provide us with                 09:53

17     users' information."                                             09:53

18                Do you agree with that sentence?                      09:53

19                MS. STEIN:    Object to form.                         09:53

20     BY MS. WEAVER:                                                   09:53

21          Q.    Is that correct?                                      09:53

22          A.    Well, if it's on the congressional and                09:53

23     it's validated by Facebook, I would say, yes, I                  09:53

24     agree.                                                           09:53

25          Q.    Okay.    So do the third-party data                   09:53

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1      providers provide Facebook information about the                 09:53

2      activities on the third-parties' apps or sites at a              09:53

3      high level?                                                      09:54

4           A.    I think -- at a high level, it would be               09:54

5      the same business that would provide information,                09:54

6      not anything Facebook.                                           09:54

7           Q.    Got it.                                               09:54

8                 MS. WEAVER:     Okay.   I'll mark now as              09:54

9      Exhibit 2 -- or I say I will, but I am asking my                 09:54

10     colleague, Anne Davis, to do that.          This is a            09:54

11     document bearing Bates numbers FB-CA-MDL-00213423                09:54

12     through 443.                                                     09:54

13          Q.    And while we're waiting, have you been                09:54

14     deposed before?                                                  09:54

15          A.    Yes.                                                  09:54

16          Q.    Okay.     So I'm asking partly just if you            09:54

17     know what a Bates number is.                                     09:54

18                There are documents -- and there actually             09:54

19     was a man named Bates in 1899 who created a stamp                09:54

20     that he put on these documents in the lower                      09:54

21     right-hand corner.      So it's just a way of                    09:54

22     consecutively numbering hard copy documents that                 09:54

23     would probably be obsolete in your world, but that               09:55

24     is what I just read into the record.                             09:55

25          A.    Okay.                                                 09:55

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1           Q.    Have you testified on behalf of Facebook                09:55

2      before?                                                            09:55

3           A.    No.                                                     09:55

4           Q.    Okay.   How many times have you been                    09:55

5      deposed?                                                           09:55

6           A.    This my fourth one.                                     09:55

7           Q.    And were you deposed on topics similar to               09:55

8      the topics we're discussing today?                                 09:55

9                 MS. STEIN:     Objection to form.                       09:55

10                THE WITNESS:     I've been deposed and                  09:55

11     discussing about various topics.         I don't know where        09:55

12     this is going to head to --                                        09:55

13     BY MS. WEAVER:                                                     09:55

14          Q.    Okay.                                                   09:55

15          A.    -- so I can answer that question at the                 09:55

16     end of the day.                                                    09:55

17          Q.    Fair enough.     Were those depositions in              09:55

18     relation to your employment at Facebook?                           09:55

19          A.    Yes.                                                    09:55

20          Q.    Okay.   And did they occur in the last four             09:55

21     years?                                                             09:55

22          A.    I can't remember the first one, but I                   09:55

23     assume it would be in the last four years, but they                09:55

24     are the last two years.                                            09:55

25          Q.    Okay.   Do you know if any of those                     09:55

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1      depositions were conducted by regulators?                        09:55

2             A.   Yes.                                                 09:55

3             Q.   Which regulators?                                    09:56

4




                                                                        09:56

12            Q.   Okay.   And what were the other two                  09:56

13     depositions or three depositions that you have sat               09:56

14     for?                                                             09:56

15



                                                                        09:56

18            Q.   Okay.   Do you recall what each of those             09:56

19     litigations were about?                                          09:56

20




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1




11          A.     I believe so, yes.                                   09:57

12          Q.     Okay.   And do you recall how many there             09:57

13     were, roughly?                                                   09:57

14          A.     I have no idea.     I'm sorry.                       09:57

15          Q.     That's okay.    It's not a memory test, but          09:57

16     I'm just asking in general.                                      09:57

17



                                                                        09:57

20          Q.     Okay.   Why don't we pull up -- is it                09:57

21     there?    I need to refresh my Marked Exhibit set.     I         09:57

22     have an Exhibit 3.                                               09:57

23                            (Exhibit 3 was marked for                 09:57

24                            identification and attached               09:57

25                            hereto.)                                  09:57

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1      BY MS. WEAVER:                                                        09:57

2             Q.   Do you have an Exhibit 3?                                 09:57

3             A.   So we're going to 3?                                      09:57

4             Q.   We are going to 3.                                        09:58

5             A.   Okay.   I don't see it yet.                               09:58

6             Q.   I think you might need to refresh.                        09:58

7                  Do you have Exhibit 3 yet?                                09:58

8             A.   Yes.                                                      09:58

9             Q.   Okay.                                                     09:58

10                 MS. WEAVER:      For the record, Exhibit 3 is             09:58

11     an email dated May 8, 2014, with some attachments.                    09:58

12            Q.   Have you seen Exhibit 3 before?                           09:58

13            A.   No, I haven't.                                            09:58

14            Q.   Okay.   Did --                                            09:58

15                 MS. STEIN:     Why don't you give the witness             09:58

16     an opportunity to review the document.                                09:58

17                 MS. WEAVER:      Okay.   Thanks, Deb.     You were        09:58

18     about to get in trouble.                                              09:58

19            Q.   So there's the cover email, K.P., but if                  09:58

20     you look at the attachment, and I direct your                         09:58

21     attention to the Bates number that ends with 424.                     09:58

22     Remember the -- if you look at the bottom there.                      09:58

23                 THE WITNESS:      Yes, I've seen those pages,             09:58

24     yes.                                                                  09:59

25

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1      BY MS. WEAVER:                                                       09:59

2           Q.     Okay.     And when did you last see them?                09:59

3           A.     Either yesterday or Friday.                              09:59

4           Q.     When did you first see them?                             09:59

5           A.     Maybe Friday.                                            09:59

6           Q.     Okay.     You hadn't seen them before Friday?            09:59

7           A.     No.                                                      09:59

8           Q.     Is that right?     Okay.                                 09:59

9




17          Q.     Okay.     And let me back up again.       This is        09:59

18     foundational.       Do people communicate by email at                09:59

19     Facebook?                                                            09:59

20          A.     It's one of the ways to communicate, yes.                09:59

21          Q.     How else do people communicate in the                    09:59

22     course of doing business at Facebook?                                09:59

23          A.     We use a version of the product that is                  09:59

24     designed for the business world called Workplace.                    09:59

25     We use a version of our Messenger product, which is                  10:00

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1      also an example, a device called Workset.                We use            10:00

2      emails.     We use Zoom.     We use other                                  10:00

3      videoconferencing facilities.          We use our telephones               10:00

4      to call each other.        Different ways.                                 10:00

5             Q.    And people text as well; is that right?                       10:00

6             A.    We don't like text messaging.             We have our         10:00

7      own messaging apps.                                                        10:00

8             Q.    Just out of curiosity, is the Facebook                        10:00

9      Messenger that people that work at Facebook use, is                        10:00

10     that different than the Facebook Messenger that                            10:00

11     users on the platform use, or is it the same?                              10:00

12            A.    I mean I use Messenger the same way you                       10:00

13     would use it.        But internally I don't use that                       10:00

14     version of the product.        I use an Enterprise                         10:00

15     personal product --                                                        10:00

16            Q.    Okay.                                                         10:00

17            A.    -- which is called Workset.                                   10:00

18            Q.    And what's the difference functionally                        10:00

19     between those two?                                                         10:00

20                  MS. STEIN:     Objection.     This is like way                10:00

21     beyond the scope about what employees at Facebook                          10:00

22     use.                                                                       10:01

23                  MS. WEAVER:     Okay.   Fine.     It's fine.         I        10:01

24     was trying to establish a foundation, but I guess we                       10:01

25     can come back to that in another deposition.                               10:01

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1             Q.    So, K.P., back to Exhibit 3.        Do you who        10:01

2      Simone LiTrenta is?                                                10:01

3             A.    No.                                                   10:01

4             Q.    Okay.   Looking at just the cover email, do           10:01

5      you recognize the names of anybody on this email as                10:01

6      individuals who work at Facebook?                                  10:01

7             A.    I recognize Matt Scutari, Rob Sherman, and            10:01

8      Erin Egan.                                                         10:01

9             Q.    And you understand that those are                     10:01

10     employees of Facebook during the time this email was               10:01

11     written; is that right?                                            10:01

12            A.    That is 2014?   Yes, I believe so.                    10:01

13            Q.    Okay.   And do you believe Exhibit 3 to be            10:01

14     an email sent by employees at Facebook in the                      10:01

15     regular course of business?                                        10:01

16            A.    Yes, that looks like.                                 10:01

17            Q.    Okay.   Do you have an understanding as to            10:01

18     what the materials that are attached to this email                 10:02

19     are?                                                               10:02

20



                                                                          10:02

23            Q.    Okay.   And what is -- do you know what the           10:02

24     global policy team is?                                             10:02

25            A.    Yes.                                                  10:02

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1




4           Q.    Okay.   And just again by way of                         10:02

5      understanding how Facebook functions, you see                       10:02

6      there's a Dropbox hyperlink here in the email?                      10:02

7           A.    Yes.                                                     10:02

8           Q.    Does Facebook also use Dropbox?                          10:02

9                 MS. STEIN:    Objection to form.         This            10:02

10     isn't -- not an ESI depo and he is not testifying                   10:02

11     about what Facebook uses internally.          Let's focus on        10:02

12     the subjects that he's here for.                                    10:02

13                MS. WEAVER:     I'm trying to understand if              10:02

14     this document is complete, and that's a little bit                  10:02

15     difficult to do.    So are you going to instruct him                10:03

16     not to answer?                                                      10:03

17                MS. STEIN:    Is there a reason why you                  10:03

18     think the document is not complete?                                 10:03

19                MS. WEAVER:     Okay.   Let me question.                 10:03

20          Q.    So is it true that Facebook -- people use                10:03

21     Dropbox at Facebook to share document files?                        10:03

22          A.    Can I answer?                                            10:03

23          Q.    Yes.                                                     10:03

24          A.    Sorry, I was looking at the document.                    10:03

25          Q.    No problem.                                              10:03

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1              A.      It's -- it's true that for files that are            10:03

2      concise that are too big to send by email we would                   10:03

3      use Dropbox.                                                         10:03

4              Q.      Okay.   Is there any way to know whether or          10:03

5      not a hard copy version of a document like this was                  10:03

6      everything that was contained in the hyperlink or                    10:03

7      would you have to see it in native form?                             10:03

8                      MS. STEIN:    Objection to form.                     10:03

9                      Lesley, next.                                        10:03

10     BY MS. WEAVER:                                                       10:03

11             Q.      Please answer the question.                          10:03

12             A.      I'm not sure I understand exactly what you           10:03

13     saying.        I don't even know what you have printed               10:03

14     out, so I cannot really establish whether it's a                     10:03

15     complete document or not.                                            10:03

16             Q.      Okay.   Is there -- normally -- let me ask           10:03

17     this.        Does Facebook maintain document like --                 10:04

18     documents like this in PDF form or are they native?                  10:04

19                     MS. STEIN:    Objection to form.                     10:04

20                     Lesley, move on.                                     10:04

21     BY MS. WEAVER:                                                       10:04

22             Q.      Please answer the question.                          10:04

23                     MS. STEIN:    It's not an ESI deposition.            10:04

24     Move on.                                                             10:04

25                     MS. WEAVER:     I'm trying to understand this        10:04

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1      document, which we gave to you ahead of time, and                10:04

2      whether or not it's complete.        So please allow him         10:04

3      to answer.                                                       10:04

4                   MS. STEIN:   Ask him if he knows whether            10:04

5      it's complete.     Don't ask him about things that have          10:04

6      nothing to do with what he's here to testify about               10:04

7      here today.     He's not authorized on behalf of                 10:04

8      Facebook to talk about Dropbox, email, messaging                 10:04

9      that gets used internally.                                       10:04

10     BY MS. WEAVER:                                                   10:04

11          Q.      So, K.P., can I ask you, is there any kind          10:04

12     of -- for Dropbox is there any -- well, just -- I'll             10:04

13     move on.     I'll come back to it.                               10:04

14




                                                                        10:05

20          Q.      And you said earlier that you know who Rob          10:05

21     Sherman is; is that right?                                       10:05

22          A.      Yes, I do.                                          10:05

23          Q.      And who is he?                                      10:05

24          A.      He's the VP of privacy.                             10:05

25          Q.      And he's still at Facebook; is that right?          10:05

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1           A.    Yes, he is.                                           10:05

2




                                                                        10:05

11                So did you talk to Mr. Sherman to prepare             10:05

12     for your deposition today?                                       10:05

13          A.    No, I haven't spoken to him.                          10:05

14          Q.    Did you speak to anybody other than your              10:06

15     counsel to prepare for your deposition today?                    10:06

16          A.    No, I haven't.                                        10:06

17          Q.    And how long did you take to prepare for              10:06

18     your deposition?                                                 10:06

19          A.    I think I already answered that question.             10:06

20     I been preparing for this deposition for as long as              10:06

21     I have been at Facebook.                                         10:06

22          Q.    Fair enough.                                          10:06

23          A.    It's a collective -- collective knowledge             10:06

24     of my last 8 and a half years of being employed at               10:06

25     this company.                                                    10:06

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1           Q.    Okay.   And specifically to prepare for               10:06

2      this deposition in response to this notice, how much             10:06

3      time did you spend preparing?                                    10:06

4           A.    I don't know.   Between, you know, calls              10:06

5      with my counsels and homework that I have done for               10:06

6      myself, I would say 15-20 hours.                                 10:06

7           Q.    Okay.   Thank you.                                    10:06

8




                                                                        10:06

12          A.    Yes.                                                  10:06

13

                                                                        10:07

15          A.    Yes.                                                  10:07

16          Q.




                                                                        10:07

21          Q.    Okay.   And is that consistent with your              10:07

22     understanding?                                                   10:07

23          A.    Yes, it makes sense.                                  10:07

24          Q.                                                          10:07

25                MS. STEIN:   Object to form.                          10:07

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1                                                                           10:07

2                 MS. STEIN:     Objection to form.                         10:07

3      BY MS. WEAVER:                                                       10:07

4           Q.    I'll repeat the question.

                                                                            10:07

6                 MS. STEIN:     Same objection.                            10:07

7                 THE WITNESS:     It's -- sorry.        I have to          10:07

8      look at the document while you're talking.            I don't        10:07

9      mean to talk over you.                                               10:07

10                It's okay I answer the question now?                      10:07

11     BY MS. WEAVER:                                                       10:07

12          Q.    Yes.                                                      10:07

13          A.

                                                                            10:07

15          Q.    I'm sorry,                          -- I just             10:07

16     didn't hear you.                                                     10:07

17          A.                                                              10:08

18          Q.    Okay.     So for the record,

                                             is that correct?               10:08

20          A.    Yes,                                yes.                  10:08

21          Q.    Okay.     And what is                                     10:08

22                MS. STEIN:     Objection to form.                         10:08

23                THE WITNESS:     Sorry, I need to switch back             10:08

24     to see -- you don't want to talk.         Okay.                      10:08

25                So it's                                                   10:08

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1                                                            .                10:08

2      BY MS. WEAVER:                                                         10:08

3              Q.      Okay.   And as you sit here today,




                                                                              10:08

7              A.      I don't think so.                                      10:08

8              Q.      Okay.   Let's return to our discussion of              10:08

9

                                                     What does that           10:08

11     mean?        Is it the same as                                         10:09

12                     MS. STEIN:     Objection to form.                      10:09

13                     THE WITNESS:



                                                                              10:09

16     BY MS. WEAVER:                                                         10:09

17             Q.      Okay.   I just didn't quite hear.         Every        10:09

18                                                                            10:09

19             A.      (Indecipherable).      I'm joking.                     10:09

20                     They -- if you are talking about                       10:09

21     what do you mean?                                                      10:09

22             Q.      Okay.   Well, I'm trying to learn from you,            10:09

23     so let me ask you.                                                     10:09

24             A.

                                                                              10:09

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1           Q.    Uh-huh, okay.   Good.                                 10:09

2           A.




                                                                        10:09

8      is that right?                                                   10:09

9           A.    Correct.                                              10:09

10          Q.    Okay.   And so when we --




                                                                        10:10

22          Q.    Okay.   Can you think of any other branded            10:10

23     apps in the United States that were used during 2012             10:10

24     to 2017?                                                         10:10

25          A.    Facebook branded apps?       Messenger,               10:10

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1      Instagram.                                                       10:10

2              Q.   Great.     Thank you.                               10:10

3                   And then on the right it seems -- this              10:10

4

                           Do you see that?                             10:10

6              A.   Yes.                                                10:10

7              Q.   Okay.

                                                      Do you see        10:10

9      that?                                                            10:11

10             A.   Yes.                                                10:11

11             Q.   And then it lists




                                                                        10:11

17             A.   Yes.                                                10:11

18             Q.   Okay.     Do you have an understanding as to        10:11

19     what                            means?                           10:11

20             A.                           -- I'm sorry, I'm           10:11

21     looking back.

                                                                        10:11

23             Q.   Okay.     And so that means

                                                                        10:11

25             A.   Correct.                                            10:11

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                                                                        10:12

3                 MS. STEIN:     Objection to form.                     10:12

4                 THE WITNESS:     So they may not be explicit          10:13

5      shared because they submit the data to us, but they              10:13

6      have agreed to share that data because they have                 10:13

7      agreed to the privacy policies --                                10:13

8      BY MS. WEAVER:                                                   10:13

9           Q.    Okay.                                                 10:13

10          A.    -- that make it clear that we will have               10:13

11     access to this kind of data.                                     10:13

12

                                                                        10:13

14          A.    Yes.                                                  10:13

15          Q.

                                                                        10:13

17          A.    Yes.                                                  10:13

18          Q.



                                                                        10:13

21          Q.

                                                .                       10:13

23          Q.                                                          10:13

24          A.    Yes.                                                  10:13

25          Q.    And what is that?                                     10:13

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1           A.




                                                                        10:14

9           A.    Yes.                                                  10:14

10                MS. STEIN:   Object.     Objection to form.           10:14

11     BY MS. WEAVER:                                                   10:14

12          Q.



                                                                        10:14

15          A.    Yes, I do.                                            10:14

16          Q.    What does that refer to?                              10:14

17




                                                                        10:14

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                                                                        10:15

6           Q.    How did you know?                                     10:15

7                 So how does Facebook retain that                      10:15

8      information once it draws that inference?                        10:15

9           A.    You know, there would be --                           10:15

10                MS. STEIN:     Objection.                             10:15

11                THE WITNESS:     There would be a list of             10:15

12     potential interest that would be derived by your                 10:15

13     affinity to certain entities on the platform,                    10:15

14     certain businesses on the platform.                              10:15

15     BY MS. WEAVER:                                                   10:15

16          Q.    And how does Facebook record those                    10:15

17     interests, if you will?                                          10:15

18                MS. STEIN:     Objection to form.                     10:15

19




                                                                        10:16

24     BY MS. WEAVER:                                                   10:16

25                                                                      10:16

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                                                                        10:16

12                MS. STEIN:     Objection.     Form.                   10:16

13                THE WITNESS:     What do you mean?                    10:16

14     BY MS. WEAVER:                                                   10:16

15




                                                                        10:17

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                                                                       10:18

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1           Q.    Use your example.     I




                                                                        10:18

7           Q.    Okay.                                                 10:18

8           A.    That's a database.                                    10:18

9           Q.




                                                                        10:18

14          Q.    Yes.                                                  10:19

15          A.    Probably nowhere.                                     10:19

16          Q.    Okay.




                                                                        10:19

21          A.    Yes.                                                  10:19

22          Q.    Okay.




                                                                        10:19

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                                                                        10:19

13          A.    I'm really sorry, but I'm having a hard               10:20

14     time hearing.     Is it me or is it your mic?                    10:20

15                MS. WEAVER:    I'm not having a hard time             10:20

16     hearing.                                                         10:20

17                MS. STEIN:    It's the mic.                           10:20

18                MS. WEAVER:    Oh, okay.     Can you hear me          10:20

19     now or is it --                                                  10:20

20




                                                                        10:20

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                                                                        10:20

9                 THE REPORTER:     Thank you.                          10:20

10     BY MS. WEAVER:                                                   10:20

11          Q.    Let me move on.     I'm going to return to            10:20

12     that because I think we need to drill down a little              10:20

13




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                                                                        10:21

10     BY MS. WEAVER:                                                   10:21

11             Q.   Do you know what a data broker is?                  10:21

12             A.   My definition of data broker?                       10:21

13             Q.   Yes.                                                10:22

14             A.   Anybody that has access to a broad set of           10:22

15     data.                                                            10:22

16             Q.   Okay.   Is Facebook a data broker?                  10:22

17             A.   No.                                                 10:22

18             Q.   Okay.   Did you talk to anybody -- well,            10:22

19     strike that.                                                     10:22

20




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                                                                        10:23

14          Q.    What is an advertiser?                                10:23

15          A.    Someone that is running marketing                     10:23

16     companies on Facebook.                                           10:23

17




                                                                        10:23

21          Q.    What is custom audiences?                             10:23

22          A.    A custom audience is a reference to a                 10:23

23     products whereby a business can upload and encrypt               10:23

24     its -- a version of their database of customers for              10:23

25     the purpose of running a campaign that targets those             10:23

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1      customers.                                                         10:23

2             Q.    Okay.    I want to break that down a little           10:23

3      bit.                                                               10:23

4                   MS. WEAVER:     I'm not seeing that on my             10:23

5      live feed.                                                         10:23

6                   Could you read his response back, please.             10:24

7                                (The record was read by the              10:24

8                                court reporter, as requested)            10:24

9      BY MS. WEAVER:                                                     10:24

10            Q.    Okay.    And when you say "encrypt," what do          10:24

11     you mean?                                                          10:24

12            A.    They wouldn't upload the raw data.        They        10:24

13     would upload a version of that data.                               10:24

14                  THE REPORTER:     I'm sorry, could you repeat         10:24

15     that last part, please?                                            10:24

16                  THE WITNESS:     They wouldn't upload raw             10:24

17     customer data.       They would upload encrypted personal          10:24

18     or hashed personal data.                                           10:24

19     BY MS. WEAVER:                                                     10:24

20            Q.    Thank you.     And when you say "raw customer         10:24

21     data," what do you mean?                                           10:24

22            A.    Email addresses.                                      10:24

23            Q.    Anything else?                                        10:24

24            A.    No.                                                   10:24

25            Q.                                                          10:24

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                                                                       10:25




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                                                                             10:26

11            Q.   Do political campaigns advertise?                         10:26

12            A.   Yes, they do.                                             10:26

13            Q.   Okay.     And when they are seeking                       10:26

14     conversion, are they seeking to encourage certain                     10:26

15     actions by Facebook users?                                            10:26

16                 MS. STEIN:     Objection to form.                         10:27

17                 THE WITNESS:     Yeah, but that wouldn't                  10:27

18     include, you know, like what people voted.            It would        10:27

19     probably include if they read, or if they donated,                    10:27

20     or if they took an action on their website,                           10:27

21     depending on what the campaign is actually optimized                  10:27

22     for.                                                                  10:27

23     BY MS. WEAVER:                                                        10:27

24            Q.   Got it.                                                   10:27

25            A.   But, no, the conversion wouldn't be that I                10:27

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1      voted for Biden or I voted for Trump.             That's not --        10:27

2                   THE REPORTER:     I'm sorry, could you please             10:27

3      slow down.     The last part?                                          10:27

4                   THE WITNESS:     Oh, sorry.                               10:27

5                   THE REPORTER:     "The conversion"...                     10:27

6                   THE WITNESS:     The conversion that                      10:27

7      political campaigns are tracking have to do with                       10:27

8      fundraising, donations, registration, this kind of                     10:27

9      things.                                                                10:27

10     BY MS. WEAVER:                                                         10:27

11          Q.      Okay.   And so Facebook provides conversion               10:27

12     measurement information back to the advertisers                        10:27

13     which could include political campaigns; is that                       10:27

14     right?                                                                 10:27

15                  MS. STEIN:     Objection to form.                         10:27

16                  THE WITNESS:     Yes.                                     10:27

17     BY MS. WEAVER:                                                         10:27

18




                                                                              10:28

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1




                                                                        10:29

21          Q.    So what is the difference between                     10:29

22     encryption and hashing?                                          10:29

23          A.    It's same thing in that sense.                        10:29

24          Q.    It is the same thing?                                 10:29

25          A.    Yeah.                                                 10:29

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1           Q.    Is it true that hashing has two inputs --                 10:29

2      well, let me go back.      Is it fair to say that                    10:29

3      encryption has two inputs so that if you have a key,                 10:29

4      you can associate data point together; is that fair?                 10:29

5                 MS. STEIN:     Object to form.       He's not here        10:29

6      as a technical expert, so...                                         10:29

7                 You can give your high-level                              10:29

8      understanding, if you have one.                                      10:29

9                 THE WITNESS:     Yes, I don't -- I don't                  10:29

10     want -- I don't want to talk about, you know, like                   10:29

11     encryption.   But it's important here, I think, to                   10:29

12     take away is that we don't have access to those                      10:29

13     email addresses and they don't have access to the                    10:30

14     people who we ended up identifying as users who have                 10:30

15     both a Facebook account and a Walmart account.                       10:30

16     BY MS. WEAVER:                                                       10:30

17




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1

                                                                        10:30

3           Q.    So could you, please, explain what hashed             10:30

4      data matching is?                                                10:30

5           A.    If an advertiser has information about a              10:30

6      user, a customer of theirs, like their email                     10:30

7      address -- I didn't realize that we can actually be              10:30

8      based on phone number or home address, but if it                 10:30

9      seems to be the case, then that's basic data that we             10:30

10     can use to match those users on the Facebook site.               10:30

11




                                                                        10:31

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1




                                                                        10:32

20          Q.    Okay.   So Facebook is getting data about,            10:32

21     for example, that I had something in my cart that I              10:32

22     didn't purchase; is that right?                                  10:32

23                MS. STEIN:     Object to form.                        10:32

24                THE WITNESS:     No, not that, no.                    10:32

25

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1      BY MS. WEAVER:                                                   10:32

2           Q.    Okay.   Who has it?     You just gave that as         10:32

3      an example.                                                      10:32

4           A.    Yeah, but that is a logic that takes place            10:32

5      on the advertiser's side.                                        10:32

6           Q.    Okay.                                                 10:32

7           A.    The advertiser selects the marketing team             10:32

8      on the advertiser side to decide what kind of                    10:32

9      campaign they want to run.       And they create a               10:33

10     segment of their customers that they want to target              10:33

11     with their ad campaign, and then they will decide                10:33

12     what creative they want to use, like how the ad is               10:33

13     going to look like.                                              10:33

14

                                                                        10:33

16                MS. STEIN:   Objection to form.                       10:33

17



                                                                        10:33

20     BY MS. WEAVER:                                                   10:33

21          Q.



                                                                        10:33

24                MS. STEIN:   Objection to form.                       10:33

25                (Background audio interference.)                      10:33

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1                 MS. WEAVER:     Somebody needs to put their           10:33

2      phones on mute or their computers on mute.                       10:34

3



                                                                        10:34

6                 MS. STEIN:     Objection to form.                     10:34

7                 THE WITNESS:



                                                                        10:34

10                MS. WEAVER:     Okay.   Tat's -- I'll just            10:34

11     move to strike as nonresponsive.         We will move on.        10:34

12          Q.

                                                                        10:34

14          A.    Yes.                                                  10:34

15          Q.                                                          10:34

16                MS. STEIN:     Objection to form.                     10:34

17

                                     .                                  10:34

19                THE REPORTER:     I'm sorry, could you repeat         10:34

20     that, please.     Information?                                   10:34

21

                                                                        10:34

23     BY MS. WEAVER:                                                   10:34

24          Q.

                                                                        10:34

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1                                                                                10:34

2                 MS. STEIN:     Objection to form.          The                 10:35

3      document speaks for itself.                                               10:35

4                 MS. WEAVER:     I'm here to depose him about                   10:35

5      the document, Deb.      It was identified ahead of time.                  10:35

6                 Please answer the question.                                    10:35

7                 MS. STEIN:     Yeah, Lesley, this document is                  10:35

8      all about targeted advertising, and you've been                           10:35

9      going on for about an hour about targeted                                 10:35

10     advertising which isn't even in this case.              It's              10:35

11     outside the scope of this case.                                           10:35

12                MS. WEAVER:     You can instruct him not to                    10:35

13     answer if you want, but I'm actually --                                   10:35

14                MS. STEIN:     Lesley, I've let this witness                   10:35

15     testify for an hour about                                   .   So        10:35

16     if you want to ask him about the scope of this                            10:35

17     deposition, you're free to, but suggesting that just                      10:35

18     because you sent us a document about

                                                                                 10:35

20                MS. WEAVER:     Deb, stop lecturing and                        10:35

21     wasting my minutes with the witness, please.                              10:35

22                MS. STEIN:     Lesley, I am stating my                         10:35

23     position for the record.      This is a 30(b)(6)                          10:35

24     deposition on a specific set of topics.              You've gone          10:35

25     beyond the scope.    I've been very liberal in that.                      10:35

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1                   I will let the witness continue answering           10:35

2      some more questions, but if it continues focusing on             10:35

3                                  then we're going to have to          10:36

4      move on.                                                         10:36

5      BY MS. WEAVER:                                                   10:36

6              Q.   So the question -- I'm sorry, K.P. -- the           10:36

7      question is this:




                                                                        10:36

11                  MS. STEIN:     Objection to form.                   10:36

12                  THE WITNESS:     I don't know the definition        10:36

13     of an                                                            10:36

14     BY MS. WEAVER:                                                   10:36

15             Q.   Okay.                                               10:36

16             A.




                                                                        10:36

20             Q.   Thank you.                                          10:36

21



                    In what context?                                    10:36

24             Q.

                                                                        10:36

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1              A.   Okay.    In the context of this document --         10:36

2              Q.   Yes.                                                10:36

3              A.

                                                                        10:36

5              Q.   Yes.    I'm so sorry.    So I'll ask the            10:36

6      question again.

                                                                        10:36

8              A.   Yes.                                                10:36

9              Q.   Okay.

                                                                        10:36

11             A.   Yes.                                                10:37

12             Q.   What does that refer to?                            10:37

13             A.




                                                                        10:37

23             Q.   Okay.    And then                    you see        10:37

24     that?                                                            10:37

25             A.   Yes.                                                10:37

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1           Q.    What does that refer to?                                10:37

2           A.

                                                                          10:37

4           Q.    Okay.   And did that change over time?                  10:37

5           A.                                                            10:38

6           Q.    Okay.   And                    what is that?            10:38

7           A.

                                                                          10:38

9           Q.    Okay.   I



                                                                          10:38

12          A.    I think we discussed about that before.                 10:38

13     So I'll try to repeat my previous response.                        10:38

14                So



                                                                          10:38

17          Q.    Okay.   I see that I guess the videographer             10:38

18     would like to take a quick break.         So do you want to        10:38

19     just -- is that comfortable for you, K.P., to take a               10:38

20     break for a little bit here?                                       10:38

21          A.    Yes, I need a coffee.                                   10:38

22                MS. WEAVER:    Okay.    So why don't we come            10:38

23     back at, do you want to say, 10:50?                                10:38

24                THE WITNESS:    10 minutes from now?                    10:38

25                MS. WEAVER:    Yeah, does that work?      Well,         10:39

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1       1      11 minutes?   Okay.    Great.                                     10:39

        2                THE VIDEOGRAPHER:       We are off the record           10:39

2                               10:39     3     at         a.m.

       10:39

3       4                (Recess.)                                               10:39

                                10:39     5                   (Off record:      a.m.)

4      10:39

5       6                (On record:     10:53 a.m.)                             10:39

6       7                THE VIDEOGRAPHER:       We are on the record at         10:53

7                               10:53     8            a.m.

8      10:53

9       9      BY MS. WEAVER:                                                    10:53

10     10           Q.   Hello, K.P.     You understand you are still            10:53

11     11      under oath, correct?                                              10:53

12     12           A.   Yes, I do.                                              10:53

13




                                                                                 10:53

22     22                MS. STEIN:     Object to form.                          10:53

23     23      BY MS. WEAVER:                                                    10:53

24     24




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1

                                                                         10:54

3           A.     Yes, I do.                                            10:54

4           Q.     Okay.



                                                                         10:54

7                  MS. STEIN:     Objection to form.                     10:54

8                  THE WITNESS:     Yeah.




                                                                         10:54

14     BY MS. WEAVER:                                                    10:54

15          Q.     Okay.

                                                                         10:54

17          A.     Yes.                                                  10:54

18          Q.     Do you see that?      What does that refer to?        10:54

19                 MS. STEIN:     Objection.     Asked and               10:54

20     answered.                                                         10:54

21                 You can answer.                                       10:54

22                 THE WITNESS:




                                                                         10:55

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1      BY MS. WEAVER:                                                       10:55

2             Q.   Okay.

                                                                            10:55

4             A.   Yes.                                                     10:55

5             Q.




                                                                            10:55

11            Q.   So it was called                          is that        10:55

12     correct?                                                             10:55

13            A.   I don't remember the exact name of the                   10:55

14     app.                                                                 10:55

15            Q.   Do you recall that it was a VPN, a virtual               10:55

16     private network?                                                     10:55

17                 MS. STEIN:     Objection to form.                        10:55

18                 THE WITNESS:     Yes.                                    10:55

19     BY MS. WEAVER:                                                       10:55

20            Q.

                                                                            10:55

22                 MS. STEIN:     Object to form.                           10:55

23                 THE WITNESS:                                             10:55

24     BY MS. WEAVER:                                                       10:55

25            Q.   Uh-huh.                                                  10:56

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1           A.      I don't think so.




                                                                               10:56

5                   MS. STEIN:    Objection to form.         Beyond the        10:56

6      scope.                                                                  10:56

7                   MS. WEAVER:    It relates directly to the                  10:56

8



                                                                               10:56

11                  MS. STEIN:    Objection to form.         Beyond the        10:56

12     scope.    This witness is not testifying about --                       10:56

13                  MS. WEAVER:    Are you instructing him not                 10:56

14     to answer my question about                                             10:56

15                  MS. STEIN:    That it's not subject to this                10:56

16     testimony.     He's not here -- he knows it -- he's not                 10:56

17     designated --                                                           10:56

18                  MS. WEAVER:    State an objection to form or               10:56

19     instruct him not to answer.        Please don't fill my                 10:56

20     record with your speeches.                                              10:56

21                  MS. STEIN:    Okay.   It's not a speech.        I'm        10:56

22     explaining that this witness came prepared to                           10:56

23     testify about certain things.         He's not a company                10:56

24     witness on                 , so he's not answering the                  10:56

25     question.                                                               10:56

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1      BY MS. WEAVER:                                                   10:56

2           Q.



                                            Do you see that?            10:57

5           A.    Yes, I see that.                                      10:57

6           Q.



                                                                        10:57

9                 MS. STEIN:     The witness should not guess.          10:57

10     If he knows, he can answer.       If he does not know, he        10:57

11     should not answer.                                               10:57

12                THE WITNESS:     I don't know.                        10:57

13     BY MS. WEAVER:                                                   10:57

14          Q.    Okay.



                                                                        10:57

17                MS. STEIN:     Objection.     The witness just        10:57

18     said he doesn't know.                                            10:57

19     BY MS. WEAVER:                                                   10:57

20          Q.    You can answer the question.                          10:57

21          A.    I don't know.                                         10:57

22          Q.    Okay.

                                                                        10:57

24          A.    No, I didn't.                                         10:57

25          Q.    Okay.   Do you know who did?                          10:57

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1           A.     It's a very broad question.         So in what        10:57

2      capacity?                                                         10:57

3           Q.     Who oversaw the Onavo project from within             10:57

4      Facebook?    It was a partnership, correct?                       10:57

5           A.     No, it's not a partnership.         It's an           10:57

6      acquisition.                                                      10:57

7           Q.     Okay.   So who oversaw that acquisition?              10:57

8           A.     On the Facebook side or --                            10:57

9           Q.     Yes.                                                  10:58

10          A.     -- after the acquisition?                             10:58

11          Q.     On the Facebook side.                                 10:58

12          A.     I don't know.                                         10:58

13          Q.     Okay.   What about after the acquisition?             10:58

14          A.     The -- I guess the CEO of Onavo.                      10:58

15          Q.     Okay.   Move on.                                      10:58

16                                                                       10:58

17          A.     I don't know.                                         10:58

18          Q.     So



                                                                         10:58

21          A.     Yes.                                                  10:58

22          Q.     Okay.



                                                                         10:58

25          A.     I see that.                                           10:58

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1



                                                                         10:58

4           A.    I see that.                                            10:58

5           Q.    And do you see that it's in quotations?                10:58

6           A.    Yes.                                                   10:59

7           Q.

                                                                         10:59

9                 MS. STEIN:    Objection to form.         If the        10:59

10     witness knows what the people who wrote this --                   10:59

11                MS. WEAVER:    Please stop coaching him and            10:59

12     telling him to say that he doesn't know.                          10:59

13                MS. STEIN:    Lesley -- Lesley, do not                 10:59

14     accuse me of coaching.     You've gotten --                       10:59

15                MS. WEAVER:    That's strike one.                      10:59

16          Q.    Okay.   Go ahead, K.P.                                 10:59

17                MS. STEIN:    Excuse me?                               10:59

18     BY MS. WEAVER:                                                    10:59

19          Q.    I'll ask the question again.




                                                                         10:59

23          A.    I can only speak at a high level.



                                                                         10:59

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1           Q.    Okay.   Thank you.                                    10:59

2                 And then do you see it says

                                                                        10:59

4           A.    Yes, yes.                                             10:59

5           Q.    Okay.




                               Do you see that?                         11:00

10          A.    Yes, I do.                                            11:00

11          Q.    Okay.   So is it a true statement that



                                                                        11:00

14          A.    Yes.                                                  11:00

15          Q.    Okay.   And do you have an understanding as           11:00

16     to what the

                              what does that mean?                      11:00

18          A.    It means that



                                                                        11:00

21          Q.    Okay.   And so I just want to direct your             11:00

22     attention to




                                                                        11:01

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1                                                       Do you see        11:01

2      that?                                                              11:01

3              A.   I see that.                                           11:01

4              Q.   Okay.

                                                                          11:01

6              A.   It would probably mean

                                                                          11:01

8              Q.   Okay.

                                                                          11:01

10             A.   No.                                                   11:01

11             Q.   No, you don't know, or, no, they did not?             11:01

12             A.   No, we haven't.                                       11:01

13             Q.   Okay.   What is -- a little bit lower                 11:01

14     there, do you see                               referenced?        11:01

15             A.   Yes.                                                  11:01

16             Q.   What does that refer to?                              11:01

17             A.   I don't know.                                         11:01

18             Q.   Okay.



                                    Do you see that?                      11:02

21             A.   Yes, I see that.                                      11:02

22             Q.

                                                                          11:02

24             A.   Yes.                                                  11:02

25             Q.   What is that?                                         11:02

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1             A.   Sorry, I'm searching back so I can see                  11:02

2      you.                                                                11:02

3



                                                                           11:02

6             Q.   Okay.   And can you --

                                                                           11:02

8             A.   My -- I don't know exactly

                                                                           11:02

10            Q.   Okay.

                                 Do you see that?                          11:02

12            A.   Yes.

13            Q.   And it says

                                                             Do you        11:03

15     see that?                                                           11:03

16            A.   Yes.                                                    11:03

17            Q.   So is it true that -- well, let me back                 11:03

18     up.



                                                                           11:03

21            Q.   Okay.   And what is




                                                                           11:03

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1                                                                         11:03

2           Q.    Okay.   And



                                                                          11:03

5           A.    I believe                                yes.           11:03

6           Q.    Okay.

                                                                          11:03

8           A.                                     yes.                   11:04

9           Q.    Okay.   And back to the DYI.        You say it's        11:04

10     all the information that Facebook has for you; is                  11:04

11     that correct?                                                      11:04

12          A.    Yes.                                                    11:04

13          Q.    What do you mean by that?                               11:04

14          A.    It includes from things from like the                   11:04

15     information you submitted when you created your                    11:04

16     account, to the photos that you may have uploaded,                 11:04

17     to the pixels of your friends you may have liked, to               11:04

18     the ads you may have seen, the videos you may have                 11:04

19     watched.   It's a -- it's a very lengthy, you know,                11:04

20     like document with different things.                               11:04

21



23     DIY tool include appended data?                                    11:04

24          A.    No.                                                     11:04

25          Q.    Okay.   Does it include behavioral data?                11:04

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1                 MS. STEIN:     Objection to form.                       11:04

2                 THE WITNESS:     Yes, it does.                          11:05

3      BY MS. WEAVER:                                                     11:05

4            Q.   Okay.    So it includes the conversions and             11:05

5      purchases off Facebook?                                            11:05

6            A.   I don't know about that, but it includes                11:05

7      the apps that you have logged in.         It includes, I           11:05

8      think, the websites that you may have liked, and so                11:05

9      on.                                                                11:05

10           Q.   Okay.    Does the Do It Yourself network                11:05

11     include the native data that was inferred from                     11:05

12     engagement on the site?                                            11:05

13                MS. STEIN:     Objection to form.                       11:05

14                THE WITNESS:     I think you're referring to            11:05

15     the DYI file?                                                      11:05

16     BY MS. WEAVER:                                                     11:05

17           Q.   Yes.    I'll ask the question again.      Sorry.        11:05

18                Does the DIY file include native data that              11:05

19     is inferred from engagement on the site?                           11:05

20                MS. STEIN:     Objection to form.                       11:05

21                THE WITNESS:     It should include interests,           11:05

22     which are inferred data, so yes.                                   11:05

23     BY MS. WEAVER:                                                     11:05

24           Q.   Does it also include behaviors?                         11:05

25                MS. STEIN:     Objection to form.                       11:05

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1                  MS. WEAVER:     What's the objection?                 11:06

2                  MS. STEIN:     "Behaviors" is a very vague            11:06

3      term, Lesley.                                                     11:06

4                  MS. WEAVER:     No.

                           So I'm going to restate the                   11:06

6      question.                                                         11:06

7            Q.



                                                                         11:06

10                 MS. STEIN:     Objection to form.                     11:06

11                 THE WITNESS:     So I will answer with, you           11:06

12     know, like a high-level understanding that



                                                                         11:06

15     BY MS. WEAVER:                                                    11:06

16           Q.

                         Just go back to that question.                  11:06

18




                                                                         11:06

22                 MS. STEIN:     Objection to form.                     11:06

23                 THE WITNESS:     DYI file includes activities         11:06

24     such as you liking a page that may suggest an                     11:07

25     interest and, by default, explain a behavior or                   11:07

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1      BY MS. WEAVER:                                                         11:08

2              Q.

                                                                              11:08

4              A.   I think we exhausted that, but I will go                  11:08

5      back to the




                                                                              11:08

9              Q.   And is that contained in the DYI tool or                  11:08

10     the DYI file?                                                          11:08

11                  MS. STEIN:     Object to form.       Objection to         11:08

12     form.                                                                  11:08

13                  THE WITNESS:     I'm sorry, how can a file                11:08

14     include activities as you have already opted out?                      11:08

15     BY MS. WEAVER:                                                         11:08

16             Q.   Okay.




                                                                              11:09

23             Q.   Okay.                                                     11:09

24

                                                                              11:09

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1      data?                                                            11:09

2                   MS. STEIN:      Objection to form.                  11:09

3                   THE WITNESS:      All?   I don't know.              11:09

4      BY MS. WEAVER:                                                   11:09

5              Q.   Yeah.   Okay.                                       11:09

6                   How would you find out?                             11:09

7              A.   I would have to look at the DYI file.               11:09

8              Q.   Okay.   And have you looked at any DYI              11:09

9      files to prepare for your deposition today?                      11:09

10             A.   No, I have not, because that would be a             11:09

11     violation of my commitment to users' privacy.                    11:09

12             Q.   Did you look at DYI files for any of the            11:09

13     named plaintiffs in this action to prepare for the               11:09

14     deposition?                                                      11:09

15             A.   No, because that would be in violation of           11:09

16     my commitment to users' privacy.                                 11:09

17             Q.   To prepare --                                       11:10

18             A.   I would be fired --                                 11:10

19             Q.   If your --                                          11:10

20             A.   -- if I look --                                     11:10

21             Q.   If your lawyers had you look at the                 11:10

22     plaintiffs' DYI files to prepare for deposition in               11:10

23     this action?                                                     11:10

24             A.   I would be fired.                                   11:10

25             Q.   Okay.   Well, we'll table that.                     11:10

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1                 Can you look at your --                               11:10

2            A.   No one here --                                        11:10

3            Q.   Can you look at your own --                           11:10

4            A.   I can only look at mine.                              11:10

5            Q.   -- DYI -- oh, okay.      So can you look at           11:10

6      your own DYI file to determine whether or not all                11:10

7      third-party behavioral data is included in it?                   11:10

8            A.   I can, but not right now.                             11:10

9            Q.   Okay.   Right.                                        11:10

10                Okay.   Give me a moment here.                        11:10

11




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1




                                                                        11:12

11           A.   Ah.                                                   11:12

12           Q.   -- on the top.                                        11:12

13           A.   Yes.                                                  11:12

14           Q.   Okay.   So the question is,

                                                                        11:12

16           A.   Could I read the whole thing quickly just             11:12

17     to make sure I'm --                                              11:12

18           Q.   Absolutely, of course.                                11:12

19                (Pause while witness peruses document.)               11:12

20           A.   Okay.                                                 11:12

21           Q.                                                         11:12

22                MS. STEIN:   I will just instruct the                 11:13

23     witness to make sure that you only testify about                 11:13

24     things that you know, and that if there are things               11:13

25     in this document that you don't know or are not a                11:13

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1      company term, to please, you know, tell the                      11:13

2      examiner, because you should not be testifying                   11:13

3      beyond the scope of what your -- what's at issue in              11:13

4      this deposition and --                                           11:13

5                 MS. WEAVER:     This is completely within the         11:13

6      scope, Deb, and that's improper coaching.                        11:13

7            Q.   So, sir,

                                                                        11:13

9

                                                                        11:13

11           Q.   I'm sorry?                                            11:13

12           A.

                                                                        11:13

14           Q.   Okay.

                                                                        11:13

16           A.   Yes.                                                  11:13

17           Q.   Okay.

                                                                        11:13

19                MS. STEIN:     Objection to form.                     11:13

20                THE WITNESS:




                                                                        11:14

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1




                                                                        11:14

12           A.   Those are things that are --                          11:14

13                MS. STEIN:      Objection to form.                    11:14

14                You may answer.                                       11:14

15                THE WITNESS:

                                                                        11:14

17     BY MS. WEAVER:                                                   11:15

18           Q.   Okay.   So --                                         11:15

19           A.



                                                                        11:15

22           Q.   Okay.   So for the record,



                                                                        11:15

25                MS. STEIN:      Objection to form.                    11:15

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1




                                                                         11:15

13             Q.      Okay.   And is it contained in the DYI            11:15

14     file?                                                             11:15

15             A.      That -- how is that relevant for you?             11:15

16             Q.      I get to ask the questions.                       11:16

17             A.      No, I mean -- I'm -- I'm thinking loudly.         11:16

18     That a user's information, when it is -- so the --                11:16

19     okay.        So let me take a step back.                          11:16

20                     That data that we are talking about are           11:16

21     anonymized.        They are not associated with a given           11:16

22     user.        And so it wouldn't show up in a -- in user's         11:16

23     DYI file.                                                         11:16

24             Q.      Okay.   And when --                               11:16

25                     MS. STEIN:   I'm just waiting for my feed

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1      here.

2                   Oh, could you read his answer back,

3      please.                                                               11:16

4                                (The record was read by the                 11:17

5                                court reporter, as requested)               11:17

6      BY MS. WEAVER:                                                        11:17

7              Q.   And what do you mean by "associated"?                    11:17

8              A.   Like we have a broad understanding of who                11:17

9      lives in San Francisco but we don't know exactly who                  11:17

10     lives in San Francisco.                                               11:17

11             Q.   Okay.   But the data's collected from                    11:17

12     individual users, right?                                              11:17

13             A.   It depends.                                              11:17

14             Q.   On what?                                                 11:17

15             A.   It depends on whether the data has been                  11:17

16     collected because some are explicitly said "I live                    11:17

17     in San Francisco."        Some people have their hometown             11:17

18     identified on Facebook, some people don't.                            11:17

19             Q.   Right, but it's still one individual.        The         11:17

20     source of the -- the -- originally is one user,                       11:17

21     right?                                                                11:17

22                  MS. STEIN:     Objection to form.                        11:17

23     BY MS. WEAVER:                                                        11:17

24             Q.   Because either I live in San Francisco or                11:17

25     I indicated -- I mean, all of this data comes from                    11:17

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1      individuals, right?                                               11:17

2




                                                                         11:18

6            Q.   Okay.    So let's -- okay.      Let's talk --          11:18

7            A.   Like you have defined San Francisco --                 11:18

8            Q.   Right.                                                 11:18

9            A.   -- to be your hometown.                                11:18

10           Q.   Perfect.                                               11:18

11           A.   Okay.                                                  11:18

12           Q.   So it's associated with me initially,                  11:18

13     right?                                                            11:18

14           A.   You have specifically suggested to your                11:18

15     Facebook friends by basically filling in that                     11:18

16     specific field that Facebook asked you to do that                 11:18

17     your hometown is San Francisco.        You may live in            11:18

18     Denver, but your hometown appears to be                           11:18

19     San Francisco.                                                    11:18

20           Q.   Okay.    So an algorithm runs on this data             11:18

21     and it creates an ad cluster and puts me -- when                  11:18

22     does it become disassociated with me?          Because it         11:18

23     was initially associated, correct?                                11:18

24           A.   That association will never cease to exist             11:18

25     unless you basically go there and suggest that you                11:18

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1      move to Denver.                                                          11:18

2            Q.   Okay.    I'm just -- honestly, K.P., I'm                      11:18

3      trying to understand your answer.                                        11:18

4                 You said the data that we are talking                         11:18

5      about is not associated with specific users.              We             11:18

6      just talked about --                                                     11:19

7            A.   Yes, please.                                                  11:19

8            Q.   -- it was associated with an individual                       11:19

9      user because they're from San Francisco.                                 11:19

10           A.   Yes.                                                          11:19

11           Q.   So when does it become disassociated?                         11:19

12




                                                                                11:19

18           Q.   Okay.    And --                                               11:19

19           A.   So -- no, no, no, no.        Sorry.       I have to           11:19

20     be super precise here.                                                   11:19

21                There are two kinds of native data.             There         11:19

22     are native data that come because you have, as a                         11:19

23     user, indicated that your hometown is San Francisco.                     11:19

24           Q.   Right.                                                        11:19

25           A.   And there is native data that comes from                      11:19

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1      your activity.          So if -- hypothetically speaking, I          11:19

2      don't -- I don't know exactly what period of time we                 11:19

3      are going to be looking at, but let's say for the                    11:19

4      last three -- the last 30 days you have accessed                     11:19

5      Facebook from an IP address in -- in San Francisco,                  11:19

6      that is still, according to our definition, native                   11:19

7      data.        But it's -- it's not data that's -- it's                11:19

8      directly explicitly, you know, like, documented by                   11:19

9      the user, but it's in data inferred by their                         11:20

10     activity.                                                            11:20

11             Q.      Okay.    And so the --                               11:20

12             A.      Still native.                                        11:20

13             Q.      I understand.                                        11:20

14                     By the way, would you use a different word           11:20

15     than native data?          Is there another way to reference         11:20

16     that?                                                                11:20

17             A.      I would probably use on-site activity.               11:20

18             Q.      On-site activity?                                    11:20

19             A.      Versus off-site activity.                            11:20

20             Q.      Okay.    Perfect.                                    11:20

21                     Do you -- would you use the -- the words             11:20

22     "appended data" or is there another term for that?                   11:20

23             A.      I haven't heard that term until recently.            11:20

24     Until this --                                                        11:20

25             Q.      Okay.    Do you have another understanding           11:20

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1      of how people at Facebook refer to it?                           11:20

2            A.   Customer data provided by third parties or            11:20

3      something --                                                     11:20

4            Q.   Okay.                                                 11:20

5            A.   -- like that.                                         11:20

6            Q.   All right.    And then what about behavioral          11:20

7      data; is there another term of art at Facebook used              11:20

8      to reference that?                                               11:20

9            A.   That's my definition of offline activity.             11:20

10           Q.   Offline activity.     Okay.                           11:20

11           A.   Oh, sorry, off-site activity.                         11:20

12           Q.   Off-site.    I see.   Okay.                           11:20

13




                                                                        11:21

24           A.   Okay.   At the very high level, if we are             11:21

25     talking about the specific scenario that a business              11:21

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1      that is operating in San Francisco wants to target               11:21

2      users in San Francisco, they will run the campaign               11:21

3      for, let's say, two days; they will target specific              11:21

4      users that live in that area.       They may target only         11:21

5      females or only men, people of a certain age, people             11:21

6      of a certain profession, depending on, you know,                 11:21

7      like, what sort of campaign they want to run, right?             11:21

8                 So that will all be effectively identified            11:21

9      as a potential audience of, let's say for the sake               11:21

10     of the argument, 20,000 users.       They still have no          11:22

11     access to the information.      They only understand             11:22

12     what is the potential audience their ad campaign can             11:22

13     reach.                                                           11:22

14                And then when they start, you know, like,             11:22

15     placing the advertisement, then their advertisement              11:22

16     is going to go into an auction.        That auction may          11:22

17     actually, you know, allow others to beat against                 11:22

18     that same audience.    So if there is a competitor of            11:22

19     this service, or another service that wants to                   11:22

20     target people with similar characteristics that live             11:22

21     in San Francisco, they may or may not see the first              11:22

22     ad.   So it's the highest bidder that will have the              11:22

23     ad show up.                                                      11:22

24

                                                                        11:22

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1      that is used to create the derived data.             How do you         11:23

2      determine what information can be used to apply                         11:24

3      those algorithms?                                                       11:24

4            A.   I need to clarify that question.                             11:24

5            Q.   Yeah, it's -- so is only public                              11:24

6      information used to create derived data?                                11:24

7                 MS. STEIN:     Objection to form.                            11:24

8                 THE WITNESS:     Okay.    So are you talking                 11:24

9      about derived data in the context of location, or                       11:24

10     you're talking about derived data broadly?                              11:24

11     BY MS. WEAVER:                                                          11:24

12           Q.   Well, what is derived data broadly?                          11:24

13           A.   I mean, I don't know of any use of derived                   11:24

14     data broadly, but I'm trying to understand exactly                      11:24

15     how you want me to answer the question in a                             11:24

16     thoughtful way.                                                         11:24

17




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1            Q.   But at large, is it fair to say that                   11:25

2      derived data is created through algorithms running                11:25

3      on realtime data?                                                 11:25

4                 MS. STEIN:     Objection to form.                      11:25

5                 THE WITNESS:     I cannot talk about that.             11:25

6      But derived data is a -- a broad, you know, like,                 11:25

7      industry term that you can use, and it's a legal                  11:25

8      term as well, as far as I understand.           It can be         11:25

9      used in different context and it doesn't always                   11:25

10     require realtime processing.                                      11:25

11     BY MS. WEAVER:                                                    11:25

12           Q.   Okay.    So let's -- we can stick with your            11:25

13     example then if you like for now.                                 11:25

14                What if I sent a -- a private -- a message             11:25

15     in Facebook Messenger to one friend saying "I used                11:25

16     to live in San Francisco" and I've never posted                   11:25

17     anything publicly about it.       Is that information             11:25

18     used to create the derived data for ad clusters?                  11:26

19           A.   No.                                                    11:26

20           Q.   Why not?                                               11:26

21           A.   That's a private conversation between you              11:26

22     and your friend --                                                11:26

23           Q.   Okay.                                                  11:26

24           A.   -- that --                                             11:26

25           Q.   So how does the algorithm distinguish --               11:26

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1      let me ask this:         When the data is being run on                      11:26

2      algorithms, is it segregated by public or private                           11:26

3      data?                                                                       11:26

4              A.      So your definition of public or private is                  11:26

5      what, if I may say?                                                         11:26

6              Q.      If a user designated something private or                   11:26

7      restricted audience.                                                        11:26

8              A.      Okay.   Let's take a little bit of a step                   11:26

9      back.        Because what we define as public data is                       11:26

10     basically your first name, your last name, your                             11:26

11     profile picture.                                                            11:26

12             Q.      Okay.                                                       11:26

13             A.      Anything else that comes with a -- an                       11:26

14     audience selection doesn't necessarily belong --                            11:26

15     it's not necessarily by default public.                 It may have         11:26

16     a limited audience.         It may be just you, if it's                     11:26

17     things like your birthday, or it may be friends --                          11:27

18     or accessible to your friends.                                              11:27

19                     What we always, you know, like, like to                     11:27

20     suggest that communications that happen over                                11:27

21     messenger is also by default private, meaning that                          11:27

22     it's -- the content of your exchanges with your                             11:27

23     friends belong to you and your friends.                 So that             11:27

24     wouldn't be considered public information.                 But it           11:27

25     wouldn't be considered necessarily private                                  11:27

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1      information because it's not accessible by anybody                   11:27

2      in that -- it's a private conversation but it's not                  11:27

3      private data in that sense.                                          11:27

4            Q.   And when Facebook is, let's say -- we can                 11:27

5      just stick with your ad clusters example.            When it         11:27

6      is using the algorithm to create derived data, such                  11:27

7      as ad clusters, is it using that world of                            11:27

8      information that you just described that is not                      11:27

9      public?                                                              11:27

10           A.   We would be using native data such as your                11:27

11     registered home location and things like your IP                     11:28

12     address to determine where you live.                                 11:28

13           Q.   Okay.   But what I'm trying to say is --                  11:28

14     and I gave you a different example.           So if you              11:28

15     could, just follow my example.        Okay.                          11:28

16           A.   We wouldn't.    I think I made --                         11:28

17           Q.   Okay.                                                     11:28

18           A.   -- that point that --                                     11:28

19           Q.   When I -- when I look --                                  11:28

20           A.   -- you telling your friends you live in                   11:28

21     San Francisco is your business and it's not for us                   11:28

22     to use in any kind of ads.                                           11:28

23           Q.   Okay.   And that's because reading messages               11:28

24     and using that content and making it available to                    11:28

25     advertisers would violate Facebook's policies,                       11:28

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1      right?                                                           11:28

2              A.   Reading private communications between you          11:28

3      and your friends would be a violation of our                     11:28

4      commitment to your privacy.                                      11:28

5              Q.   Okay.   Switching topics just for a second.         11:28

6                   You know what capabilities are; is that             11:28

7      right?                                                           11:29

8              A.   In what --                                          11:29

9              Q.   In connection with -- in connection with            11:29

10     APIs?                                                            11:29

11             A.   Yes, I do.                                          11:29

12             Q.   Okay.   Sorry.                                      11:29

13                  So are you familiar with the read stream            11:29

14     capability?                                                      11:29

15             A.   Read stream is an API but there is an               11:29

16     associated capabilities.                                         11:29

17             Q.   Yeah.   And what is that?                           11:29

18             A.   It's an API that allows a third party to            11:29

19     access someone's News Feed.                                      11:29

20             Q.   Okay.   And what does "read stream" mean in         11:29

21     particular?                                                      11:29

22             A.   It's a very poorly, you know, like,                 11:29

23     defined --                                                       11:29

24             Q.   It should probably be for the period 2012           11:29

25     to 2017.                                                         11:29

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1            A.   Yes.    So the News Feed is also referred as                11:29

2      stream.                                                                11:29

3            Q.   Uh-huh.                                                     11:29

4            A.   And that API and the corresponding                          11:29

5      capability effectively describes the ability to read                   11:29

6      the stream.                                                            11:29

7            Q.   Okay.                                                       11:29

8            A.   In other words, read the News Feed.                         11:29

9            Q.   Okay.     And are you aware at any point in                 11:30

10     time if third parties were allowed to read Facebook                    11:30

11     Messenger messages?                                                    11:30

12                MS. STEIN:     Objection.                                   11:30

13     BY MS. WEAVER:                                                         11:30

14           Q.   Through -- through API capabilities?                        11:30

15                MS. STEIN:     Objection to form.         And we're         11:30

16     talking about 2012 to 2017.                                            11:30

17                You may answer.                                             11:30

18                THE WITNESS:     Between 2012 and 2017, I                   11:30

19     don't think we made the -- the Messenger API -- the                    11:30

20     current version of the Messenger API available.                        11:30

21                THE REPORTER:     I'm sorry.      That -- that...           11:30

22                THE WITNESS:     So I'm -- between 2012 and                 11:30

23     2017, the current version of the Messenger API was                     11:30

24     not available.     I think the only way for third                      11:30

25     parties to access Messenger was through the Inbox                      11:30

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1      API.                                                             11:30

2                   MS. WEAVER:    I'm sorry, I just need to            11:30

3      look really quickly.                                             11:31

4             Q.    What is the Inbox API?                              11:31

5             A.    It's an API that allows a third party to            11:31

6      access a user's Messenger conversation.                          11:31

7             Q.    Okay.    And what do those third parties --         11:31

8      strike that.                                                     11:31

9                   What access were they given to --                   11:31

10            A.    So the third --                                     11:31

11            Q.    -- use Messenger conversation?                      11:31

12            A.    Yeah.    The third parties that had access          11:31

13     to the Inbox API were app third parties that                     11:31

14     replicated core Facebook functionality, including                11:31

15     messaging.     So we call those integrations device              11:31

16     integrations because they were replicating                       11:31

17     Facebook -- the Facebook app.                                    11:31

18            Q.    Are you aware -- are you familiar with the          11:31

19     company Royal Bank of Canada, RBC?                               11:31

20            A.    Yes.    Yes.                                        11:31

21            Q.    Did -- did they have access to Messenger            11:31

22     inboxes during this time period?                                 11:32

23            A.    They had the access to an API that allowed          11:32

24     them to write into someone's inbox.                              11:32

25            Q.    And why?                                            11:32

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1             A.   But -- but not to read.                              11:32

2             Q.   Okay.     And why --                                 11:32

3             A.   Why?                                                 11:32

4             Q.   -- did they have that access?                        11:32

5             A.   Because we were testing the ability for a            11:32

6      Royal Bank of Canada customer that wants to wire                 11:32

7      money to friends to tell them through Messenger that             11:32

8      they have successfully wired the money.                          11:32

9             Q.   So I'm going to turn to the page ending              11:32

10     with 429 now.       It's just the next page of the same          11:32

11     document.                                                        11:32

12                 Oh, strike it.     I will move on.                   11:32

13                 Going, actually, to the page ending in               11:33

14     430.    What is "facial recognition" as used in this             11:33

15     document?                                                        11:33

16            A.   Can I take a quick moment to read the                11:33

17     document?                                                        11:33

18            Q.   Of course.     Sorry.                                11:33

19            A.   Thank you.                                           11:33

20                 (Pause while witness peruses document.)              11:33

21            A.   I'm sorry, there's a little bit of                   11:33

22     background noise.       I don't know where it's coming.          11:33

23                 MS. WEAVER:     I think that's Ms. Stein.            11:33

24     But maybe not.                                                   11:33

25                 MS. STEIN:     Sorry.   Sorry.                       11:33

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1                 THE WITNESS:     Oh.   Okay.                          11:33

2                 MS. STEIN:     I will -- I will mute.     The         11:33

3      gardeners are here.      Hazards of --                           11:33

4                 MS. WEAVER:     Yes.                                  11:33

5                 MS. STEIN:     -- of COVID.                           11:33

6      BY MS. WEAVER:                                                   11:33

7            Q.   I'm going to direct your attention just to            11:33

8      a few pages here.                                                11:33

9            A.   Okay.                                                 11:33

10           Q.   Great.                                                11:33

11




                                                                        11:34

18           Q.   -- your understanding.                                11:34

19                Yes, sorry.                                           11:34

20           A.   So it's a -- it's a code that allows us to            11:34

21     understand who may be shown or seen in a picture, in             11:34

22     a photo.                                                         11:34

23           Q.   Okay.    And how does it work?                        11:34

24           A.   Technically?                                          11:34

25           Q.   Yes.                                                  11:34

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1             A.   Through a combination of pattern matching               11:34

2      and other characteristics.                                          11:34

3             Q.   Combination of?     I just didn't understand            11:34

4      you.    Could you repeat it again.                                  11:34

5             A.   Pattern matching.                                       11:34

6             Q.   Pattern --                                              11:34

7             A.   So we try to see patterns.                              11:34

8             Q.   Pattern -- pattern matching?                            11:34

9             A.   Yes.                                                    11:34

10            Q.   Okay.   And what patterns?      It's looking at         11:34

11     people's faces for those patterns; is that correct?                 11:34

12            A.   Yeah.   Would analyze certain                           11:34

13     characteristics of your face and try to, you know,                  11:34

14     create a matching with a pattern.        And then when we           11:35

15     see a similar pattern, we can associate this back to                11:35

16     you.                                                                11:35

17




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1            Q.     Do you -- what is Graph Search?                           11:35

2            A.     Graph Search is our own version of                        11:35

3      searching within the graph.                                            11:35

4            Q.     And what do you mean by graph?                            11:35

5            A.     Everything at Facebook is the graph.          Any         11:35

6      entity, any connection that's affecting the part of                    11:35

7      the graph.                                                             11:35

8            Q.     Okay.   Is it a relational database?                      11:35

9            A.     It's not a -- a database per se.        The               11:35

10     graph is -- I don't know.      It's a -- it's an                       11:35

11     abstract thing that describes basically every single                   11:36

12     connection and entity on -- on the platform.                           11:36

13           Q.     Okay.   So if somebody is using Graph                     11:36

14     Search, they are searching all over Facebook's                         11:36

15     entire network; is that right?                                         11:36

16           A.     Sort of, because there may be exceptions                  11:36

17     to that.     Like people that opt out from --                          11:36

18           Q.     Okay.                                                     11:36

19           A.     -- from that they wouldn't have their                     11:36

20     results in that.                                                       11:36

21           Q.     If people opt out, are they still in the                  11:36

22     graph?                                                                 11:36

23           A.     They can opt out from being discovered                    11:36

24     through Graph Search.                                                  11:36

25           Q.     But they're still in the graph?                           11:36

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1            A.    But they are still in the graph, yes.                11:36

2            Q.    Is there any way to be removed from the              11:36

3      graph?                                                           11:36

4            A.    You have to delete your Facebook account.            11:36

5            Q.    Okay.   And if I go to delete my Facebook            11:36

6      account, what is deleted?     Is all the data relating           11:36

7      to me deleted?                                                   11:36

8            A.    Your interactions with public entities               11:36

9      will not be deleted.                                             11:36

10           Q.    So how do you identify all of the data to            11:37

11     delete?                                                          11:37

12           A.    My -- my response would be anything that             11:37

13     lives in the "Download Your Information" file is                 11:37

14     going to disappear.                                              11:37

15           Q.    What about all the rest of the data in the           11:37

16     graph?                                                           11:37

17           A.    Again, the only exception here would be,             11:37

18     you know, like, your interactions with public                    11:37

19     entities.    If you end -- ended up commenting on                11:37

20     United's page you didn't like their service, that                11:37

21     is, by default, public and is not personal                       11:37

22     information.     And, to some extent, it belongs also            11:37

23     to United because you did that on their entity.                  11:37

24           Q.    So --                                                11:37

25           A.    But pretty much every -- everything else             11:37

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1      that is associated to you will be deleted.                                11:37

2              Q.      Okay.     And when you say "is associated to              11:37

3      me," what do you mean?                                                    11:37

4              A.      Any kind of on-site or off-site activity.                 11:37

5              Q.      What about derived data?                                  11:37

6              A.      The derived data, again, if we are talking                11:38

7      about location?           Are we?                                         11:38

8              Q.      No.     Just in general.      Derived data in             11:38

9      general.                                                                  11:38

10             A.      Oh.     In general?                                       11:38

11             Q.      Yeah.                                                     11:38

12             A.      Derived data may be your interest like we                 11:38

13     discussed before that may be inferred from you                            11:38

14     liking Beyonce's page, that will show up in the DYI                       11:38

15     file.        So, yes, they will be deleted.                               11:38

16             Q.      Okay.     You -- you referred earlier to data             11:38

17     that is not associated with individuals.                   Do you         11:38

18     recall that?                                                              11:38

19             A.      I need to play back my -- you know, like,                 11:38

20     my sentence.           Okay.   What about it?                             11:38

21             Q.      You -- okay.        So there is data that is not          11:38

22     associated with individual users; is that right?                          11:38

23             A.      Overall?                                                  11:38

24             Q.      Yes.                                                      11:38

25             A.      Yes, we -- we do have some information                    11:38

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1     that is not associated with specific users.                      11:38

2           Q.   Right.                                                11:38

3           A.   Like United's page on Facebook is not                 11:38

4     associated with specific users.                                  11:38

5           Q.   Okay.    We'll put a pin in this and we'll            11:38

6     come back to it.     Because I think really drilling in          11:39

7     on what Facebook can identify about me specifically              11:39

8     is at the heart of this deposition.                              11:39

9




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1            Q.   Okay.    And do you know whether or not               11:39

2



             A.   I don't know.                                         11:40

5            Q.   Who would know?                                       11:40

6            A.   I don't know.                                         11:40

7




                                                                        11:40

11           A.   I -- I don't know.     I've heard that name           11:40

12     just recently.                                                   11:40

13




                          Do you see that?                              11:40

17           A.   Yes.                                                  11:40

18           Q.   And this is page 3433.                                11:40

19                                                                      11:40

20           A.   I don't know.                                         11:40

21           Q.




                                                                        11:41

25                Do you see that?                                      11:41

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1             A.   And you said next page?                              11:41

2             Q.   I'm on the -- sorry.     I'm on the bottom           11:41

3      paragraph on the page ending with 3433.                          11:41

4             A.   Oh, okay.                                            11:41

5                  Sorry, which sentence?                               11:41

6             Q.   Well, let's do this.     Do you see where it         11:41

7      says                                                             11:41

8             A.   Yes.                                                 11:41

9             Q.   Okay.   So there it says,




                                                                        11:41

13                 Do you see that?                                     11:41

14            A.   Yes.                                                 11:41

15            Q.   And it says a little bit lower there,                11:41

16



                                                                        11:41

19                 Do you see that?                                     11:41

20            A.   Yes.                                                 11:41

21            Q.



                                                                        11:41

24                 Do you see that?                                     11:42

25            A.   Yes.                                                 11:42

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                                                                        11:42

5            Q.   Got it.                                               11:42

6                 And then looking forward, it says,



                                                                        11:42

9                 Do you see that?                                      11:42

10           A.   Let me see.    Where are you now?                     11:42

11           Q.   I'm sorry.    It's two sentences -- here,             11:42

12     I'll go at the sentence ahead.




                                                                        11:42

17                Do you see that?                                      11:42

18           A.   Yes.                                                  11:42

19           Q.   And then it says,



                                                                        11:42

22                Do you see that?                                      11:42

23           A.   Yes.                                                  11:42

24           Q.

                                                                        11:42

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1                 THE REPORTER:     Thank you.                          11:43

2      BY MS. WEAVER:                                                   11:43

3            Q.



                                                                        11:43

6            A.   I haven't been involved in the process, so            11:43

7      I don't know.                                                    11:43

8            Q.   Okay.



                                                                        11:44

11           A.   My understanding is that, yes, we do.                 11:44

12           Q.

                                                                        11:44

14           A.   I don't know.                                         11:44

15           Q.   Who would know?                                       11:44

16           A.   I don't know.                                         11:44

17           Q.   Okay.   So here, going back to the                    11:44

18     paragraph where we started, it says



                                                                        11:44

21                Do you see that?                                      11:44

22           A.   Yes.                                                  11:44

23           Q.



                                                                        11:44

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13                MS. WEAVER:    I'm sorry, my realtime feed            11:45

14     is not working.     Could you read that answer back,             11:45

15     please.                                                          11:45

16                            (The record was read by the               11:46

17                            court reporter, as requested)             11:46

18     BY MS. WEAVER:                                                   11:46

19           Q.   Okay.    Does every user get a user ID?               11:46

20     Facebook user ID?                                                11:46

21           A.   Everybody that has an account on the                  11:46

22     Facebook platform will have a user ID.                           11:46

23           Q.   Okay.    And are there -- does Facebook use           11:46

24     any other identifiers for individuals?                           11:46

25

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13                  MS. WEAVER:     We should probably slow down          11:46

14     because we're making our court reporter's life                     11:46

15     miserable.                                                         11:46

16                  THE WITNESS:     Sorry.    I will -- I will.          11:46

17                  MS. WEAVER:     No.   It's my fault, too.             11:46

18           Q.     Okay.   What is the purpose of a user ID?             11:46

19                  MS. STEIN:     Objection to form.                     11:46

20                  THE WITNESS:     Are you talking specifically         11:47

21     about the Facebook user ID?                                        11:47

22     BY MS. WEAVER:                                                     11:47

23           Q.     Yes.                                                  11:47

24           A.     It's to uniquely identify a user within               11:47

25     our own systems.                                                   11:47

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1            Q.   And among the data Facebook collects from                    11:47

2      apps developed with its API is -- is also app users'                    11:47

3      IP addresses, right?                                                    11:47

4            A.   The SDK will pass (inaudible) --                             11:47

5                 THE REPORTER:     I'm sorry.      One more time.             11:47

6                 THE WITNESS:     Sorry.    I'm talking                       11:47

7      technical terms here.      That's probably why.                         11:47

8                 The SDK will pass that information.                          11:47

9      BY MS. WEAVER:                                                          11:47

10           Q.   Okay.   So the platform that an app                          11:47

11     developer uses to send data will also send a user's                     11:47

12     IP address; is that correct?                                            11:47

13                MS. STEIN:     Objection to form.                            11:47

14                THE WITNESS:     It depends.                                 11:47

15     BY MS. WEAVER:                                                          11:47

16           Q.   Well, I was just trying to say -- instead                    11:47

17     of saying SDK, I was trying to put what you said                        11:47

18     into English, so...                                                     11:48

19           A.   Yes, but there is nuance here.            Because it         11:48

20     may be the IP address of the app's back-end servers                     11:48

21     or the IP address of the phone, depending on when                       11:48

22     the call, the API call is initiated from.                               11:48

23           Q.   Okay.   And the data Facebook collects from                  11:48

24     apps also includes this unique user-specific                            11:48

25     advertiser ID; is that right?                                           11:48

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1            A.   No.                                                   11:48

2            Q.   It does not?                                          11:48

3            A.   That's not correct.                                   11:48

4            Q.   What is incorrect?                                    11:48

5            A.   It's a time you log in with an app using              11:48

6      Facebook, there is a unique identifier that is                   11:48

7      mapped against your Facebook ID but is not the same.             11:48

8      And it's unique to the app.                                      11:48

9            Q.   Okay.     Fair enough.                                11:48

10                And what would you call that?                         11:48

11           A.   It's called app-scoped ID.                            11:48

12           Q.   Okay.     That's an app-scoped ID.                    11:48

13                And then are apps themselves also assigned            11:48

14     separate identifiers?                                            11:49

15           A.   Depends on their architecture.                        11:49

16           Q.   Okay.     So some do and some don't; is that          11:49

17     right?                                                           11:49

18           A.   Yeah.     For example, if an app only uses            11:49

19     Facebook as the only way to authenticate people,                 11:49

20     they may as well use the app-scope ID as their only              11:49

21     identifier.      But if an app uses different                    11:49

22     authentication systems from, like, Google or Apple,              11:49

23     or even email passwords, they would probably have an             11:49

24     additional identifier in order to capture all                    11:49

25     different ways of authentication.                                11:49

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1            Q.   Okay.   And when you say authenticate, what                11:49

2      do you mean?                                                          11:49

3            A.   Apps that require you to create an                         11:49

4      account, which allow you to create an account                         11:49

5      upfront, and then every time you try to log in back                   11:49

6      to that app will authenticate you based on that                       11:49

7      account you have created.                                             11:50

8            Q.   Okay.   So is all data that's associated                   11:50

9      with a user linked through that user's user ID?                       11:50

10                MS. STEIN:     Objection to form.                          11:50

11                THE WITNESS:     I'm sorry.      Is it in the              11:50

12     context of Facebook or third-party apps?                              11:50

13     BY MS. WEAVER:                                                        11:50

14           Q.   Let's do Facebook for now.                                 11:50

15           A.   And so all the data that we have been                      11:50

16     talking about this morning, native data, behavioral                   11:50

17     data, will be associated back to that Facebook user                   11:50

18     ID.                                                                   11:50

19           Q.   I'm sorry, I just didn't hear what...                      11:50

20           A.   The behavioral data --                                     11:50

21           Q.   Would be associated -- yes.          Okay.                 11:50

22     Perfect.                                                              11:50

23                And how is that mapping accomplished?           Is         11:50

24     every data point that's pulled in assigned to the                     11:50

25     user ID?                                                              11:50

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1                  MS. STEIN:     Objection to form.                        11:50

2                  THE WITNESS:     So in my -- so you use Word             11:50

3      With Friends and you have created an account using                   11:51

4      Facebook.    The app developer will make an API call                 11:51

5      the next time you try to open the app and                            11:51

6      authenticate yourself.       The information that they               11:51

7      are going to be passing back to us is your app-scope                 11:51

8      ID.                                                                  11:51

9      BY MS. WEAVER:                                                       11:51

10           Q.    Uh-huh.                                                  11:51

11           A.    And we are going to basically confirm to                 11:51

12     them, that, yes, this is a user; that you have                       11:51

13     previously authenticated successfully and they                       11:51

14     should be logged in.                                                 11:51

15           Q.    Okay.                                                    11:51

16           A.    Now, what -- what we are getting from the                11:51

17     app developer is your app-scoped ID.            And what we          11:51

18     basically do is map it on our end with the Facebook                  11:51

19     User ID.                                                             11:51

20           Q.    Okay.     And what about appended data?       Is         11:51

21     that mapped -- information received about users from                 11:51

22     third parties, what do you call that again?                          11:51

23     Off-site?    No, that's behavioral.                                  11:52

24           A.    Yeah, so this is --                                      11:52

25           Q.    Off-platform?                                            11:52

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1            A.     Off-platform, yes.                                  11:52

2            Q.     So is off-platform data received about              11:52

3      users attached to a Facebook user ID as well?                    11:52

4            A.     I'm trying to think.     No.    My                  11:52

5      understanding is that that's not the kind of data                11:52

6      that would be associated with a specific user                    11:52

7      profile because they are for the purposes of                     11:52

8      creating ad campaigns.                                           11:52

9            Q.     Okay.   So what we were about to get into           11:52

10     here, and we can read the document, but I'll just                11:52

11     ask you.     At some point Facebook aggregates data,             11:52

12     right?     It receives data from advertisers or data             11:52

13     brokers or apps about their activities off-site,                 11:52

14     correct?                                                         11:52

15           A.     Yes.                                                11:52

16           Q.     And then it also possesses information              11:52

17     about users, correct?                                            11:53

18           A.     The possession is not really the right              11:53

19     term, but I understand, I think, what you are                    11:53

20     saying.                                                          11:53

21           Q.     Okay.   And so how does -- and Facebook             11:53

22     also aggregates this data?        It brings the data             11:53

23     together; is that correct?                                       11:53

24           A.     Yes.                                                11:53

25                  MS. STEIN:   Objection to form.                     11:53

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1                   THE REPORTER:     I'm sorry, was there an                    11:53

2      objection?                                                                11:53

3                   MS. STEIN:     I said "Objection to form."                   11:53

4                   THE REPORTER:     Thank you.                                 11:53

5      BY MS. WEAVER:                                                            11:53

6            Q.     How does Facebook authenticate or match                      11:53

7      the data that it's receiving off-site to the data                         11:53

8      that it possesses on-site -- itself?                                      11:53

9            A.     Back to the previous example.             The ID of          11:53

10     that user will be mapped to a user ID.             If a third             11:53

11     party is sending information via SDK or a pixel and                       11:53

12     that association will be, I guess -- let me see.                          11:53

13     That's probably poor framing.                                             11:54

14                  The association will happen at the user ID                   11:54

15     level.                                                                    11:54

16           Q.     Okay.                                                        11:54

17                  So with a user ID you could -- you should                    11:54

18     be able to identify off-site data and data that                           11:54

19     Facebook already possessed because of Facebook                            11:54

20     activity, correct?                                                        11:54

21                  MS. STEIN:     Object to form.                               11:54

22                  THE WITNESS:     Yes, but that's not                         11:54

23     different from what's available in your DYI file.                         11:54

24                  MS. WEAVER:     I'll move to strike.          That's         11:54

25     not what I'm asking.                                                      11:54

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1             Q.     I'm just trying to understand how Facebook            11:54

2      aggregates data.                                                    11:54

3                    So what is a cross-app identifier?                    11:54

4




7             A.     I think it refers to an identity that                 11:55

8      people have across their family of apps between                     11:55

9      Instagram, Facebook, Messenger, and WhatsApp.                       11:55

10            Q.     Okay.   So do you know what a hashed UID              11:55

11     is?                                                                 11:55

12            A.     In the context of audience network?                   11:55

13     Sorry.      In audiences, as we discussed, advertisers              11:55

14     can upload hashed email addresses or hashed phone                   11:55

15     numbers.      They will then be associated with specific            11:55

16     users on our platform to the extent that they have                  11:55

17     that information provided to us.                                    11:55

18            Q.     Okay.   So I'll ask you to just look at the           11:55

19     bottom of page 433.                                                 11:55

20            A.     Yes.                                                  11:55

21            Q.     Do you see where it begins -- it's in the             11:55

22     middle of the paragraph.       I apologize for this.     It         11:55

23     says                                                                11:56

24     Do you see that?                                                    11:56

25            A.     Yes.                                                  11:56

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1            Q.




                                                Do you see that?           11:56

7            A.    Yes, I see that.                                        11:56

8            Q.    And then it says

                                                               Do          11:56

10     you see that?                                                       11:56

11           A.    Yes.                                                    11:56

12           Q.    And it says




                                                            Do you         11:56

16     see that?                                                           11:56

17           A.    Yes.                                                    11:56

18           Q.



                                                                           11:56

21           Q.    No, in general.                                         11:57

22           A.    In general,




                                                                           11:57

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1

                                          .                              11:57

3            Q.   Okay.     Is it true that the Facebook UID is          11:57

4      the same across all of the browsers and devices you               11:57

5      are logged into?                                                  11:57

6            A.   For what is -- for what is related to                  11:57

7      Facebook, yes, that's true.                                       11:57

8            Q.   Okay.     And then how does -- just to return          11:57

9      to our discussion of app-scoped IDs, how does                     11:57

10     mapping between user ID and app-scoped ID                         11:57

11     accomplished?      Is there a table?                              11:57

12           A.   So under your user settings you can see --             11:57

13     your Facebook user settings you can see which apps                11:57

14     you have logged in, right?       So there is an app-scope         11:57

15     ID for each one of those apps.         And it should also         11:57

16     appear on your user profile.                                      11:58

17                THE REPORTER:     I'm sorry, "also appear"...          11:58

18                THE WITNESS:     On the user profile.                  11:58

19     BY MS. WEAVER:                                                    11:58

20           Q.   I'm sorry, I've lost --                                11:58

21           A.   The user settings, whatever you want it.               11:58

22           Q.   Okay.     But it's not -- the DIY profile is           11:58

23     not doing the mapping.      Facebook is doing the                 11:58

24     mapping.   Where is that done?                                    11:58

25           A.   Facebook is doing the mapping ads and it's             11:58

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1      captured in the DYI files.                                             11:58

2            Q.     Okay.    Forget the DIY file.        Where -- how         11:58

3      does the mapping between the user ID and app-scoped                    11:58

4      ID happen?                                                             11:58

5                   MS. STEIN:     Objection to form.                         11:58

6                   THE WITNESS:     Which server?                            11:58

7      BY MS. WEAVER:                                                         11:58

8            Q.     Sorry?                                                    11:58

9            A.     Which server?     I can't answer that                     11:58

10     question.                                                              11:58

11




                                                                              11:58

17                  MS. STEIN:     Objection to form and --                   11:58

18     BY MS. WEAVER:                                                         11:58

19           Q.     Is there --                                               11:58

20                  MS. STEIN:     -- it's really beyond the                  11:58

21     scope of this deposition at this point.                                11:58

22                  MS. WEAVER:     Fully disagree.       We are              11:59

23     trying to figure out what data can be produced for                     11:59

24     nine plaintiffs.                                                       11:59

25                  MS. STEIN:     You're asking about mapping of             11:59

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1      IDs.                                                                11:59

2                  MS. WEAVER:        Exactly.     I know that you         11:59

3      don't -- well, anyway.                                              11:59

4             Q.   So let's continue.                                      11:59

5             A.   It's -- don't worry.                                    11:59

6             Q.   Thank you.                                              11:59

7             A.   This is -- this is actually not very                    11:59

8      complicated thing.       Because we are issuing the                 11:59

9      app-scope ID, so we don't need to do that mapping.                  11:59

10            Q.   I see.     Okay.     So it --                           11:59

11            A.   We do the mapping when -- the developer                 11:59

12     uses that app-scope ID when they make an API call.                  11:59

13     But we are the ones giving them the app-scope ID.                   11:59

14            Q.   Okay.     All right.     Good.     Thank you.           11:59

15                 Let me turn to one other -- I apologize,                11:59

16     but I want to just stick with this.                                 12:00

17                 Okay.     So let's talk about hashing then              12:00

18     for a second.       Is it true that Facebook -- well, is            12:00

19     hashing a one-way function?                                         12:00

20            A.   I don't understand what you mean by that.               12:00

21            Q.   Hashing is a process of assigning a                     12:00

22     particular piece of data to -- I think Facebook                     12:00

23     uses -- what's it called? -- shaw 256, which is an                  12:00

24     algorithm --                                                        12:00

25            A.   Yes.                                                    12:00

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1            Q.    -- to assign, right?       Okay.                     12:00

2                 So when Facebook hashes that data, is it              12:00

3      possible to reverse engineer and reidentify where                12:00

4      the data came from?                                              12:00

5            A.   I don't know.    I -- my technical knowledge          12:00

6      is not sufficient to answer that question.                       12:00

7            Q.   Okay.   Can hash data be reidentified using           12:00

8      data stored on Facebook systems?                                 12:00

9            A.   It's not meant to be, so I don't know.                12:00

10




                                                                        12:01

17           Q.   Okay.   Are you aware of a rule that data             12:01

18     is hashed after 90 days?                                         12:01

19           A.   In what context?                                      12:01

20           Q.   I -- never mind.     If you're not familiar           12:01

21     with it, it's fine.                                              12:01

22                Is a reidentifier assigned to hashed data?            12:01

23           A.   I think you may be referring -- I'm                   12:01

24     double-guessing.    So give me an honest -- if I'm               12:01

25     going through an account -- I think you are                      12:02

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1      referring to the deletion of an account and our                  12:02

2      ability to preserve the data for 90 days in this                 12:02

3      kind of semi state in case they change their minds.              12:02

4



                                                                        12:02

7      to people to change their minds within a certain                 12:02

8      time frame in case they want to restore in their                 12:02

9      Facebook account.                                                12:02

10



                                                                        12:02

13                MS. STEIN:     Objection to form.                     12:02

14                THE WITNESS:     I don't know.                        12:02

15                MS. WEAVER:     What was the objection?               12:02

16                MS. STEIN:     Objection to form.                     12:02

17                MS. WEAVER:     What was the basis?                   12:02

18                MS. STEIN:     I find your question confusing         12:02

19     and overbroad.                                                   12:02

20                MS. WEAVER:     Okay.   Just wanted to make           12:02

21     sure you weren't coaching the witness.                           12:02

22                MS. STEIN:     I'm saying "Objection to               12:02

23     form."                                                           12:02

24                Lesley, please stop with your coaching                12:02

25     objections.   I've not made a lot of objections and              12:03

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1      they're almost always just objection to form.                     12:03

2      BY MS. WEAVER:                                                    12:03

3            Q.     Are any outputs or products like interests           12:03

4      generated from hashed data?                                       12:03

5            A.     No.                                                  12:03

6            Q.     Is information collected from hashed data?           12:03

7            A.     The hashed data, at least in the context             12:03

8      of custom audiences we have been talking about, it's              12:03

9      not collected.       It's meant to allow us for analysis.         12:03

10           Q.     For analysis on it; is that right?                   12:03

11           A.     To create a custom audience.                         12:03

12           Q.     Okay.    And that would include, for                 12:03

13     example, interests -- is that right? -- an interest               12:03

14     category?                                                         12:03

15           A.     That depends on the advertiser.          The         12:03

16     advertiser may have the ability for themselves to                 12:03

17     create the custom audience based on interests that                12:03

18     they have collected on their ends but not on our --               12:03

19     on our end.                                                       12:03

20                  Just to make sure that we understand what            12:04

21     we're talking about here.       If you're actively                12:04

22     listening on Beyonce on Spotify, and you're probably              12:04

23     not the only one, Spotify can create a custom                     12:04

24     audience based on whoever listens to Beyonce's                    12:04

25     tracks.     That would be the custom audience based on            12:04

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1      any interest, but an interest that is specific to                     12:04

2      Spotify.                                                              12:04

3            Q.   Okay.                                                      12:04

4            A.   But we have no access to that.                             12:04

5            Q.   In your example, is the -- Beyonce, is                     12:04

6      that hashed data?                                                     12:04

7            A.   If Spotify decides to run a custom                         12:04

8      audience campaign on Facebook for everybody that has                  12:04

9      been listening to Beyonce on Spotify, it would come                   12:04

10     in the form of hashed email addresses that we                         12:04

11     wouldn't necessarily have the ability to identify                     12:04

12     with specific users.                                                  12:04

13           Q.   Okay.     So for creating custom audiences                 12:04

14     are hash -- is hashed data combined with nonhashed                    12:04

15     or identified data such as the user profile?                          12:04

16           A.   No.     Why would we do that?       It doesn't             12:05

17     make sense.      I mean from -- not even from a                       12:05

18     technical perspective.      But not even for the purpose              12:05

19     of running a successful campaign.                                     12:05

20                Spotify wants to target specific users                     12:05

21     that are already on their platform for the purpose                    12:05

22     of retargeting.      So there is no point in us, you                  12:05

23     know, like using any other data unless they                           12:05

24     specified into their app -- ad campaign.             But that         12:05

25     would be broader than just the custom audience.                       12:05

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1              Q.   Okay.    All right.     So back to -- we're          12:05

2      almost done with this, I hope.          And thank you for         12:05

3      your patience.       I know we're getting into lunchtime.         12:05

4                   Okay.    Turn, if you wouldn't mind, to the          12:05

5      next page.     It's ending on 434.                                12:05

6              A.   Yes.                                                 12:05

7              Q.   Just looking at the top paragraph there,             12:05

8      do you see where it says




                                                                         12:06

14             A.   Yes.                                                 12:06

15             Q.   Okay.



                                                                         12:06

18             A.   I'm sorry,

                                                     right?              12:06

20             Q.   Okay.    It could be.     We can start with          12:06

21     that.                                                             12:06

22             A.   No,



                                                                         12:06

25             Q.                                                        12:06

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1

                                                                            12:06

3            A.   It depends.                                               12:06

4                 MS. STEIN:     Object to form.       You can talk         12:06

5      about the 2012 to 2017 time period.          Don't speculate         12:06

6      as to all times.                                                     12:07

7                 THE WITNESS:     Yeah, this is a very                     12:07

8      difficult question because it depends on

                                                                            12:07

10     BY MS. WEAVER:                                                       12:07

11           Q.




                                                                            12:07

19           Q.

                                                                            12:07

21                MS. STEIN:     Objection to form.                         12:07

22                THE WITNESS:                                              12:07

23     BY MS. WEAVER:                                                       12:07

24           Q.

                                                                            12:07

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1            A.




                                                                         12:08

12           A.     I'm sorry, I don't understand your --                12:08

13           Q.

                                                                         12:08

15                  MS. STEIN:     Objection.     Misstates your         12:08

16     testimony.                                                        12:08

17                  THE WITNESS:     I -- I disagree with that           12:08

18     statement.                                                        12:08

19     BY MS. WEAVER:                                                    12:08

20



                                                                         12:08

23           Q.     Okay.                                                12:08

24           A.

                                                                         12:08

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1




                   I want to make sure.                                    12:09

6                 You can set aside Exhibit 3.          I don't            12:09

7      think we'll be returning to it, but I can't promise.                12:09

8                 So we've discussed a vast amount of --                   12:09

9      well, strike that.                                                  12:09

10

                                                                           12:09

12                MS. STEIN:     Objection.     Outside the scope.         12:09

13                THE WITNESS:     I don't know.                           12:09

14     BY MS. WEAVER:                                                      12:09

15           Q.




                                                                           12:10

19           Q.   And do you recall how many current                       12:10

20     Facebook users there are in the United States?                      12:10

21           A.   Roughly, I think 200 million or something.               12:10

22           Q.   Okay.   And do you know how many users,                  12:10

23     U.S. users, there have been from 2007 to the                        12:10

24     present?                                                            12:10

25           A.   No, I don't know.                                        12:10

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1                    MS. STEIN:     Objection.     Outside the scope.         12:10

2      BY MS. WEAVER:                                                         12:10

3              Q.    Do you know where in general user data is                12:10

4      stored?      What's a UDB?     Are you familiar with the               12:10

5      term?                                                                  12:10

6              A.    No, but I suspect it means user database.                12:10

7              Q.    And what is it?                                          12:10

8              A.    I don't know.                                            12:10

9              Q.    Does Facebook have user databases?                       12:10

10             A.    We have different databases where we store               12:10

11     information.                                                           12:10

12             Q.    Okay.   Are you familiar with a database                 12:10

13     called MySQL database?                                                 12:11

14             A.    Yes.                                                     12:11

15             Q.    What is it?                                              12:11

16             A.    It's a database that stores different                    12:11

17     kinds of information.                                                  12:11

18             Q.    What kind of information?                                12:11

19             A.    Different entities from users to                         12:11

20     businesses and so on.                                                  12:11

21             Q.    Okay.   So what specific information about               12:11

22     users does MySQL database store?                                       12:11

23             A.    Anything related to your activity on the                 12:11

24     platform is stored in MySQL.                                           12:11

25             Q.    And how many databases support MySQL                     12:11

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1      database?     Is it one database or is it many?                   12:11

2            A.     So this is where I think where we are in             12:11

3      technical territory that I'm not well-placed to                   12:11

4      respond.     We are talking about database                        12:11

5      architecture, which is not my area of expertise.                  12:11

6            Q.     Okay.   Do you recall assisting -- well,             12:11

7      strike that.                                                      12:12

8                   Do you know what an interrogatory is?                12:12

9            A.     Someone that has been interrogated.                  12:12

10           Q.     Fair enough.     We received some written            12:12

11     responses about the location of user data, which is               12:12

12     at the square of this deposition.           And Facebook          12:12

13     identified a few databases where it says user data                12:12

14     is stored.     And I'm just asking if you are familiar            12:12

15     with them.                                                        12:12

16           A.     I'm aware of MySQL.       I'm aware of Tao.          12:12

17     I'm aware of Hive databases where different kinds of              12:12

18     information is stored.                                            12:12

19           Q.     Okay.   I'm just trying to understand what           12:12

20     is stored in each of them.                                        12:12

21           A.     Well, I can't tell you at a high level.              12:12

22                  MS. STEIN:     Lesley, he already testified          12:12

23     to this.     He told you that this is beyond the scope.           12:12

24                  MS. WEAVER:     Please do not state for him.         12:12

25     Please provide me the information.                                12:12

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1                 MS. STEIN:    No, Lesley, Lesley, I'm                 12:12

2      allowed to make my objection.       I'm not coaching the         12:12

3      witness.                                                         12:12

4                 MS. WEAVER:    And that's a fact?                     12:12

5                 MS. STEIN:    I'm about to tell you that the          12:12

6      interrogatories, the technical interrogatories, were             12:12

7      not verified by this witness.                                    12:12

8                 MS. WEAVER:    Who were they verified by?             12:13

9                 MS. STEIN:    The other individual who                12:13

10     verified the other portion of interrogatories.                   12:13

11     BY MS. WEAVER:                                                   12:13

12           Q.   So you're not prepared to testify about               12:13

13     the location of user data today; is that correct?                12:13

14                MS. STEIN:    That's an unfair                        12:13

15     characterization.    He is not testifying about the              12:13

16     architecture of his book systems.                                12:13

17                MS. WEAVER:    Well, we're going to have to           12:13

18     get somebody back for that.                                      12:13

19           Q.   So do you know what's contained in MySQL              12:13

20     database at all other than to say users' activities?             12:13

21           A.   Anything else related to the users                    12:13

22     activities on Facebook should be in MySQL database.              12:13

23     Certain -- certain aspects of those activities, for              12:13

24     example, their connection with other people or with              12:13

25     other entities would probably be captured in Tao                 12:13

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1      database.                                                        12:13

2              Q.   Okay.   And what is --                              12:13

3              A.   Their activities on Facebook or                     12:13

4      off-platform or API calls will be captured on Hive.              12:14

5      That's at a very high level how our database are                 12:14

6      architected.                                                     12:14

7              Q.   And what is Hive?                                   12:14

8              A.   It's a database that captures logs.                 12:14

9              Q.   And what are logs?                                  12:14

10             A.   It's an activity that you have taken on-            12:14

11     or off-platform made by a call that was made from an             12:14

12     app on your behalf.      The fact that you may have              12:14

13     liked someone's photo is something that lives in                 12:14

14     Hive.                                                            12:14

15             Q.   Okay.




                                                                        12:14

19             Q.   Okay.




                                                                        12:15

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1                                                                       12:15

2            Q.   Going back to Tao, is it Tao or Dow?                  12:15

3            A.   T-A-O.                                                12:15

4            Q.   Okay.    That stands for the associations             12:15

5      and optics server; is that right?                                12:15

6            A.   I don't remember what it stands for, but              12:15

7      it's definitely connections, database.                           12:15

8            Q.   Okay.    When you say it's the connections,           12:15

9      is it a relational database?                                     12:15

10           A.   Yes.                                                  12:15

11           Q.   Okay.                                                 12:15

12           A.   It identifies people's connections with               12:15

13     friends and other entities on the platform.                      12:16

14




                                                                        12:16

21           Q.   What is ZippyDB?     Do you know?                     12:16

22           A.   No, I don't really recall what -- ZippyDB.            12:16

23



                                                                        12:16

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1




                                                                        12:17

10                MS. STEIN:     Object to form.                        12:17

11                THE WITNESS:     Yes.                                 12:17

12     BY MS. WEAVER:                                                   12:17

13




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1       1        Q.   Okay.     I'm not asking a good question.         12:17

        2   Let me try again.     Sorry.                                12:17

2       3             For on-site activity that is contained in         12:18

3




                                                                        12:19

23     23   BY MS. WEAVER:                                              12:19

24     24        Q.   Okay.     And so all of that is associated        12:19

25     25   with the Facebook user ID, correct?                         12:19

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1              A.    Because of activity that happens on the             12:19

2      platform, yes.                                                    12:19

3




                                                                         12:19

8              Q.    Like privacy controls should be in the DIY          12:19

9      file?                                                             12:19

10             A.    If you change the privacy controls you              12:19

11     mean?                                                             12:19

12             Q.    I -- in general what the settings are,              12:19

13     sure, yeah.      Is that in the DIY file?                         12:19

14             A.    It's a very broad question because depends          12:19

15     whether -- are you talking about specifically a post              12:19

16     that you made and the privacy controls for that or                12:19

17     privacy controls for a specific attribute on your                 12:19

18     user profile?                                                     12:20

19             Q.    Either.   You can answer both questions.            12:20

20                   MS. STEIN:     Objection to form.                   12:20

21                   THE WITNESS:     We -- we will know and the         12:20

22     DIY file should indicate whether your date of birth               12:20

23     is private information, i.e., only available to you               12:20

24     or available to your friends or available to the                  12:20

25     public.      Because we need to be able to control the            12:20

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1      access to that piece of information whenever someone             12:20

2      requests that information.                                       12:20

3                 And similarly --                                      12:20

4      BY MS. WEAVER:                                                   12:20

5            Q.   I don't mean to cut you off, but let me               12:20

6      just ask because I don't think we -- we want to have             12:20

7      as little time together as possible in some sense,               12:20

8      so let me just ask you what I'm trying to get at.                12:20

9




                                                                        12:21

16                THE REPORTER:    I'm sorry,

                                                                        12:21

18                THE WITNESS:



                                                                        12:21

21     BY MS. WEAVER:                                                   12:21

22           Q.




                                                                        12:21

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1




                                                                         12:22

18                MS. STEIN:   Objection to form.                        12:22

19     BY MS. WEAVER:                                                    12:22

20           Q.   Let me ask it again.      Let me ask it again.         12:22

21     It was just unclean.                                              12:22

22




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1




                                                                        12:23

15                MS. WEAVER:     The realtime is really not            12:23

16     working.   Could you please read his response back.              12:23

17                             (The record was read by the              12:24

18                             court reporter, as requested)            12:24

19     BY MS. WEAVER:                                                   12:24

20



                                                                        12:25

23                MS. STEIN:     Object to form.                        12:25

24

                                                                        12:25

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1      the time, the last --                                                     12:25

2      BY MS. WEAVER:                                                            12:25

3




                                                                                 12:26

16                  MS. STEIN:     Objection to form.         Beyond the         12:26

17     scope.                                                                    12:26

18                  THE WITNESS:     I don't know.                               12:26

19     BY MS. WEAVER:                                                            12:26

20           Q.     Who would know?                                              12:26

21           A.     Someone with technical knowledge of                          12:26

22     databases.                                                                12:26

23



                                                                                 12:26

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1                                                                       12:26

2              Q.   Do you have a name of somebody in data              12:26

3      science?                                                         12:26

4              A.   No, I don't.                                        12:26

5              Q.   Could you find that out?                            12:26

6              A.   Are you asking me or the counsel?                   12:26

7              Q.   I'm asking Facebook, you.                           12:26

8              A.   I could.                                            12:26

9              Q.   Yeah.                                               12:26

10             A.   But I need -- I need to understand exactly          12:26

11     the technical, you know, aspects of your question                12:26

12     and make sure --                                                 12:26

13




                                                                        12:27

20             Q.   Do you know if that's occurred in this              12:27

21     case?                                                            12:27

22                  MS. STEIN:     I'm just going to object             12:27

23     because the witness just told you that he didn't                 12:27

24     know one way or the other and is guessing, so...                 12:27

25     BY MS. WEAVER:                                                   12:27

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1              Q.   Do you know if that's occurred in this              12:27

2      case?                                                            12:27

3              A.   I don't know what information is available          12:27

4      for your plaintiffs.                                             12:27

5              Q.   Yeah.   Do you know what's been collected           12:27

6      by Facebook relating to our plaintiffs out of the                12:27

7      Hive database?                                                   12:27

8              A.   I'm aware that they -- the DYI files of             12:27

9      those plaintiffs were made available to -- to the                12:27

10     plaintiffs.     Based on what you've told me, I assume           12:27

11     that's sufficient.                                               12:27

12




                                                                        12:28

24                  MS. STEIN:   I think now is a good time for         12:28

25     lunch.                                                           12:28

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1       1                 MS. WEAVER:     That's fine.     We can go to         12:28

        2      lunch and why don't we -- do you want a half an                  12:28

2       3      hour?                                                            12:28

3       4                 THE REPORTER:        Do you want to go off the        12:28

4       5      record first?                                                    12:28

5       6                 MS. WEAVER:     Yes, let's go off the record.         12:28

6       7                 THE VIDEOGRAPHER:        We are off the record        12:28

7                               12:28      8      at       p.m.

8      12:28

9       9              (Whereupon a luncheon recess was had.)                   12:28

10     10

11     11

12     12

13     13

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23     23

24     24

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1                      Tuesday, February 23, 2021                          01:15

2                                   1:19 P.M.                              01:15

3                                                                          01:15

4                   THE VIDEOGRAPHER:      We are on the record at         01:19

5      1:19 p.m.                                                           01:19

6                            EXAMINATION (resumed)                         01:19

7      BY MS. WEAVER:                                                      01:19

8              Q.   Good afternoon, K.P.        Do you understand          01:19

9      that you are still under oath?                                      01:19

10             A.   Yes, I do.     Thank you.                              01:19

11             Q.   Okay.     Let's change focus a little bit.             01:19

12                  What is News Feed?                                     01:20

13             A.   The easiest way to describe the News Feed              01:20

14     is a collection of stories published by pages you                   01:20

15     follow or your friends that you would see when you                  01:20

16     go to Facebook or when you open the Android or iOS,                 01:20

17     yeah.                                                               01:20

18             Q.   And does an algorithm determine the                    01:20

19     content that a user receives on News Feed?                          01:20

20             A.   Yes, it does.                                          01:20

21             Q.   It's an intelligent algorithm, right; so               01:20

22     it's constantly learning?                                           01:20

23             A.   It's an intelligent algorithm because the              01:20

24     purpose of the feed is to be relevant to the user.                  01:20

25             Q.   Right.     But -- so it's constantly                   01:20

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1      learning, right?                                                 01:20

2             A.   Yes, it will --                                      01:20

3             Q.   Changes --                                           01:20

4             A.   It updates itself periodically based on              01:20

5      information around your response to some of the                  01:20

6      stories that you see.                                            01:20

7             Q.   Okay.    And what are the inputs for the             01:20

8      algorithm so that it can be intelligent and learn?               01:20

9                  MS. STEIN:     Objection to form.                    01:21

10                 THE WITNESS:     Your interactions with              01:21

11     content that shows up on the News Feed informs how               01:21

12     the algorithm trains itselves -- itself.                         01:21

13     BY MS. WEAVER:                                                   01:21

14            Q.   And so when a user clicks on a story or              01:21

15     engages with it, does Facebook record that activity?             01:21

16            A.   There is a record of that activity, yes.             01:21

17            Q.   Fair enough.     Thank you.                          01:21

18                 So is one objective of News Feed to                  01:21

19     increase users interaction with varying courses of               01:21

20     content to learn what they are interested in?                    01:21

21            A.   The main objective of the News Feed is to            01:21

22     keep you informed about the things that matter to                01:21

23     you.                                                             01:21

24            Q.   Right.    And so how does News Feed                  01:21

25     determine what matters to you?                                   01:21

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1            A.   Based on your interactions with the                       01:21

2      comments that show up there, it trains itself.                       01:21

3            Q.   And is it true that the more the user                     01:22

4      engages on the platform, the more accurate News Feed                 01:22

5      will be?                                                             01:22

6            A.   The level --                                              01:22

7                 MS. STEIN:     Object to form.                            01:22

8                 THE WITNESS:     It's very subjective.                    01:22

9      BY MS. WEAVER:                                                       01:22

10           Q.   Okay.   But isn't it true that the more                   01:22

11     data points the algorithm has about users, the more                  01:22

12     it can correctly gauge whether or not it is giving                   01:22

13     users the content they want to see?                                  01:22

14                MS. STEIN:     Objection to form.                         01:22

15                THE WITNESS:     Like I think I said, the                 01:22

16     purpose of the News Feed is to connect you with                      01:22

17     information that's relevant to you.          And so there is         01:22

18     no element of accuracy in that sense.           It all goes          01:22

19     back to relevance.      And relevance --                             01:22

20     BY MS. WEAVER:                                                       01:22

21           Q.   Okay.                                                     01:22

22           A.    -- is very subjective.                                   01:22

23           Q.   And what does relevance mean to you?                      01:22

24           A.   Relevance is a way of being captured by                   01:22

25     the kind of interactions you have with that piece of                 01:23

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1      content.                                                                  01:23

2            Q.     Okay.   So when you say -- so Facebook is                    01:23

3      trying to give me a News Feed that I will find                            01:23

4      relevant; is that right?                                                  01:23

5            A.     Correct.                                                     01:23

6            Q.     And how does it find what is relevant to                     01:23

7      me?                                                                       01:23

8            A.     It's calculated in realtime, and based on                    01:23

9      the interactions you're going to have with the                            01:23

10     content that is displayed to you, we will determine                       01:23

11     whether content from the same entity or of the same                       01:23

12     kind would be relevant to you in a future instance.                       01:23

13           Q.     So is it Facebook's view that these data                     01:23

14     sets are necessary to determine the relevancy of                          01:23

15     these updates to users?                                                   01:23

16                  MS. STEIN:     Objection to form.         Beyond the         01:23

17     scope.                                                                    01:23

18                  THE WITNESS:     Are you talking about                       01:23

19     specific data sets?                                                       01:23

20     BY MS. WEAVER:                                                            01:23

21           Q.     In general, just in general at a high                        01:23

22     level.                                                                    01:23

23                  MS. STEIN:     Objection to form and beyond                  01:23

24     the scope.                                                                01:23

25                  THE WITNESS:     There are certain signals                   01:24

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1      that we are going to be using to determine how the                 01:24

2      future versions of the New Feeds would be relevant                 01:24

3      to you.                                                            01:24

4      BY MS. WEAVER:                                                     01:24

5            Q.     Okay.   And what signals are those?                   01:24

6            A.     Your affinity with the people that posting            01:24

7      those stories, so the business entity that is                      01:24

8      posting those stories to your previous response to                 01:24

9      content of the same type.                                          01:24

10           Q.     And all of this is data that Facebook                 01:24

11     collects about users while they're on and off the                  01:24

12     platform, correct?                                                 01:24

13           A.     We record --                                          01:24

14                  MS. STEIN:     Objection to form.                     01:24

15                  THE WITNESS:     We record the interactions           01:24

16     you have with that platform to inform the future                   01:24

17     (indecipherable) --                                                01:24

18                  THE REPORTER:     I'm sorry, I did not -- I'm         01:24

19     sorry, I did not understand.                                       01:24

20     BY MS. WEAVER:                                                     01:24

21           Q.     In order to inform?       I did not hear the          01:24

22     last part.                                                         01:24

23           A.     A future -- a future instance of the News             01:24

24     Feed that will remain relevant to you.                             01:24

25           Q.     Is there a standard set of documents or               01:24

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1      manuals that describes how News Feed operates?                   01:24

2            A.   There is nothing like that.                           01:25

3            Q.   Okay.   Does Facebook use internal training           01:25

4      manuals when a new hire comes on or do they point                01:25

5      just everybody to the public website?                            01:25

6            A.   For what purposes?                                    01:25

7            Q.   For -- let's say you hire an engineer who             01:25

8      is going to work on the algorithm for News Feed.                 01:25

9            A.   I haven't been through that training so I             01:25

10     don't have firsthand experience.                                 01:25

11           Q.   Okay.   When you started at Facebook did              01:25

12     they give you a training manual?                                 01:25

13           A.   What do you mean, like a book printed?                01:25

14           Q.   Yeah, or online, some kind of way to                  01:25

15     acclimate you to how Facebook operates.                          01:25

16           A.   Well, they're -- my obligations to                    01:25

17     Facebook are documented in different formats.       In           01:25

18     2012 I did not get a paper copy of that, but I was               01:25

19     given links to trainings that I had to undertake to              01:25

20     verify my understanding of the company's policies.               01:25

21           Q.   Okay.   So we discussed this earlier in the           01:26

22     morning.   But apps on Facebook's platform send                  01:26

23     information about users of those apps to Facebook,               01:26

24     right?                                                           01:26

25           A.   Apps on Facebook platform send information            01:26

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1      about those users back to Facebook, is that the                  01:26

2      question?                                                        01:26

3            Q.    Yes.                                                 01:26

4                  MS. STEIN:     Objection to form.                    01:26

5                  THE WITNESS:     They send certain pieces of         01:26

6      information about those users, the users' activities             01:26

7      to those --                                                      01:26

8      BY MS. WEAVER:                                                   01:26

9            Q.    Right.     Is it a true statement that app           01:26

10     developers share data with Facebook through the                  01:26

11     Facebook software development kit?                               01:26

12           A.    Different kinds of data, but yes.                    01:27

13           Q.    Yes?     The answer is "yes," isn't it?              01:27

14           A.    Yes.                                                 01:27

15           Q.    Okay.     So I'm just going to say, apps on          01:27

16     Facebook's platform send information about users of              01:27

17     those apps to Facebook, correct?                                 01:27

18                 MS. STEIN:     Objection.     The witness            01:27

19     clarified the statement for you.                                 01:27

20                 THE WITNESS:     Yeah, an app developer that         01:27

21     uses the SDK will send different pieces of                       01:27

22     information related to that user or the activity of              01:27

23     that user to that third-party app.                               01:27

24     BY MS. WEAVER:                                                   01:27

25           Q.    Okay.     Are you familiar with action               01:27

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1      importers?                                                           01:27

2              A.   Action importers?        Vaguely.                       01:27

3              Q.   Okay.   What's your recollection?                       01:27

4                   MS. STEIN:     Objection to form.                       01:27

5                   THE WITNESS:     I -- I don't want to answer            01:27

6      because I don't know in what context.                                01:27

7                   MS. WEAVER:     Are you instructing him not             01:27

8      to answer?                                                           01:27

9                   MS. STEIN:     Did you hear me instruct him             01:28

10     not to answer, Lesley?                                               01:28

11                  MS. WEAVER:     Okay.                                   01:28

12                  MS. STEIN:     The witness is testifying in             01:28

13     response to your question.           Why don't you listen to         01:28

14     him.                                                                 01:28

15                  MS. WEAVER:     I'd rather listen to him for            01:28

16     sure.                                                                01:28

17             Q.   What are -- what is action importers,                   01:28

18     K.P., please?                                                        01:28

19             A.   I need you to provide me a little bit more              01:28

20     context.                                                             01:28

21             Q.   What is your understanding of what action               01:28

22     importers is?                                                        01:28

23             A.   It was a feature, by my recollection, of                01:28

24     the platform that allowed the third party to do an                   01:28

25     import of all the actions taken by a user on a                       01:28

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1      third-party app.                                                           01:28

2              Q.      When you say --                                            01:28

3                      MS. WEAVER:     Could you repeat the last                  01:28

4      part?        Could you read back his response?            Realtime         01:28

5      is still not working.                                                      01:28

6                                   (The record was read by the                   01:28

7                                   court reporter, as requested)                 01:28

8      BY MS. WEAVER:                                                             01:28

9              Q.      Okay.   And when did action importers                      01:29

10     function?        Was it during the 2012 to 2017 time                       01:29

11     frame?                                                                     01:29

12             A.      I don't know.                                              01:29

13             Q.      Who would know?                                            01:29

14             A.      I don't know who would know.                               01:29

15             Q.      Can you, as testifying on behalf of                        01:29

16     Facebook today, say that you do not know who was                           01:29

17     involved with action importers?                                            01:29

18             A.      No, because my understanding of that                       01:29

19     feature -- my recollection, again, being before                            01:29

20     my -- you know, my date of arrival at Facebook.                            01:29

21



                                                                                  01:29

24                     MS. STEIN:     Objection to form.                          01:29

25                                                                                01:29

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1




                                                                        01:30

5      BY MS. WEAVER:                                                   01:30

6




                                                                        01:30

17                MS. STEIN:   Objection.                               01:30

18     BY MS. WEAVER:                                                   01:30

19

                                                                        01:30

21                MS. STEIN:   Objection to form.                       01:30

22




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1      BY MS. WEAVER:                                                   01:30

2                                                                       01:30

3                  MS. STEIN:    Lesley -- Lesley, let the              01:31

4      witness finish his answer.                                       01:31

5                  MS. WEAVER:    He's not answering the right          01:31

6      question.                                                        01:31

7                  MS. STEIN:    He's answering -- just don't           01:31

8      cut off the witness when he's speaking.                          01:31

9      BY MS. WEAVER:                                                   01:31

10




                                                                        01:31

17                 MS. STEIN:    Objection to form.                     01:31

18




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1

                                                                        01:31

3      BY MS. WEAVER:                                                   01:31

4              Q.   Did Facebook provide user data to the               01:31

5      apps?                                                            01:31

6              A.   To the extent that user log in with                 01:32

7      Facebook, yes.                                                   01:32

8




                                                                        01:32

14                  MS. STEIN:   Objection to form.                     01:32

15



                                                                        01:32

18     BY MS. WEAVER:                                                   01:32

19



                                                                        01:32

22                  MS. STEIN:   Objection to form.                     01:32

23




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1




                                                                        01:33

18     BY MS. WEAVER:                                                   01:33

19           Q.   And what was the Apps Events tool?                    01:33

20           A.   I'm sorry, which one?                                 01:33

21           Q.   App Events.                                           01:33

22           A.   So App Event is an equivalent of a                    01:33

23     Facebook pixel.    Facebook pixel --                             01:33

24           Q.   Okay.                                                 01:34

25           A.   -- works on the web and App Event works in            01:34

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1      native iOS or Android app.                                         01:34

2            Q.   And are you aware, then, of a custom                    01:34

3      analytics -- well, are you aware of something called               01:34

4      Custom Events?                                                     01:34

5            A.   Yes, I'm aware.                                         01:34

6            Q.   What is that?                                           01:34

7            A.   And so Facebook provided a predetermined                01:34

8      list of events that any developer could use as an                  01:34

9      off-the-shelf solution, events like an app in store,               01:34

10     events like app registration, things like that,                    01:34

11     where -- predetermined list.      I think there were 18            01:34

12     of them.                                                           01:34

13                A custom app event is an event that an app              01:34

14     developer can create to track specific activity to                 01:34

15     that app that is for that app and that app only.        So         01:34

16     a custom event for a Nike app would be a run, which                01:34

17     is an event specific to this app.        Or for Spotify it         01:34

18     would be a track to listen to which is specific to                 01:34

19     Spotify.                                                           01:34

20           Q.   And then does Facebook use the information              01:35

21     it collects to provide analytics like aggregate its                01:35

22     statistics and insights for its advertisers and                    01:35

23     third-party partners?                                              01:35

24           A.   To the extent that -- sorry.                            01:35

25                THE REPORTER:     Was there an objection?               01:35

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1                 MS. STEIN:     I said "Objection to form."            01:35

2                 THE REPORTER:     Thank you.                          01:35

3                 THE WITNESS:     The purposes of us providing         01:35

4      this capability was to provide aggregated data back              01:35

5      to the third-party developers about usage patterns               01:35

6      on their apps.                                                   01:35

7      BY MS. WEAVER:                                                   01:35

8            Q.   And -- strike that.                                   01:35

9                 And did Facebook often obtain sensitive               01:35

10     data from app developers?                                        01:35

11                MS. STEIN:     Objection to form.                     01:35

12                THE WITNESS:     It depends.      What do you         01:35

13     mean by "sensitive data"?                                        01:35

14     BY MS. WEAVER:                                                   01:35

15           Q.   Did Facebook receive information about                01:35

16     diseases, medical conditions and injuries, or sexual             01:35

17     and reproductive health from apps?                               01:36

18           A.   By design, the app events, they do not                01:36

19     allow, you know, a third-party developer to be                   01:36

20     passing that information.                                        01:36

21           Q.   Okay.   Well, I don't know what you mean by           01:36

22     "by design," but the question is pretty simple.                  01:36

23                Is it your testimony today that Facebook              01:36

24     did not obtain data relating to diseases, medical                01:36

25     conditions and injuries, or sexual and reproductive              01:36

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1      health from apps?                                                01:36

2            A.   Well, it's a very broad question, so I'm              01:36

3      trying to respond to the best of my ability.                     01:36

4                 So by design, access to that information              01:36

5      was not available.      However, if the app developer            01:36

6      decided to tell us about an event that was a custom              01:36

7      event that may have disclosed some of that                       01:36

8      information, we would have discussed it.                         01:36

9            Q.   As you sit here today, do you know whether            01:36

10     or not Facebook received data that related to                    01:36

11     diseases, medical conditions and injuries, or sexual             01:37

12     and reproductive health?                                         01:37

13           A.   There was an incident we had a year or two            01:37

14     ago with period tracker apps that were sending app               01:37

15     events, custom app events, around the cycle of a                 01:37

16     certain user.      If that's what you mean by this               01:37

17     category, then the answer is yes.                                01:37

18           Q.   Okay.     And did those categories also               01:37

19     include mental health and psychological states,                  01:37

20     types of medical devices and health trackers,                    01:37

21     medical treatments, body specifications, bodily                  01:37

22     activities and biological cycles, among other                    01:37

23     things?                                                          01:37

24           A.   I don't know, but I don't think it's                  01:37

25     possible to do that.                                             01:37

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1            Q.   Were you part of the team that                         01:37

2      investigated this?                                                01:37

3            A.   No.                                                    01:37

4            Q.   Who was?                                               01:37

5            A.   I don't know.                                          01:37

6            Q.   Okay.   When Facebook did receive the                  01:37

7      sensitive information such as diseases, medical                   01:37

8      conditions, injuries, sexual and reproductive                     01:37

9      health, did that -- where did that data go?                       01:37

10                MS. STEIN:     Objection to form.                      01:37

11                THE WITNESS:     You're making an assumption           01:38

12     that we did receive.      I only referred to a specific           01:38

13     incident around period trackers.                                  01:38

14     BY MS. WEAVER:                                                    01:38

15           Q.   Okay.   So in that instance, where did --              01:38

16           A.   I can only respond to that.                            01:38

17           Q.   Okay.   In that instance, where did the                01:38

18     data go?                                                          01:38

19           A.   The data were aggregated and anonymized.               01:38

20           Q.   Okay.   But Facebook still retains it then;            01:38

21     is that right?                                                    01:38

22           A.   No, since we have deleted the data.       They         01:38

23     shouldn't have arrived --                                         01:38

24           Q.   How could you delete it if it was                      01:38

25     anonymized?                                                       01:38

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1              A.     What do you mean?                                          01:38

2              Q.     You just said "We deleted the data," but                   01:38

3      you described that data as anonymized.            So how did              01:38

4      you delete it if it was anonymized?           How did you                 01:38

5      identify which data to delete?                                            01:38

6              A.     This is a technical question.          But you can         01:38

7      imagine an app event that basically suggests period                       01:38

8      start.       It's somewhere locked, so I can -- not me                    01:38

9      personally, but we can identify probably app events                       01:38

10     that are associated with a specific action that                           01:38

11     shouldn't have been recorded that we will then have                       01:38

12     to delete.       And we would work with the developer to                  01:39

13     remove this kind of custom events from being sent.                        01:39

14




21             Q.     When was that data deleted?                                01:39

22             A.     I don't have an exact recollection of                      01:39

23     that.                                                                     01:39

24             Q.     Was it in 2018?                                            01:39

25             A.     It may be 2018, 2019, around that time                     01:39

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1      frame.                                                               01:39

2            Q.     Who made the decision to delete it?                     01:39

3            A.     I don't know.     I wasn't involved in this             01:39

4      investigation.                                                       01:39

5            Q.     Once that data is deleted can it be                     01:39

6      recovered?                                                           01:39

7                   MS. STEIN:     Objection.     Outside the scope         01:39

8      of this witness's knowledge.                                         01:39

9                   THE WITNESS:     I don't know.                          01:39

10     BY MS. WEAVER:                                                       01:39

11           Q.     But you knew that it was deleted; is that               01:40

12     right?                                                               01:40

13           A.     I know that's -- the data has been                      01:40

14     deleted, yes.                                                        01:40

15           Q.     How did you come to know that?                          01:40

16           A.     Because I was part of the communications                01:40

17     to the developer audience about the specific                         01:40

18     instance.                                                            01:40

19           Q.     And which developer are you thinking of?                01:40

20           A.     There were a number of period tracker apps              01:40

21     that have to comply.                                                 01:40

22           Q.     Can you identify some of them?                          01:40

23           A.     Not at the top of my mind.                              01:40

24           Q.     Flow Health?                                            01:40

25           A.     I don't recall that.                                    01:40

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1            Q.   How would you refresh your recollection?                    01:40

2            A.   I would have to look at the entire                          01:40

3      universe of apps that have been in scope that have                     01:40

4      been sending this kind of events.                                      01:40

5            Q.   Why did Facebook delete the data?                           01:40

6            A.   Because that's not the kind of data                         01:40

7      that's -- we want to have access to.                                   01:40

8            Q.   Were any regulators involved?                               01:40

9            A.   For that, I don't know.                                     01:41

10           Q.   Okay.   When Facebook receives information                  01:41

11     about an individual from an app, does Facebook                         01:41

12     associate that information with other information                      01:41

13     Facebook has collected about that individual through                   01:41

14     the Facebook user ID?                                                  01:41

15                MS. STEIN:     Objection to form.                           01:41

16                THE WITNESS:     Again, depends what kind of                01:41

17     data we're talking about here.                                         01:41

18     BY MS. WEAVER:                                                         01:41

19           Q.   Let's say sensitive health data like                        01:41

20     diseases, medical, injuries, sexual or reproductive                    01:41

21     health.                                                                01:41

22           A.   If the data has been communicated to us                     01:41

23     through app events, no.                                                01:41

24           Q.   Okay.   When is the answer yes?           When does         01:41

25     it connect it to other users?                                          01:41

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1            A.   If the user basically establishes that                01:41

2      they are suffering from a certain disease and they               01:41

3      decide to post on Facebook and tell their friends                01:41

4      about it, then yes.                                              01:41

5            Q.   So even if the post is to three of my                 01:41

6      friends, Facebook will collect that data; is that                01:41

7      right?                                                           01:41

8                 MS. STEIN:     Objection to form.                     01:42

9                 THE WITNESS:     Well, you're posting it to           01:42

10     Facebook, so, yes, Facebook will have an                         01:42

11     understanding of that.                                           01:42

12     BY MS. WEAVER:                                                   01:42

13           Q.   Even if it's to a restricted audience?                01:42

14           A.   That audience will have access to that                01:42

15     data, but someone has to host the data in order to               01:42

16     be able to sell it to that audience, and we provide              01:42

17     the service.                                                     01:42

18           Q.   And then does Facebook -- I'm sorry.                  01:42

19           A.   Sorry.   We provide the service, so yes.              01:42

20           Q.   So then does Facebook then use that                   01:42

21     information to create custom target audiences for                01:42

22     advertisers?                                                     01:42

23           A.   Are you talking broadly or about the                  01:42

24     specific things?                                                 01:42

25           Q.   Both.                                                 01:42

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1                  MS. STEIN:     Objection to form.                             01:42

2                  THE WITNESS:     Like -- it's a very broad                    01:42

3      question.    So I would say that if we know that you                      01:42

4      use -- if you play Candy Crush Saga 10 times a day,                       01:42

5      that may inform our targeting for U.S. potential                          01:42

6      audience for games of this same genre.                                    01:42

7                  If we have expressed -- or if we establish                    01:43

8      your affinity to Beyonce, again like I described                          01:43

9      before, we would use that information to target you                       01:43

10     with like R&B music.                                                      01:43

11     BY MS. WEAVER:                                                            01:43

12           Q.    So let's talk about custom audiences for a                    01:43

13     moment, though, please.                                                   01:43

14                 So if I posted to three friends that I had                    01:43

15     a medical condition and Facebook collects that                            01:43

16     information, does Facebook use that information to                        01:43

17     create a custom audience for advertisers if they are                      01:43

18     seeking something about a medical condition?                              01:43

19           A.    No, that's not how it works.                                  01:43

20           Q.    Why doesn't it work that way?             Why does it         01:43

21     only work for Beyonce but not a medical condition?                        01:43

22                 MS. STEIN:     Objection to form.                             01:43

23                 THE WITNESS:     Because a custom audience is                 01:43

24     an advertisement product that reengages with                              01:43

25     customers of an existing business.                                        01:43

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1      BY MS. WEAVER:                                                   01:43

2            Q.    Right.   I understand what it is.                    01:43

3                  So I'm a business and I come to Facebook             01:43

4      and I say "I want -- I want to target people with                01:43

5      this medical condition."     Does Facebook provide               01:44

6      that -- that custom audience?                                    01:44

7            A.    No, that's not how it works.        If you           01:44

8      really want to use custom audience, you need to                  01:44

9      provide with hashed email addresses or information               01:44

10     about the users that you have diagnosed to have                  01:44

11     suffered from that disease.                                      01:44

12           Q.    Could you repeat the last part of the                01:44

13     sentence?    I just didn't understand.                           01:44

14           A.    So let's say you use a medical app for the           01:44

15     sake of the argument.                                            01:44

16           Q.    Okay.                                                01:44

17           A.    And you have a thousand users that went              01:44

18     through a questionnaire and they have been diagnosed             01:44

19     with, say, alcoholism.     That's probably a bad                 01:44

20     example because I don't think -- but, anyhow, let's              01:44

21     use that.                                                        01:44

22                 Then to the extent that you can identify             01:44

23     those users because they have created an account                 01:44

24     with that medical app using their email address or               01:44

25     the phone number, you can upload the email addresses             01:44

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1      of those thousand users hashed to us and then we are                   01:44

2      going to create the custom audience ad campaign                        01:45

3      trying to find those 1,000 users on Facebook.                          01:45

4                   To the extent that they exist, they will                  01:45

5      see an ad.     But, again, the ad will compete with                    01:45

6      other ads, like we discussed before.            But it will be         01:45

7      a database provided by the third party hashed, so                      01:45

8      anonymized with specific people that have been                         01:45

9      diagnosed to suffer from a certain disease.                            01:45

10             Q.   Okay.   Let's talk for a moment about APIs.               01:45

11     We touched upon them this morning.           Do you recall             01:45

12     that?                                                                  01:45

13             A.   Yes.                                                      01:45

14             Q.   You're aware at some point that -- well,                  01:45

15     there was more than one version of Graph API over                      01:45

16     time; is that right?                                                   01:45

17             A.   Yes, Version 1 of the API, it's being --                  01:45

18     running from 2008 or 2009 until 2000 -- May 1st,                       01:45

19     2015.                                                                  01:46

20             Q.   It was accessible until April 2015 or                     01:46

21     May 2015?                                                              01:46

22             A.   I think it's May 1st, but it may be...                    01:46

23                  MS. WEAVER:   You should amend your rog                   01:46

24     responses, Deb.                                                        01:46

25             Q.   And by "accessible," that means third                     01:46

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1      parties could access data through it; is that                    01:46

2      correct?                                                         01:46

3              A.   Yes.                                                01:46

4              Q.   Okay.   And then Graph API Version 2 came           01:46

5      into being at some point; is that right?                         01:46

6              A.   Graph API V2 was launched on April 30,              01:46

7      2014.                                                            01:46

8              Q.   Okay.   And it was accessible until                 01:46

9      May 2020; is that right?                                         01:46

10             A.   The Version 2?     I'm sorry.                       01:46

11             Q.   Version 2, yeah.                                    01:46

12             A.   Are you talking about Version 2?                    01:46

13             Q.   Yes, Version 2 was accessible until                 01:46

14     May 2020; is that correct?                                       01:46

15             A.   I need to check because I don't know when           01:46

16     the last version -- the last Version 2 of the API                01:47

17     was final, approved.      Because we have Version 3              01:47

18     right now.                                                       01:47

19             Q.   Okay.   Right.   And Version 3 came into            01:47

20     effect May 2018; is that right?                                  01:47

21             A.   That seems about right.                             01:47

22             Q.   Okay.   And that was accessible -- it will          01:47

23     be accessible through August 2021; is that correct?              01:47

24             A.   So let me take a step back to explain a             01:47

25     little bit how the replacement process works because             01:47

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1      I think that may be helpful.                                     01:47

2                  An API is rolled out at a specific point             01:47

3      in time and the version of this API is successful                01:47

4      for the next 2-plus years.       Each time we release a          01:47

5      new version of the API, that means that the previous             01:47

6      would be accessible for the period of time between               01:47

7      that plus-2 years.    So the lifetime of the version             01:47

8      of the API would be 2-plus years, more or less two               01:47

9      to three months on top of the 2-year mark.                       01:47

10                 But we have versions that start from 2.0             01:47

11     to 2.1 all the way to 2.10 or 11, if I'm not                     01:48

12     mistaken.    And then we switch to Version 3.        And         01:48

13     Version 3.0 will be available for 2-plus years,                  01:48

14     Version 3.1 would be available for 2-plus years, so              01:48

15     on and so on.                                                    01:48

16           Q.    Understood.   You're familiar with the               01:48

17     phrase "Public APIs"?                                            01:48

18           A.    Yes.                                                 01:48

19           Q.    What is the difference between a public              01:48

20     API and a private API?                                           01:48

21           A.    A public API is an API that is available             01:48

22     in general availability, meaning that the                        01:48

23     third-party developer that wants to access this API              01:48

24     has to go through the process, we call it app                    01:48

25     review, where the developer will specifically ask                01:48

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1      for permission to access that API, and once                      01:48

2      approved, will be able to access that API.                       01:48

3            Q.   When was the process of app review first              01:48

4      implemented?                                                     01:48

5            A.   The introduction of Version 2 of the API              01:48

6      coincided with the introduction of the app review                01:48

7      process.                                                         01:49

8            Q.   So April of 2015?                                     01:49

9            A.   April 30, 2014.                                       01:49

10           Q.   2014?                                                 01:49

11           A.   Yes.                                                  01:49

12




                                                                        01:49

17           Q.   Okay.   And we discussed this before.     But         01:49

18     what is a capability?                                            01:49

19           A.   A capability is a way to provide access               01:49

20     control to a private API.                                        01:49

21           Q.   And what is a permission?                             01:49

22           A.   A permission is a way to gain user's                  01:49

23     consent for access to specific data points.                      01:49

24           Q.   Okay.   And what was -- at a very high                01:49

25     level, what was the difference between Graph API                 01:49

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1      Versions 1.0 and 2.0?                                            01:50

2             A.   At the very high level?                              01:50

3             Q.   Yes.                                                 01:50

4             A.   Access to friends' information was                   01:50

5      deprecated with introduction of Version 2 of the                 01:50

6      API.                                                             01:50

7             Q.   And what do you mean by "friends'                    01:50

8      information was deprecated"?                                     01:50

9             A.   And so in Version 1 of the API a user                01:50

10     could log in with a third-party app and allow access             01:50

11     to this app to their friends' photos or their                    01:50

12     friends' birthdays, things like that.                            01:50

13                 With Version 2 of the API, this feature              01:50

14     was completely deprecated.      So a user could only             01:50

15     allow a third-party app to have access to their own              01:50

16     birthday information and their own photos.                       01:50

17




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1




                                                                         01:51

9             Q.    What was Post-Search API?                            01:51

10            A.    An API that allowed a third party to                 01:51

11     search for public posts on Facebook.                              01:51

12            Q.    Did Post-Search API enable analytics via             01:51

13     listening tracking mentions of keywords and hashtags              01:51

14     over time?                                                        01:51

15                  MS. STEIN:     Objection to form.                    01:51

16                  THE WITNESS:     I want to understand a              01:52

17     little bit better.        Do you have a specific example          01:52

18     in mind?                                                          01:52

19     BY MS. WEAVER:                                                    01:52

20            Q.    I don't.     I was just asking the question.         01:52

21                  MS. STEIN:     Objection to form.                    01:52

22                  THE WITNESS:     I'm having hard time                01:52

23     understanding what sort of analytics you are looking              01:52

24     for.                                                              01:52

25     BY MS. WEAVER:                                                    01:52

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1            Q.    Do you know what sentiment analysis is?              01:52

2            A.    Yes.                                                 01:52

3            Q.    What is it?                                          01:52

4            A.    Normally brands do certain analysis to               01:52

5      understand how their brands are perceived in social              01:52

6      media.                                                           01:52

7            Q.    And so did Post-Search API enable                    01:52

8      sentiment analysis?                                              01:52

9            A.    I don't think that would be valuable, so             01:52

10     my answer is no.                                                 01:52

11           Q.    You're answering it didn't do that because           01:52

12     you don't think it would be valuable?                            01:52

13                 MS. STEIN:    Objection.     Argumentative.          01:52

14     BY MS. WEAVER:                                                   01:52

15           Q.    I don't understand the answer.                       01:52

16           A.    Post-Search on account of public posts.              01:52

17     And those are not necessarily posts that a brand                 01:52

18     would use to inform or to understand the sentiment               01:52

19     of people against that brand.                                    01:53

20           Q.    Okay.   So your testimony is that                    01:53

21     Post-Search API did not allow sentiment analysis or              01:53

22     enable sentiment analysis?                                       01:53

23           A.    I'm saying that the public posts may not             01:53

24     be relevant for a brand to establish sentiment                   01:53

25     analysis.                                                        01:53

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1            Q.   Did Facebook deprecate Post-Search API?                    01:53

2            A.   Yes.                                                       01:53

3                 MS. STEIN:     Objection.     Outside the scope.           01:53

4                 THE WITNESS:     Yes, we did.                              01:53

5      BY MS. WEAVER:                                                        01:53

6




15           Q.   So during the transition period from Graph                 01:53

16     API Version 1.0 to 2.0, did Facebook inform certain                   01:53

17     third parties that they would no longer access                        01:54

18     friends' data?                                                        01:54

19                MS. STEIN:     Objection to form.         And              01:54

20     objection to scope.                                                   01:54

21                This witness is not our corporate designee                 01:54

22     on communications with third parties.           He's the              01:54

23     designee on the topic ordered by Judge Corley.             So         01:54

24     he's not authorized to testify about communications                   01:54

25     that you are asking him about.                                        01:54

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1                  MS. WEAVER:     I don't think you understand.         01:54

2      This is what data was shared with third parties.                  01:54

3      Are you declining to allow the witness to testify                 01:54

4      what was shared with third parties?                               01:54

5                  MS. STEIN:     You're asking him about                01:54

6      communications with developers.          Do you want --           01:54

7                  MS. WEAVER:     No, I'm not.      I'm asking          01:54

8      about what was -- I'm leading into what data was                  01:54

9      shared with whitelisted third parties and others.                 01:54

10                 Are you going to impede -- continue to                01:54

11     impede this deposition?                                           01:54

12                 MS. STEIN:     Okay.   First of all, I'm not          01:54

13     impeding.    Second of all, that's not what you asked.            01:54

14     So if you'd like to ask what got shared with                      01:54

15     whitelisted apps --                                               01:54

16                 MS. WEAVER:     Would you please read back my         01:54

17     question.                                                         01:54

18                              (The record was read by the              01:55

19                              court reporter, as requested)            01:55

20     BY MS. WEAVER:                                                    01:55

21           Q.    Please answer.                                        01:55

22           A.    So on April 30, 2014, we hold our annual              01:55

23     conference called F8, and that's when we announced                01:55

24     introduction of Version 2 of the API.            So the           01:55

25     communications were broad about the deprecation of                01:55

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1      the Version 1 of the API and the deprecation of                  01:55

2      access to any of the friends' data.                              01:55

3            Q.   And so some third parties were allowed to             01:55

4      continue to access friends' data while others were               01:55

5      not; is that correct?                                            01:55

6            A.   After the deprecation of the Version 1 of             01:55

7      the API, the only integrations that maintain their               01:55

8      access to friends' data were device integrations.                01:55

9            Q.   And what is the phrase "whitelisting"?                01:55

10           A.   I would decline the opportunity to lecture            01:56

11     as on the use of white or blacklists right now, but              01:56

12     I would use the term "allow lists" for the purposes              01:56

13     of being politically correct from now on.                        01:56

14                You can use whatever term you would use,              01:56

15     but I will use the term "allow lists" to refer to                01:56

16     anything that you may use the term "whitelist."                  01:56

17           Q.   Okay.   During the time period 2012 to                01:56

18     2017, did Facebook use the term "whitelist"?                     01:56

19           A.   Yes.                                                  01:56

20           Q.   Did you?                                              01:56

21           A.   Yes.                                                  01:56

22           Q.   Okay.   And you said that Facebook only               01:56

23     whitelisted integration partners a moment ago,                   01:56

24     didn't you?                                                      01:56

25           A.   I didn't use that term in relation to                 01:56

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1      device integrations.                                                 01:56

2            Q.   Okay.                                                     01:56

3            A.   We can read back my statement, but I'm                    01:56

4      pretty certain that I said the only integrations                     01:56

5      that could access to friends' information were                       01:56

6      device integrations.                                                 01:56

7            Q.   Okay.   Was Oracle a device integrator?                   01:56

8            A.   I don't think so.                                         01:57

9            Q.   Was Salesforce?                                           01:57

10           A.   I don't think so.                                         01:57

11           Q.   Did Facebook whitelist Oracle and                         01:57

12     Salesforce?                                                          01:57

13           A.   If they have ever whitelisted Salesforce                  01:57

14     and Oracle, is that the question?                                    01:57

15           Q.   Did they at the time period that we're                    01:57

16     talking about whitelist Oracle and Salesforce?                       01:57

17                MS. STEIN:    Lesley, this is out of scope.               01:57

18     This deposition --                                                   01:57

19                MS. WEAVER:    It's not.     I'm trying to                01:57

20     understand what companies had access to user data.                   01:57

21                MS. STEIN:    No, friends of friends' data.               01:57

22                MS. WEAVER:    No.                                        01:57

23                MS. STEIN:    It's Salesforce -- stop.       This         01:57

24     deposition --                                                        01:57

25                MS. WEAVER:    You can instruct him -- you                01:57

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1      can instruct him not to answer or object to form, or               01:57

2      we can call Judge Corley.                                          01:57

3                 MS. STEIN:    We can call Judge Corley if               01:57

4      you want because you're asking merits questions.                   01:57

5      This deposition is supposed to be about what data                  01:57

6      Facebook collected and which of that data was                      01:57

7      accessible or shareable, and so far --                             01:57

8                 MS. WEAVER:    Exactly.     Maybe you don't             01:58

9      understand, Deb, but this goes to the heart of                     01:58

10     whether Salesforce and Oracle were receiving                       01:58

11     friends' data and when.     That is what I am trying to            01:58

12     figure out.                                                        01:58

13                MS. STEIN:    No, that's not what -- that is            01:58

14     not what this deposition is about.         This witness is         01:58

15     not testifying about specific apps.                                01:58

16                He's talking about what types and                       01:58

17     categories of data got collected and what could have               01:58

18     been -- could have been accessed or shared, right?                 01:58

19     This is supposed to be high level, not about, you                  01:58

20     know, who did what when.                                           01:58

21                MS. WEAVER:    Are you done?                            01:58

22                MS. STEIN:    Yes.                                      01:58

23     BY MS. WEAVER:                                                     01:58

24           Q.   Is Salesforce a device integrator?                      01:58

25           A.   It's not.                                               01:58

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1              Q.      Thank you.                                                       01:58

2                      So your testimony that only device                               01:58

3      integrators were whitelisted would not include                                   01:58

4      Salesforce or Oracle, would it?                                                  01:58

5                      MS. STEIN:     Objection to form.                                01:58

6                      THE WITNESS:     I think your use of the term                    01:58

7      "whitelist" in relation to user data is problematic                              01:58

8      here.        I'm not trying to criticize you.             I'm trying             01:58

9      to understand exactly what you mean.                Because                      01:59

10     whitelist is an access control or an allow list to                               01:59

11     an API.        That API doesn't necessarily need to allow                        01:59

12     access to user data.           It may be pages data.          Your               01:59

13     assumption is that --                                                            01:59

14                     THE REPORTER:     It may be what data?                           01:59

15                     THE WITNESS:     Pages data.                                     01:59

16                     MS. WEAVER:     Okay.   So let's move on.            The         01:59

17     documents will speak for themselves.                We can move                  01:59

18     on.                                                                              01:59

19                     THE WITNESS:     No, I want to continue my                       01:59

20     response if that's okay, because I want to make sure                             01:59

21     that it's covered.           I have the --                                       01:59

22     BY MS. WEAVER:                                                                   01:59

23             Q.      I don't think what you're saying is                              01:59

24     accurate, and I'd like to just move on, if you don't                             01:59

25     mind.                                                                            01:59

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1            A.     I have reasons to believe that my response              01:59

2      is 100 percent accurate.                                             01:59

3            Q.     Okay.   I understand.                                   01:59

4                   Were there third parties who were using                 01:59

5      friends' data for research also whitelisted?                         01:59

6                   MS. STEIN:     If the witness has something             01:59

7      that he needs to clarify now, we should do that now.                 01:59

8      I'm sure Judge Corley would want his testimony to be                 01:59

9      clarified in something that he's comfortable with.                   01:59

10     BY MS. WEAVER:                                                       01:59

11           Q.     What would you like to add?                             01:59

12                  MS. STEIN:     If there's a clarification you           02:00

13     need to make, let's make sure we have a clear                        02:00

14     record.                                                              02:00

15                  THE WITNESS:     Yes.     So I would like to            02:00

16     suggest that there are three -- three things that                    02:00

17     are -- is worth clarifying here.                                     02:00

18                  We have the data.       We have APIs that allow         02:00

19     access to the data.       And then we have access                    02:00

20     controls to that data.        Right?     What you're talking         02:00

21     about here is the allow list also known as                           02:00

22     whitelist.                                                           02:00

23                  That is very broad because it --                        02:00

24     BY MS. WEAVER:                                                       02:00

25           Q.     I was talking about friends' permissions,               02:00

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1      right?                                                              02:00

2              A.   Yes, but to the extent that the allow list             02:00

3      you're talking about are for APIs that are not                      02:00

4      exposing this kind of data, then I would argue that                 02:00

5      the question about Salesforce or Oracle is                          02:00

6      irrelevant.                                                         02:00

7              Q.   Okay.    You can argue that.                           02:00

8                   Back to my question.       Were there -- other         02:00

9      third parties who were using friends' data for                      02:00

10     research, were they also whitelisted?                               02:00

11                  MS. STEIN:     Objection to form.                      02:00

12                  THE WITNESS:     I have no recollection of             02:01

13     any other device integrations being access -- or                    02:01

14     having access to friends' information beyond May 1,                 02:01

15     2015.                                                               02:01

16     BY MS. WEAVER:                                                      02:01

17             Q.   Right.    But between the time when they               02:01

18     announced the transition and before 2015, were there                02:01

19     researchers who were whitelisted and given access to                02:01

20     friends' data?                                                      02:01

21             A.   They didn't need to be whitelisted because             02:01

22     that was also publically available through Version 1                02:01

23     of the API.                                                         02:01

24             Q.   Did that include Cambridge Analytica?                  02:01

25             A.   Cambridge Analytica was never a developer              02:01

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1      on the platform.                                                     02:01

2            Q.   Okay.   But I was just asking about                       02:01

3      researchers.    Do you recall that?                                  02:01

4            A.   If --                                                     02:01

5            Q.   Let me ask the question again.            So were         02:01

6      there certain third parties who were given friends'                  02:01

7      data for research who were also whitelisted?                         02:01

8                 MS. STEIN:     Objection to form.                         02:01

9                 THE WITNESS:     Access to public APIs                    02:01

10     doesn't come through a whitelist.         The access                 02:01

11     control that we use for access to public APIs is a                   02:01

12     process called app review.                                           02:02

13                Now, back in 2014, before even the app                    02:02

14     review was introduced, any third party could access                  02:02

15     anything from the -- that was made available through                 02:02

16     Version 1 of the API with the appropriate user's                     02:02

17     consent.                                                             02:02

18                There were a number of researchers, and I                 02:02

19     think I can double-guess if -- the name of the                       02:02

20     specific researcher that you have in mind that's                     02:02

21     built an application on our platform on the Version                  02:02

22     1 of the API, they requested and gained permission                   02:02

23     from users to access their data and their friends'                   02:02

24     data, and that's the end of it.                                      02:02

25

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1      BY MS. WEAVER:                                                   02:02

2            Q.   Okay.   Are you familiar with Crimson                 02:02

3      Hexagon?                                                         02:02

4            A.   I have an understanding of the company but            02:02

5      nothing more than that.                                          02:02

6            Q.   Do you know who does have information                 02:02

7      about what Crimson Hexagon accessed?                             02:02

8            A.   No.                                                   02:02

9                 MS. STEIN:   Objection to form.                       02:02

10     BY MS. WEAVER:                                                   02:02

11




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1




                                                                       02:04

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1




                                                                        02:04

7            Q.   Okay.   What is Groups API?                           02:04

8            A.   It's an API that allows third parties to              02:04

9      help group administrators manage the groups from                 02:04

10     posting contents to moderating or allowing members               02:04

11     to join the group and so on.                                     02:05

12           Q.   When was it launched?                                 02:05

13           A.   I don't remember the date it was launched.            02:05

14           Q.   Was it between 2012 to 2017?                          02:05

15           A.   Most likely, yes.                                     02:05

16           Q.   And then it was -- does Groups API still              02:05

17     exist?                                                           02:05

18           A.   I think that the Groups API was fully                 02:05

19     deprecated in May 2018.                                          02:05

20           Q.   And you were part of that decision, right?            02:05

21           A.   Yes.                                                  02:05

22           Q.   And why was it deprecated?                            02:05

23           A.   So I can answer from my perspective why               02:05

24     it's since been deprecated.                                      02:05

25                MS. STEIN:   If you don't know from the               02:05

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1      company's perspective, then I'm going to direct the                02:05

2      witness not to answer.                                             02:05

3                   MS. WEAVER:     I'm sorry, you're going to            02:05

4      have to be deposed again.                                          02:05

5              Q.   Do you have an understanding on behalf                02:05

6      company as to why Groups API was deprecated?                       02:05

7              A.   There are certain groups that are not                 02:06

8      public that want to make sure that third parties                   02:06

9      couldn't access its members.                                       02:06

10                  THE REPORTER:     I'm sorry, "Make sure               02:06

11     that"...                                                           02:06

12                  THE WITNESS:     -- third parties couldn't            02:06

13     access its members.                                                02:06

14     BY MS. WEAVER:                                                     02:06

15             Q.   Okay.    What is Live Video API?                      02:06

16             A.   It's an API that allows a third party to              02:06

17     broadcast live video on Facebook.                                  02:06

18             Q.   I'm sorry, I didn't hear that either.                 02:06

19             A.   Sorry.    It's an API -- I have changed my            02:06

20     headset.                                                           02:06

21             Q.   I know, I know.     It's me.      I'm kind of         02:06

22     deaf.                                                              02:06

23             A.   So it's an API that allows a third party              02:06

24     to broadcast live video on Facebook.                               02:06

25             Q.   Okay.    And when did it first come into              02:06

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1      being?                                                             02:06

2              A.   2015, 2016, maybe.                                    02:06

3              Q.   And what is an endpoint?                              02:06

4              A.   An endpoint in reference to an API?                   02:06

5              Q.   Uh-huh.                                               02:07

6              A.   It's -- how should I explain it?                      02:07

7              Q.   I can try, but don't make fun of me.                  02:07

8              A.   Please.                                               02:07

9              Q.   Is an endpoint an object that is accessed             02:07

10     through an API?                                                    02:07

11             A.   I -- I don't know that the endpoint refers            02:07

12     to the -- the object.        It refers to, I think, the            02:07

13     structure of the API.        But it may be used in both            02:07

14     ways.                                                              02:07

15             Q.   Okay.     And then what is a data field with          02:07

16     regard to API?                                                     02:07

17             A.   Okay.     So let me try to explain maybe in a         02:07

18     different way.                                                     02:07

19                  So there are objects and fields.                      02:07

20             Q.   Uh-huh.                                               02:07

21             A.   So an object can be, let's say, the Crate             02:07

22     & Barrel Facebook page.        A field can be the picture          02:07

23     that is being used on that page.                                   02:07

24                  So when you make an API call against that             02:07

25     object where you specify the object ID, you can add                02:07

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1      perimeters in the API request about what is it the                 02:08

2      API needs to respond to.        And you can respond that           02:08

3      in the field section.        You can specify that you want         02:08

4      the name of the page potentially, the profile                      02:08

5      picture of the page, or you can specify if you want                02:08

6      posts made against that page.                                      02:08

7            Q.   Thank you.    That's very helpful.                      02:08

8                 So is an object an endpoint in that                     02:08

9      description?     Are those the same?                               02:08

10           A.   An endpoint from the API perspective, you               02:08

11     know, the API that requests access to the page,                    02:08

12     there's just an API that requests access to, I don't               02:08

13     know, a friends connection.        That would be a                 02:08

14     different endpoint.                                                02:08

15           Q.   I see.    Okay.     So are you aware of an              02:08

16     endpoint Get Event ID Live Videos?                                 02:08

17           A.   No.                                                     02:08

18           Q.   Okay.    You prepared Facebook's                        02:08

19     interrogatory responses relating to capabilities and               02:09

20     permissions, right?                                                02:09

21                MS. STEIN:    Objection.     Form.                      02:09

22     BY MS. WEAVER:                                                     02:09

23           Q.   Was that you or was that someone else?                  02:09

24           A.   I'm supported the counsels in, you know,                02:09

25     like this response, but I don't recall exactly                     02:09

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1      what's that.                                                             02:09

2              Q.      I know.     I know.     And it's cute and you            02:09

3      worked very hard and we're grateful.                                     02:09

4                      MS. STEIN:     I'll add I believe that was               02:09

5      the other individual who verified part of it.                            02:09

6                      MS. WEAVER:     Okay.     So we're going to have         02:09

7      talk to him.           So I'll try --                                    02:09

8              Q.      So do you know -- let me just try this                   02:09

9      then.        For the call Get Event ID Live Video, do you                02:09

10     know what it was seeking and what it obtained?                           02:09

11             A.      I think it's associated with the live                    02:09

12     event, most likely, the live video that is being                         02:09

13     broadcast.        But I don't understand exactly the event               02:09

14     in connection with the live video.                                       02:09

15             Q.      Okay.     Do you know the difference between             02:10

16     "get" and "post"?                                                        02:10

17             A.      Yes.                                                     02:10

18             Q.      What's the difference?                                   02:10

19             A.      The one is a read and the other is a                     02:10

20     write.                                                                   02:10

21             Q.      Okay.     And so do you know what Get User ID            02:10

22     Live Videos is?                                                          02:10

23             A.      No, I don't -- I don't know the exact                    02:10

24     endpoints.                                                               02:10

25             Q.      Okay.     Do you know what Post User ID Live             02:10

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1      Videos is?                                                         02:10

2            A.     I don't, no.                                          02:10

3            Q.     Okay.   Does Facebook know which third                02:10

4      parties had access to Live Video API?                              02:10

5            A.     Historically, yes.                                    02:10

6            Q.     Okay.   What's Pages API?                             02:10

7            A.     I think I used that example earlier, so it            02:10

8      may be repetitive.        It's an API that allows and pays         02:11

9      administrator to manage the page with -- which may                 02:11

10     includes -- manage the pages, which may include                    02:11

11     posting content on the page, updating the profile                  02:11

12     picture on the page, responding to comments made by                02:11

13     users on the page, and so on.                                      02:11

14




                                                                          02:11

20                  MS. STEIN:     Objection to form.                     02:11

21




                                                                          02:12

25

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1      BY MS. WEAVER:                                                   02:12

2




                                                                        02:12

6            Q.    Do you know who would?                               02:12

7            A.    No.                                                  02:12

8




                                                                        02:12

13           Q.    Do you know what DataSift is?                        02:12

14           A.    I have heard that name, but I don't know             02:12

15     about it.                                                        02:12

16




                                                                 Page 218

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1




                                                                        02:15

14             Q.   Okay.   Is there -- so you said this                02:15

15     already, but just for foundation, what were private              02:15

16     APIs?                                                            02:15

17             A.   Private APIs are APIs that are not in               02:15

18     general availability and whose access control is                 02:15

19     maintained by partnerships.                                      02:15

20             Q.   By -- I'm sorry -- maintained by what?              02:15

21             A.   Partnerships.   So someone in partnerships          02:15

22     in the --                                                        02:15

23             Q.   Somebody in partnerships, okay.                     02:15

24             A.   -- would have to approve the access to              02:15

25     that given API.                                                  02:15

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1           Q.    Okay.   And when was the first private API           02:15

2     launched?                                                        02:15

3           A.    I -- I honestly don't know.                          02:15

4           Q.    Was it like 2012 or 2014 or --                       02:16

5           A.    I -- I believe that private APIs have                02:16

6     always been there since the invention of Facebook.               02:16

7




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1




10             Q.   Okay.    Do you know if there's a private           02:17

11     API associated with it?                                          02:17

12             A.   I don't.                                            02:17

13             Q.   So when an API is providing, in response            02:17

14     to a call, an object like a photo, does that photo               02:17

15     also come with metadata?                                         02:17

16             A.   Yes, it does.                                       02:17

17             Q.   Okay.    And what's an example of the kinds         02:17

18     of metadata that's attached?                                     02:17

19             A.   The time-stamp of the photo, when it was,           02:17

20     you know, taken, when it was uploaded.                           02:17

21             Q.   And --                                              02:17

22             A.   The location of the photo, if it was                02:17

23     started in the first place by the user, things like              02:17

24     that.                                                            02:17

25             Q.   Is there a metadata field for whether or            02:17

                                                                  Page 222

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1      not a photo is -- was for a restricted audience                  02:17

2      only, like public or private?                                    02:17

3




                                                                        02:18

18                           (The record was read by the                02:18

19                           court reporter, as requested)              02:18

20     BY MS. WEAVER:                                                   02:18

21




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1




                                                                        02:19

5            Q.   Okay.    I




                                                                        02:19

10           A.   Okay.

                                                  right?                02:19

12



                                                                        02:19

15           A.   Okay.

                                            , right?                    02:19

17           Q.   Yes.                                                  02:19

18           A.



                                                                        02:19

21           Q.   Right.                                                02:19

22           A.   Right?       That's the scenario?                     02:19

23           Q.   Right.                                                02:20

24           A.

                                                                        02:20

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1           Q.   Yes.                                                  02:20

2




                                                                       02:21

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1

                                                                        02:21

3              A.   No.                                                 02:21

4              Q.




                                                                        02:21

9              Q.   Okay.




                                                                        02:22

16             Q.   And when you say "signature," what do you           02:22

17     mean?                                                            02:22

18             A.   I mean that loosely, like it comes with             02:22

19     some information that identifies the app --                      02:22

20             Q.   Okay.                                               02:22

21             A.   -- that makes that API request.                     02:22

22             Q.   What were extended APIs?                            02:22

23             A.   "Extended APIs" is a term we use to                 02:22

24     describe private APIs.                                           02:22

25             Q.   Okay.   Makes sense.    And then you're             02:22

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1      familiar with the phrase "PMD"?                                  02:23

2            A.    Yes.                                                 02:23

3            Q.    And what is that?                                    02:23

4            A.    I think it stands for preferred marketing            02:23

5      development.                                                     02:23

6            Q.    And give me an example of a preferred                02:23

7      marketing developer.                                             02:23

8            A.    I think Salesforce may be one of them.               02:23

9            Q.    So is that a kind of partner?                        02:23

10           A.    Yes, it would be partners mostly having              02:23

11     access to marketing APIs.       That's why it's called           02:23

12     preferred marketing developers, because of their                 02:23

13     access to the marketing APIs.                                    02:23

14           Q.    What's a marketing API?                              02:23

15           A.    APIs that allow a third party to run at              02:23

16     (indecipherable).                                                02:23

17           Q.    And how is that different than custom                02:23

18     audience?                                                        02:23

19           A.    Custom audience is a feature that is                 02:23

20     accessible through the market behavior.                          02:23

21           Q.    Okay.   What other features are available            02:23

22     on marketing APIs other than custom audience?                    02:23

23           A.    So this is not necessarily my expertise,             02:23

24     so I may be missing certain things.         But the              02:23

25     marketing API allows you to schedule a marketing                 02:24

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1      campaign on Facebook the way you would otherwise do                 02:24

2      it if you were going to facebook.com and doing it on                02:24

3      the platform.                                                       02:24

4                   MS. STEIN:     Hey, Lesley, when you get to a          02:24

5      good break point, can we take a short break?                        02:24

6                   MS. WEAVER:     I think it's time to take a            02:24

7      break now, if that's what's popular and democratic.                 02:24

8                   We can reconvene in ten minutes or so.                 02:24

9                   THE VIDEOGRAPHER:      We are off the record           02:24

10     at 2:24 p.m.                                                        02:24

11                  (Recess.)                                              02:24

12                  (Off record:     2:24 p.m.)                            02:24

13                  (On record:     2:37 p.m.)                             02:24

14                  THE VIDEOGRAPHER:      We are on the record at         02:37

15     2:37 p.m.                                                           02:37

16     BY MS. WEAVER:                                                      02:37

17             Q.   You understand you're still under oath?                02:37

18             A.   Yes, I do.                                             02:38

19             Q.   Okay.   Thank you.                                     02:38

20                  Who -- how were decisions made about what              02:38

21     third parties had access to data through private                    02:38

22     APIs?                                                               02:38

23                  MS. STEIN:     That's outside the scope of             02:38

24     about how decisions were made, but if you want to                   02:38

25     ask, you know, who had access, that's fine.                         02:38

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1      BY MS. WEAVER:                                                      02:38

2            Q.   Please answer.                                           02:38

3            A.




                                                                           02:39

16           Q.   What do you mean by                                      02:39

17           A.   For example,



                                                            right?         02:39

20                But if, let's say, the app is -- I don't                 02:39

21     know -- let's say a




                                                                           02:40

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1



                                                                             02:40

4                 MS. STEIN:    Objection.     Outside the scope.            02:40

5                 MS. WEAVER:



                                                                             02:40

8                 MS. STEIN:    Lesley, you weren't even                     02:40

9      supposed to be asking about                         .   But I         02:40

10     mean if you -- if you want to ask the witness if he                   02:40

11     knows who the right people are to talk about things,                  02:40

12     you can ask him for this particular question, but,                    02:40

13     please, why don't you focus on the topics that Judge                  02:40

14     Corley directed this deposition to be about.                          02:40

15     BY MS. WEAVER:                                                        02:40

16           Q.




                                                                             02:40

20           A.   Again,




                                                                             02:41

24           Q.   I'm hoping for names.

                                                                             02:41

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                                                                             02:42

5              Q.   Any name.                                                02:42

6              A.   I have been involved in some of that --                  02:42

7              Q.   Right.                                                   02:42

8              A.



                                                                             02:42

11             Q.   Was it so hard for you to come up with                   02:42

12     your own name?                                                        02:42

13             A.

                                                                             02:42

15             Q.   Okay.



                                                                             02:42

18             A.   Again --                                                 02:42

19                  MS. STEIN:     Objection.     Lesley, can we             02:43

20     please focus on the topics that Judge Corley ordered                  02:43

21     this deposition to be about?         It is not about who              02:43

22     did what when.        He's not the person most                        02:43

23     knowledgeable on these issues.           He's here to testify         02:43

24     about

                                                                             02:43

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1                                                                           02:43

2      BY MS. WEAVER:                                                       02:43

3            Q.   Are you declining to identify even one                    02:43

4      name other than your own?                                            02:43

5                 MS. STEIN:     Asked and answered.        He gave         02:43

6      you a name.     You asked for one name.                              02:43

7                 MS. WEAVER:     Deb, I'm not asking --                    02:43

8                 MS. STEIN:     He gave it to you.                         02:43

9                 MS. WEAVER:     I can -- we can all read the              02:43

10     transcript.     I'm asking the witness.                              02:43

11           Q.   Can you identify one name other than your                 02:43

12     own who was involved in




             Q.   Okay.                                                     02:43

18           A.   I'm trying -- I'm just trying to                          02:43

19     understand what you're looking for.                                  02:43

20                MS. WEAVER:     Will you read the question                02:44

21     back, please?                                                        02:44

22                             (The record was read by the                  02:44

23                             court reporter, as requested)                02:44

24                THE WITNESS:     I cannot remember anybody                02:44

25     but myself at this point to give you answer to those                 02:44

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1




                                                                          02:45

15           Q.   Okay.    And we discussed briefly before                02:45

16     that friends permissions were deprecated.           Do you         02:45

17     recall that?                                                       02:45

18           A.   Yes.                                                    02:45

19           Q.   Roughly how many capabilities were related              02:45

20     to friends permissions that were deprecated?                       02:45

21           A.   Okay.    This is the question that I need               02:45

22     clarification.     What was deprecated was the access              02:45

23     to friends permission -- sorry -- friends data                     02:45

24     through the API.     As a consequence of the API being             02:45

25     deprecated, friends-related permissions were                       02:45

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1      deprecated as well, meaning that there was no point                 02:45

2      in us allowing a user to go through a consent flow                  02:45

3      for pieces of information that were no longer                       02:45

4      available, right?                                                   02:46

5                 Capabilities that gave access to the same                02:46

6      data through private APIs were not deprecated until                 02:46

7      later on in 2018 because it was the same                            02:46

8      capabilities that enabled device integrations to                    02:46

9      have access to that data for the purposes of                        02:46

10     replicating core Facebook functionality.                            02:46

11                THE REPORTER:     I'm sorry.      Core Facebook?         02:46

12                THE WITNESS:     Functionality.                          02:46

13                THE REPORTER:     Thank you.                             02:46

14     BY MS. WEAVER:                                                      02:46

15           Q.   So is it true that certain friends                       02:46

16     capabilities like friends about me, friends actions,                02:46

17     friends check-ins, friends online presence, friends                 02:46

18     photo video tags were deprecated when friends                       02:46

19     permissions were deprecated?                                        02:46

20           A.   So I think what you're referring to is                   02:46

21     capabilities.    And I think I answered that question,              02:46

22     that those capabilities had to be there because they                02:46

23     gated access to the corresponding APIs that powered                 02:47

24     device integrations.      And that doesn't happen until             02:47

25     late -- later on in 2018.                                           02:47

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1            Q.     Okay.     So those capabilities were not              02:47

2      deprecated, the ones I just listed?                                02:47

3            A.     I'm not aware of the specifics, but they              02:47

4      seem to be capabilities related to device                          02:47

5      integrations.        And, as such, they -- they -- they            02:47

6      wouldn't be deprecated before 2018.                                02:47

7            Q.     Who would know about what was deprecated              02:47

8      with regard to friends permissions?                                02:47

9            A.     With regards to friends permissions, I                02:47

10     think I --                                                         02:47

11           Q.     The issue that we're discussing right now,            02:47

12     you're saying --                                                   02:47

13           A.     I'm --                                                02:47

14           Q.     I'm sorry, just allow me to -- allow me to            02:47

15     ask the question.                                                  02:47

16                  The very issue we're discussing right now,            02:47

17     you just said you don't know specifically.             Who         02:47

18     would?                                                             02:47

19           A.     I think you're using different terms in               02:47

20     places that are very confusing.           Like I said,             02:47

21     friends permissions were deprecated by May 1, 2015.                02:47

22     APIs that were attached to those permissions have                  02:48

23     deprecated down at the same time.           Capabilities           02:48

24     which are -- are access controls to private APIs                   02:48

25     that expose similar information were not deprecated                02:48

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1     until 2018.                                                      02:48

2           Q.   Okay.   Thank you.    I understand.                   02:48

3




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1




                                                                        02:49

7              Q.   Who created the developer docs and the              02:49

8      change logs?                                                     02:49

9              A.   They are automatically generated by the             02:49

10     code.                                                            02:49

11             Q.   Who created the code?                               02:49

12             A.   An engineer.                                        02:49

13             Q.   Do you know who the engineers are who               02:49

14     created the code?                                                02:49

15             A.   It's probably not a single engineer that            02:49

16     created that code.                                               02:49

17             Q.   Can you name one name?                              02:49

18             A.   I don't remember a specific name of an              02:49

19     engineer.                                                        02:49

20             Q.   Do you know whether or not auto granted             02:50

21     friends videos was deprecated?                                   02:50

22             A.   No, I don't remember the exact date.                02:50

23             Q.   Who would know?                                     02:50

24             A.   I really cannot tell you who would know.            02:50

25             Q.   Is that in the developer pages?                     02:50

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1           A.   Private APIs are not documented in the                02:50

2     developer pages.                                                 02:50

3




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1              Q.   Yes.                                                02:52

2




                                                                        02:53

9              A.   I can see it, yes.                                  02:53

10             Q.   Okay.   Can you pull it up?                         02:53

11             A.   Yes.                                                02:53

12             Q.   And I'm just going to ask you about a               02:53

13     question there on the front page, but take your                  02:53

14     time.                                                            02:53

15                  (Pause while witness peruses document.)             02:54

16             A.   Okay.                                               02:54

17             Q.   Do you recognize Exhibit 4?                         02:54

18             A.   Yes.                                                02:54

19             Q.   What is it?                                         02:54

20             A.




                                                                        02:54

24             A.   That's correct.                                     02:54

25             Q.   And the underlying email looks like he              02:54

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1




20           Q.   Okay.   What is a task number?                        02:55

21           A.   So we used a tool that is called the task             02:55

22     monitor to track progress against specific things                02:55

23     that need to happen.                                             02:55

24           Q.   Okay.                                                 02:55

25           A.   It's a program management tool of some                02:55

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1      sort.                                                              02:55

2              Q.   Thank you.                                            02:55

3                   And just looking right at the very first              02:55

4      message under



                                                                          02:55

7              A.   Yes.                                                  02:55

8              Q.

                                                                          02:56

10             A.   Yes.                                                  02:56

11             Q.   What does that mean?                                  02:56

12             A.




                                                                          02:56

16             Q.   Okay.

                                                       Do you see         02:56

18     that?                                                              02:56

19             A.   Yes.                                                  02:56

20             Q.   And is that a description that you wrote?             02:56

21             A.   Yes.                                                  02:56

22             Q.   Okay.   And so you wrote



                                                                          02:56

25                  Do you see that?                                      02:56

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1            A.    Yes.                                                 02:56

2            Q.    And you wrote



                                                                        02:56

5                  Do you see that?                                     02:56

6            A.    Yes.                                                 02:56

7            Q.



                                                                        02:56

10           Q.    Okay.    And then do you see the next                02:56

11     sentence,




                                                                        02:57

15                 Do you see that?                                     02:57

16           A.    Yes.                                                 02:57

17           Q.

                                                                        02:57

19           A.    I don't remember exactly what we did for             02:57

20

                                                                        02:57

22           Q.    Okay.

                                                                        02:57

24           A.    Yes.    I believe I already answer that              02:57

25     question.                                                        02:57

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1            Q.   Okay.




                                                        .                 02:57

6            Q.   Okay.



                                                                          02:58

9            Q.   Okay.




                                                                          02:58

15           Q.   Okay.




                                              No, I haven't heard         02:58

24     of that statement.                                                 02:58

25           Q.   Okay.   Okay.                                           02:58

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1




                                                                        02:59

7            A.   Yes.                                                  02:59

8            Q.                                                         02:59

9            A.   No.                                                   02:59

10           Q.




                                                                        02:59

16           A.   Possibly, but I don't know.                           02:59

17           Q.   Okay.

                                                                        02:59

19           A.   No.                                                   02:59

20           Q.                                                         02:59

21           A.   No.                                                   02:59

22           Q.




                                                                        03:00

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1            Q.   Do you have an understanding as to whether            03:00

2      it




                                                                        03:00

10           A.   Could you repeat that description?                    03:00

11           Q.   Sure, sure.                                           03:00

12



                                                                        03:00

15           A.   Okay.   I don't know that's --                        03:00

16           Q.   I'll try it this way.                                 03:01

17           A.   I don't know that.                                    03:01

18           Q.   A




                                                                        03:01

22           A.   I mean, I understand --                               03:01

23                MS. STEIN:     Objection to form.                     03:01

24                THE WITNESS:     Sorry.                               03:01

25                MS. STEIN:     Objection to form.                     03:01

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1                 THE WITNESS:     I




                                                                        03:01

5      BY MS. WEAVER:                                                   03:01

6            Q.




                                                                             01

10           A.   I don't know either.                                  03:01

11           Q.



                                                                        03:02

14                MS. STEIN:     Objection to form.                     03:02

15                THE WITNESS:     I don't know.                        03:02

16     BY MS. WEAVER:                                                   03:02

17           Q.



                                                                        03:02

20           Q.   Of the what?                                          03:02

21                THE REPORTER:        I'm sorry.



                                                                        03:02

24     BY MS. WEAVER:                                                   03:02

25           Q.   And what specifically,                                03:02

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1                                                                       03:02

2            A.   Okay.




                                                                        03:02

6            Q.   Uh-huh.                                               03:02

7            A.




                                                                        03:03

21           A.   I don't remember.                                     03:03

22           Q.                                                         03:03

23           A.   I don't remember.                                     03:03

24           Q.   So

                  Do you remember that?                                 03:03

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1              A.      Yes.                                                      03:03

2              Q.      So does Facebook use the data that it                     03:03

3      collects about users to identify the interests that                       03:03

4      they have?                                                                03:04

5              A.      Facebook identifies --                                    03:04

6                      MS. STEIN:     Object to form.       Objection to         03:04

7      form.                                                                     03:04

8                      THE WITNESS:     So Facebook identifies the               03:04

9      interest based on the user's action on the platform.                      03:04

10     I like (indecipherable).           It's a way for us to                   03:04

11     identify a user's interests.                                              03:04

12     BY MS. WEAVER:                                                            03:04

13             Q.      What -- Facebook also receives information                03:04

14     from other third parties like app developers and                          03:04

15     data brokers and other partners, correct?                                 03:04

16                     MS. STEIN:     Objection to form.                         03:04

17                     THE WITNESS:     I guess.     But as we                   03:04

18     discussed, the data that's -- is being given by                           03:04

19     third parties may be anonymized, may not be user                          03:04

20     data.        So I cannot answer that question without --                  03:04

21     BY MS. WEAVER:                                                            03:04

22             Q.      What -- what --                                           03:04

23             A.      -- a little bit more specificity.                         03:04

24             Q.      Why does Facebook collect data from other                 03:04

25     third parties?                                                            03:04

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1              A.     Why?                                                      03:04

2              Q.     Yes.                                                      03:04

3              A.     For many reasons.      For example, if you log            03:05

4      in with Facebook on a third-party app, there's no                        03:05

5      way for us not to be able to provide that data.                          03:05

6      It's part of the service.                                                03:05

7              Q.     Okay.   What's another reason?                            03:05

8              A.     For the purposes of allowing people to                    03:05

9      express themselves using a third-party app.              Again,          03:05

10     within 2020 -- sorry, 2012 and 2017, people could                        03:05

11     post back to Facebook using a third-party app.              That         03:05

12     is --                                                                    03:05

13             Q.     Does Facebook use any of the information                  03:05

14     it obtains from third parties to develop the                             03:05

15     interest categories through which users are                              03:05

16     targeted?                                                                03:05

17                    MS. STEIN:     Objection to form.                         03:05

18                    THE WITNESS:     I don't know.                            03:05

19     BY MS. WEAVER:                                                           03:05

20             Q.     You don't know?                                           03:05

21             A.     I don't think so.                                         03:05

22             Q.     What's the basis of your saying "I don't                  03:05

23     think so"?                                                               03:05

24             A.     Because, again, the question is very                      03:06

25     broad.       If you are talking about pixel data that are                03:06

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1      provided by third parties, yes, that informs the ads              03:06

2      targeting, but it doesn't form the interests.                     03:06

3            Q.   Can you identify for a user what interest              03:06

4      categories they have been placed in?                              03:06

5            A.   Those categories that have been placed in,             03:06

6      which I am not -- I'm not sure that I agree with                  03:06

7      that term -- would be identified for the user under               03:06

8      their app -- sorry, under their Facebook settings in              03:06

9      the DYI file.                                                     03:06

10           Q.   And that DIY file, is it completely                    03:06

11     historical?      So it will show me yesterday I was in            03:06

12     this interest category and five days ago I was in                 03:06

13     this category?      Or does it just list the categories           03:06

14     in general?                                                       03:06

15           A.   Just lists the categories in general.                  03:06

16           Q.   And if I'm no longer in a category, does               03:06

17     it list that category?                                            03:07

18           A.   No.                                                    03:07

19           Q.   And the lists of interest change over                  03:07

20     time, then, right?                                                03:07

21           A.   It depends on how you use the platform.                03:07

22     If you haven't used the platform for the last five                03:07

23     years, probably not.                                              03:07

24           Q.   Okay.     But let's just say it's you.    When         03:07

25     were you last on the platform?                                    03:07

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1              A.   I don't know.     Maybe during the lunch            03:07

2      break.                                                           03:07

3              Q.   Okay.   So do your interest categories              03:07

4      change over time?                                                03:07

5                   MS. STEIN:     We're talking about 2012 to          03:07

6      2017.                                                            03:07

7      BY MS. WEAVER:                                                   03:07

8              Q.   Did your interest categories change                 03:07

9      between 2012 and 2017?                                           03:07

10             A.   I'm pretty certain that they had.                   03:07

11             Q.   Okay.   And what causes them to change?             03:07

12             A.   The thought that they may have taken                03:07

13     action against certain entities that I have                      03:07

14     expressed an affinity about.                                     03:07

15             Q.   Do they change at all based on information          03:07

16     Facebook learns about whether those interests are --             03:07

17     provide for effective ad placement?                              03:08

18             A.   I'm almost certain that I'm confused right          03:08

19     now.     Can you repeat the question?                            03:08

20                  MS. WEAVER:     Please read it back.                03:08

21                               (The record was read by the            03:08

22                               court reporter, as requested)          03:08

23                  THE WITNESS:     I'm still having a hard            03:08

24     time, but let me try to answer the question the way              03:08

25     I understand, all right?                                         03:08

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1                   Are those interests used to inform ad               03:08

2      targeting criteria?     The answer is yes.                       03:08

3      BY MS. WEAVER:                                                   03:08

4              Q.   And Facebook provides analytic data to              03:08

5      advertisers about how effective its advertisements               03:08

6      are, correct?                                                    03:08

7              A.   Facebook provides performance data to the           03:08

8      advertisers, yes.                                                03:08

9              Q.   What is performance data?                           03:08

10             A.   It's an aggregated list of data that                03:08

11     suggests whether an ad has been viewed by certain                03:09

12     number of people that have seen -- visited the                   03:09

13     third-party website or took an action on the                     03:09

14     third-party website.                                             03:09

15             Q.   And when you say "an ad," what do you               03:09

16     mean?                                                            03:09

17             A.   An ad is being defined as a story that              03:09

18     shows up on your Facebook News Feed that is not                  03:09

19     necessarily generated by a friend or a page you                  03:09

20     follow but is sponsored by a third party.                        03:09

21             Q.   So an ad could include something that               03:09

22     wasn't -- well, strike that.                                     03:09

23                  So there's one category of ads that                 03:09

24     literally looks like an ad to the user, "Go buy                  03:09

25     these shoes"; is that correct?                                   03:09

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1            A.   Sure, yes.                                              03:09

2            Q.   Right.    And then there's -- there are                 03:09

3      other categories of ads that don't look like                       03:09

4      advertisements necessarily but it's something that                 03:09

5      shows up in the News Feed; is that right?                          03:09

6            A.   Every single ad unit that shows up on your              03:09

7      News Feed is clearly identified as an ad.                          03:09

8            Q.   Okay.    And how is it identified?                      03:09

9            A.   Kind of different, but I think in most                  03:10

10     cases you can see that this is a sponsored, you                    03:10

11     know, like story or something like that.                           03:10

12           Q.   Sponsored story?     Is that the language               03:10

13     from 2012 to 2017?                                                 03:10

14           A.   I cannot remember the exact language.         I         03:10

15     think I need to look up some historical, you know,                 03:10

16     like, UI treatment.                                                03:10

17           Q.   Are there documents at Facebook that                    03:10

18     describe how interests are created?                                03:10

19           A.   How interests are created?         I think I've         03:10

20     already responded to that question multiple times                  03:10

21     today.                                                             03:10

22                I think interests are associations for                  03:10

23     certain people with certain entities -- entities                   03:10

24     that exist on the Facebook platform -- and those                   03:10

25     entities are public figures, businesses, anything                  03:10

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1      that is not a friend.                                               03:10

2            Q.     The question that I asked is, are there                03:10

3      documents that describe how they're created?                        03:10

4            A.     I can only say one.                                    03:11

5            Q.     Are there web links or websites within                 03:11

6      Facebook that discuss how interests are being                       03:11

7      generated?                                                          03:11

8            A.     I haven't seen a public document about                 03:11

9      that, no.                                                           03:11

10           Q.     Is there a team that focuses -- let me                 03:11

11     just back up.                                                       03:11

12                  You've testified that interests change                 03:11

13     over time, right?                                                   03:11

14           A.     Yes.                                                   03:11

15           Q.     And how -- who decides what the new                    03:11

16     interests are and what the old interests are?                       03:11

17           A.     Okay.   So let's assume that between 2012              03:11

18     and 2017 I started liking more pages.           That's              03:11

19     something that will further expand the list of                      03:11

20     interests that I have.                                              03:11

21                  So if in 2012 I didn't like the Starbucks              03:11

22     page, but in 2015 I like the Starbucks page, that                   03:11

23     means my interests can be updated.          It is an action         03:11

24     that is driven and dialed by me.         It's not --                03:11

25           Q.     What is -- got it.    I understand.                    03:11

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1            A.   It's not something that the PM, or product                  03:12

2      manager, at Facebook or someone else will dictate.                     03:12

3      It's given by the user.                                                03:12

4            Q.   And there are algorithms that are running                   03:12

5      on the page to identify these interests; is that                       03:12

6      correct?                                                               03:12

7                 MS. STEIN:     Objection to form.                           03:12

8                 THE WITNESS:     A page will have a certain,                03:12

9      you know, like category associated with it.                            03:12

10     BY MS. WEAVER:                                                         03:12

11           Q.   What do you mean by "second category"?                      03:12

12           A.   A certain category.       So a page would be --             03:12

13     a page of a singer or a page of an actor or a page                     03:12

14     of a hairdresser or a page of a retailer.             That's           03:12

15     what derives the interest.                                             03:12

16           Q.   And so there's a historical record over                     03:12

17     time of what I have been interested in the past and                    03:12

18     I'm interested in today; is that fair?                                 03:12

19                MS. STEIN:     Objection to form.         Misstates         03:12

20     his testimony.                                                         03:12

21                THE WITNESS:     The -- the interests are                   03:12

22     derived from your association with Facebook pages.                     03:12

23     If that list gets -- remain unchanged throughout the                   03:13

24     years, that would mean that the interests' graph is                    03:13

25     the same, exactly the same as it was back in the                       03:13

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1      day.                                                               03:13

2                    If in that time period you have expanded             03:13

3      your affiliation by liking or interacting with more                03:13

4      pages or other entities that have, you know,                       03:13

5      associated with certain interests, that will                       03:13

6      obviously update your interests as well.                           03:13

7      BY MS. WEAVER:                                                     03:13

8             Q.     Where is the interest graph maintained?              03:13

9             A.     For a given user?                                    03:13

10            Q.     Yes.                                                 03:13

11            A.     It lives in the DYI file.                            03:13

12            Q.     Facebook doesn't access the DIY file,                03:13

13     right?      That's for users to access data?                       03:13

14            A.     Well, we provide the hosting of that file.           03:13

15            Q.     Right.    So where is the actual data that           03:13

16     is extracted through the DIY tool?            Where is the         03:13

17     actual data in the interest graph maintained?                      03:13

18            A.     I'm not sure I understand the question.              03:13

19            Q.     Okay.    The DIY file is created through a           03:14

20     tool to face the users, right?                                     03:14

21            A.     Yes.                                                 03:14

22            Q.     Okay.    If I'm an advertiser and I'm --             03:14

23     come to you and I say "I want to target people with                03:14

24     these interests," does Facebook go to the DIY tool?                03:14

25            A.     To do a lookup, no, that's not how.                  03:14

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1           Q.   Exactly.

                                                                       03:14

3                MS. STEIN:     Objection to form.                     03:14

4



                                                                       03:14

7                THE WITNESS:     Okay.




                                                                       03:15

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1




                                                                          03:15

5      BY MS. WEAVER:                                                     03:15

6            Q.   Okay.   I understand that.       But I'm asking         03:15

7      you where --



                                                                          03:16

10           A.   Yes.                                                    03:16

11           Q.                                                           03:16

12           A.   The way you ask it, I would say




                                                                          03:16

25           A.   No.                                                     03:16

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1            Q.     Why does Facebook allow advertisers to                      03:16

2      custom target advertising through the selection of                       03:16

3      interests?                                                               03:17

4                   MS. STEIN:    Objection to form.         Beyond the         03:17

5      scope.                                                                   03:17

6                   Are you really asking questions about                       03:17

7      targeting advertising?       Like that directly, Lesley?                 03:17

8      I know you've done half the depo on it, but now you                      03:17

9      want to know why Facebook does targeted advertising?                     03:17

10     BY MS. WEAVER:                                                           03:17

11           Q.     Please answer the question.                                 03:17

12           A.     Okay.    So there are a couple of                           03:17

13     differentials here.                                                      03:17

14                  The first one is, how does advertisement                    03:17

15     work in the first place?       So a business wants to                    03:17

16     advertise on platforms where they can get better                         03:17

17     ROI, better return on the investment for this                            03:17

18     advertisement.       A lot of businesses still advertise                 03:17

19     on TV.                                                                   03:17

20                  And let's use Super Bowl as an example                      03:17

21     because the audience that will attend Super Bowl is                      03:17

22     falling into the demographics of users that business                     03:17

23     is trying to attract.       That's -- that's why, I                      03:18

24     guess, you see a lot of car manufacturers or junk                        03:18

25     foods being advertised during Super Bowl.              Now,              03:18

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1      that's one way of doing advertisement.           It's mostly         03:18

2      brand.                                                               03:18

3                 THE REPORTER:    It's mostly what?        I'm             03:18

4      sorry.                                                               03:18

5                 THE WITNESS:    Brand.     Brand.     Brand.              03:18

6                 A modern way of doing advertisement is by                 03:18

7      effective advertising in platforms that can provide                  03:18

8      a little bit more clarity and on the intent.                         03:18

9      Because in that scenario you have higher chances of                  03:18

10     having a better ROI for your marketing spend.                        03:18

11                Facebook provides granular way for                        03:18

12     advertisers to hit the right audiences because that                  03:18

13     is very effective way for businesses and, therefore,                 03:18

14     actually contributes to our business model very                      03:18

15     effectively.     But at the same time we truly believe               03:18

16     that relevant ads have the opportunity to build a                    03:18

17     better product experience for the users as well.                     03:18

18                I can give you from my personal point of                  03:19

19     view my perspective of using Facebook and Instagram                  03:19

20     and all our products have become definitely better                   03:19

21     when the ads that I could see on those products are                  03:19

22     more relevant to me.                                                 03:19

23     BY MS. WEAVER:                                                       03:19

24           Q.   Do you believe that most users join                       03:19

25     Facebook because they want to receive ads?                           03:19

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1                MS. STEIN:     Objection to form.         Lacks         03:19

2     foundation.   Beyond the scope.                                    03:19

3                THE WITNESS:     It's really hard for me to             03:19

4     understand or be able to identify the intention of                 03:19

5     2.8 billion people.                                                03:19

6     BY MS. WEAVER:                                                     03:19

7




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1




                                                                            03:21

22                MS. WEAVER:   Okay.    Why don't we take a                03:21

23     little break and I'll mark a few things.            I don't          03:21

24     think we'll be going that much longer.          Hold on just         03:21

25     a little longer.                                                     03:21

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1                  We can go off the record.                              03:21

2                  THE VIDEOGRAPHER:      We are off the record           03:21

3      at 3:21 p.m.                                                       03:21

4                  (Recess.)                                              03:34

5                  (Off record:     3:21 p.m.)                            03:34

6                  (On record:     3:34 p.m.)                             03:34

7                  THE VIDEOGRAPHER:      We are on the record at         03:34

8      3:34 p.m.                                                          03:34

9      BY MS. WEAVER:                                                     03:34

10           Q.    You understand you're still under oath?                03:34

11           A.    Yes, I do.                                             03:34

12           Q.    Okay.   So were you involved in collecting             03:34

13     or looking for documents that Facebook possesses                   03:34

14     relating to the plaintiffs in this action?                         03:34

15           A.    No.                                                    03:34

16           Q.    Okay.   Do you know what Facebook did to               03:34

17     collect documents relating to the plaintiffs in this               03:34

18     action?                                                            03:34

19           A.    My understanding is that we made available             03:34

20     the DYI file for each of the plaintiffs.                           03:34

21



                                                                          03:34

24                              (Exhibit 5 was marked for                 03:34

25                              identification and attached.)             03:34

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1                               (Exhibit 6 was marked for               03:34

2                               identification and attached             03:34

3                               hereto.)                                03:34

4                  THE WITNESS:     Do you want me to do                03:34

5      anything?                                                        03:35

6      BY MS. WEAVER:                                                   03:35

7            Q.    Yes, will you pull them up?                          03:35

8            A.    Shall we start with 5?                               03:35

9            Q.    Sure.   Take a look at both Exhibits 5 and           03:35

10     6 and tell me if you've seen them before.                        03:35

11           A.    I'm just trying to understand what is the            03:35

12     file I'm looking at.                                             03:35

13                 (Pause while witness peruses document.)              03:35

14           A.    Okay.   Can I look at 6?                             03:35

15           Q.    Please do.                                           03:36

16                 (Pause while witness peruses document.)              03:36

17           A.    Okay.                                                03:36

18           Q.    Have you seen these documents before?                03:36

19           A.    No, I haven't.                                       03:36

20           Q.    Okay.   Do you -- are you aware of Facebook          03:36

21     searching Hive databases to obtain documents                     03:36

22     relating to the plaintiffs in this case?                         03:36

23                 MS. STEIN:     Objection to form.                    03:36

24                 THE WITNESS:     I don't know how to respond         03:36

25     to that question.     Are you talking about Hive                 03:36

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1      specifically?                                                        03:36

2      BY MS. WEAVER:                                                       03:36

3




                                                                            03:37

14           Q.    Okay.     Do you know why -- I guess if you              03:37

15     don't know anything about that, I guess we'll just                   03:37

16     have to come back.                                                   03:37

17                 MS. WEAVER:     I think we need to go off the            03:37

18     record again.       We'll be back.     We're off the record.         03:37

19                 THE VIDEOGRAPHER:        We are off the record           03:37

20     at 3:37 p.m.                                                         03:37

21                 (Recess.)                                                03:38

22                 (Off record:     3:37 p.m.)                              03:38

23                 (On record:     3:47 p.m.)                               03:38

24                 THE VIDEOGRAPHER:        We're on the record at          03:47

25     3:47 p.m.                                                            03:47

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1      BY MS. WEAVER:                                                   03:47

2




                                                                        03:47

6              A.   Sorry, just for the record, I'm under               03:47

7      oath.                                                            03:47

8              Q.   Yes.   Good job.   Thank you.                       03:47

9              A.




                                                                        03:48

24                  MS. STEIN:   I'm just going to object for           03:48

25     lack of foundation.                                              03:48

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1                 THE WITNESS:     I don't know what it may be.         03:48

2

                                                                        03:48

4      BY MS. WEAVER:                                                   03:48

5            Q.



                                                                        03:49

8            A.   I don't know.                                         03:49

9                 MS. STEIN:     Objection to form.                     03:49

10     BY MS. WEAVER:                                                   03:49

11           Q.   Okay.   Are you aware of whether or not               03:49

12




                                                                        03:49

25           A.   My understanding of your question -- well,            03:49

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1



                                                                            03:50

4            Q.    And do you believe that's contained in the               03:50

5      DIY file?                                                            03:50

6            A.    So the DYI file would include information                03:50

7      about the -- sorry.      Let me take a step back just to             03:50

8      make sure that I answer the question appropriately.                  03:50

9                  So the DYI file would have information                   03:50

10     about a photo and when you uploaded that photo.          But         03:50

11     if you really want to check the privacy setting of                   03:50

12     that photo there is probably a link that will link                   03:50

13     you to the original post to check the privacy                        03:50

14     setting of that photo.                                               03:50

15           Q.    You say "probably."       Do you know?                   03:50

16           A.    I -- I think that's my understanding of                  03:50

17     what I would be looking at, the DYI file, if I had                   03:50

18     it in front of me.                                                   03:50

19



                                                                            03:50

22                 MS. STEIN:     Objection.     Lacks foundation.          03:51

23                 THE WITNESS:     I don't know what am I                  03:51

24     looking at here.                                                     03:51

25

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1      BY MS. WEAVER:                                                      03:51

2            Q.   Okay.   Let me -- let me --                              03:51

3            A.




                                                                           03:51

13           Q.   I don't understand your response.           I'm          03:51

14     just asking a simple question.                                      03:51

15           A.   Okay.   Your question is not that simple.                03:51

16           Q.   Let me ask my question, okay?                            03:51

17

                                                                           03:51

19                MS. STEIN:    Objection to form.         And the         03:51

20     witness should feel free to explain his answer as he                03:51

21     was just trying to do.                                              03:51

22




                                                                           03:52

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1




                                                                        03:52

14     BY MS. WEAVER:                                                   03:52

15           Q.     I'm just asking a very specific question.           03:52

16           A.     And I'm answering with the best of my               03:52

17     ability because what you are saying here is                      03:52

18     different.                                                       03:52

19           Q.     Yeah.

                                                                        03:52

21                  MS. STEIN:     Objection.     Form.                 03:52

22                  THE WITNESS:




                                                                        03:53

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1                                                                          03:53

2      BY MS. WEAVER:                                                      03:53

3              Q.   Thank you.                                             03:53

4




                                                                           03:53

8              A.   Didn't you ask me that question before?                03:53

9      And my answer was I don't know.                                     03:53

10             Q.   Okay.    Has the data made available through           03:53

11     the DYI tool changed over time?                                     03:53

12             A.   It's a very broad question.         Are you            03:53

13     talking about specific individual?                                  03:53

14             Q.   I'm talking from 2012 to 2017, what -- how             03:53

15     has data made available in the DIY tool changed over                03:53

16     time?                                                               03:53

17             A.   I think the DYI file presents activity                 03:53

18     that you have on the platform, and that's problem.                  03:53

19     Because people are doing different things on the                    03:54

20     platform than they did in 2012.                                     03:54

21             Q.   Right.    I'm not talking about the content;           03:54

22     I'm talking about the capabilities.           So how has it         03:54

23     over time changed what users could obtain about                     03:54

24     their activity through the DYI tool?                                03:54

25             A.   Again, the content is available if the                 03:54

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1      features are available.         In that sense, yes, the                03:54

2      data would have changed.                                               03:54

3              Q.      Did the fields change?                                 03:54

4              A.      The fields described pieces of data, so                03:54

5      yes, they would have changed.                                          03:54

6              Q.      Okay.   Well, did the -- what I'm asking               03:54

7      is, in 2012 could I search for privacy settings, but                   03:54

8      in 2017 I could not?                                                   03:54

9              A.      No, that's -- that wouldn't have changed.              03:54

10             Q.      Are the same categories of information                 03:54

11     available in the DYI tool in 2012 as it was in 2017?                   03:54

12             A.      Again, for the sake of the argument, if                03:54

13     you were able to see photos posted in 2017, that                       03:55

14     meant that the composer allowed you to post photos                     03:55

15     on Facebook.        If in 2012 you could only post text,               03:55

16     that means that you wouldn't be able to see any                        03:55

17     photos because you wouldn't be able to post any                        03:55

18     photos.                                                                03:55

19             Q.      We are not understanding each other.                   03:55

20                     I understand that my content changes over              03:55

21     time.        The question is whether the categories of                 03:55

22     objects collected and made available in the DYI tool                   03:55

23     changed over time.                                                     03:55

24                     MS. STEIN:   And, Lesley, I actually -- and            03:55

25     I'm not trying to be combative.            I actually think he         03:55

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1      was answering your question.         So I don't want -- I            03:55

2      don't want to repeat what the witness said.                          03:55

3                   But, K.P., why don't you try again.                     03:55

4                   THE WITNESS:    I'll try one more time.                 03:55

5                   The way the question is framed suggests                 03:55

6      that nothing would change.         And I'm answering the             03:55

7      question by saying, yes, it would change because the                 03:55

8      features are available and the comment that can be                   03:55

9      posted in the app will change.          As a consequence of          03:55

10     that, the data that shows up in the DYI will be                      03:55

11     different.     2017 --                                               03:55

12     BY MS. WEAVER:                                                       03:55

13           Q.     Do you --                                               03:56

14           A.     Between 2012 and 2017, Facebook -- the                  03:56

15     Facebook app provided different capabilities to the                  03:56

16     users.     Some of them may have been deprecated since.              03:56

17     Some of them may be still available.             But the way         03:56

18     your DYI file looked in 2012 cannot be the same as                   03:56

19     the way it looks in 2017.                                            03:56

20                  And I'm not just talking about the same                 03:56

21     things that you did in 2012 and repeated in 2017.                    03:56

22     I'm talking about the enhancement with additional                    03:56

23     pieces of information that may not have been                         03:56

24     possible in 2012.                                                    03:56

25           Q.     So who decided what data is collected in                03:56

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1      the DYI tool?                                                         03:56

2            A.   I -- I don't know.                                         03:56

3                 MS. WEAVER:     Okay.   I think we have no                 03:56

4      more questions at this time.       This deposition                    03:56

5      remains open.    There are a number of questions that                 03:56

6      were not answered.                                                    03:56

7            Q.   Oh, I have one more question.             How long         03:56

8      has the DYI tool existed?                                             03:57

9            A.   I believe since 2012-2013 or something                     03:57

10     around that time frame.                                               03:57

11     BY MS. WEAVER:                                                        03:57

12           Q.   So for data prior to that time, is there                   03:57

13     any record for users of what data Facebook                            03:57

14     maintained on them?                                                   03:57

15           A.   The DYI files shouldn't show data for                      03:57

16     those users even prior to the date the tool was                       03:57

17     available to users.      I'm talking about the data that              03:57

18     the tool was exposed to users.                                        03:57

19           Q.   When did the DYI tool begin collecting                     03:57

20     data about users?                                                     03:57

21                MS. STEIN:     Objection to form.                          03:57

22                THE WITNESS:     I think everybody that has a              03:57

23     Facebook account since forever, they would be able                    03:57

24     to download the DYI file and find that information                    03:57

25     to be available in the DYI file.                                      03:57

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1                 The question is when can they -- when have            03:57

2      they started downloading that file?          And it's my         03:57

3      understanding is that they -- the ability for people             03:57

4      to download information that Facebook had on their               03:57

5      behalf started in 2012-2013 time frame.                          03:58

6                 MS. WEAVER:     Okay.   I think we have no            03:58

7      further questions.      And, again, the deposition               03:58

8      remains open.                                                    03:58

9                 We can go off the record.                             03:58

10                MS. STEIN:     Well, I don't want to go off           03:58

11     the record yet because I would like to say that we               03:58

12     disagree and object to the idea that this deposition             03:58

13     is being held open.                                              03:58

14                And, you know, we'll just express our                 03:58

15     disappointment that, you know, the witness spent a               03:58

16     lot of time preparing for this deposition on the                 03:58

17     topics that Judge Corley ordered this deposition to              03:58

18     be on, and, you know, we're disappointed that, you               03:58

19     know, there wasn't time spent on those topics.                   03:58

20                MS. WEAVER:     We disagree.




                       We can go off the record.                        03:58

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1                 THE VIDEOGRAPHER:      We are off the record          03:58

2      at 3:58 p.m., and this concludes data testimony                  03:58

3      given by Konstantinos Papamiltiadis.           The total         03:58

4      number of media units used was six and will be                   03:59

5      retained by Veritext Legal Solutions.                            03:59

6                 MS. WEAVER:     Thank you very much, Mr.              03:59

7      Papamiltiadis.                                                   03:59

8                 THE WITNESS:     Thank you for having me.             03:59

9               (At the time of 3:58 p.m., the deposition               04:00

10              was concluded.)

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1                      PENALTY OF PERJURY CERTIFICATE
2
3               I hereby declare I am the witness in the within
4      matter, that I have read the foregoing transcript and
5      know the contents thereof; that I declare that the same
6      is true to my knowledge, except as to the matters which
7      are therein stated upon my information or belief, and
8      as to those matters, I believe them to be true.
9               I declare being aware of the penalties of
10     perjury, that the foregoing answers are true and
11     correct.
12
13
14
15     Executed on the ______ day of _______________, 20__, at
16     _______________________, __________________.
17            (CITY)                           (STATE)
18
19                          __________________________________
20                            KONSTANTINOS PAPAMILTIADIS
21                           FACEBOOK INC. REPRESENTATIVE
22
23
24
25

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                  Federal Rules of Civil Procedure

                                  Rule 30



     (e) Review By the Witness; Changes.

     (1) Review; Statement of Changes. On request by the

     deponent or a party before the deposition is

     completed, the deponent must be allowed 30 days

     after being notified by the officer that the

     transcript or recording is available in which:

     (A) to review the transcript or recording; and

     (B) if there are changes in form or substance, to

     sign a statement listing the changes and the

     reasons for making them.

     (2) Changes Indicated in the Officer's Certificate.

     The officer must note in the certificate prescribed

     by Rule 30(f)(1) whether a review was requested

     and, if so, must attach any changes the deponent

     makes during the 30-day period.




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     ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

     THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

     2019.    PLEASE REFER TO THE APPLICABLE FEDERAL RULES

     OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
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      COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

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 as submitted by the court reporter. Veritext Legal
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 exhibits, if any, are true, correct and complete
 documents as submitted by the court reporter and/or
 attorneys in relation to this deposition and that
 the documents were processed in accordance with
 our litigation support and production standards.

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